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1    JANE / JOHN DOE

2    Email: JWHater@protonmail.com
3

4    Pro se

5
                        IN THE UNITED STATES DISTRICT COURT FOR THE
6
                              SOUTHERN DISTRICT OF NEW YORK
7

8    IN RE: DMCA SUBPOENA TO GOOGLE, LLC Case No.: 7:20-mc-00119
9

10                                                   JANE / JOHN DOE’S SUPPLEMENT IN
11
                                                     SUPPORT OF THE MOTION TO QUASH
                                                     DMCA SUBPOENA
12

13            Attached is the most recent edition of the Watch Tower pedophile cult’s
14
     publication Shephard of the Flock of God, April 2020, along with a confidential memo
15

16   outlining some of the recent updates and changes. This is a book strictly Elder’s Eyes
17
     Only and it details the procedures for the concealment of child sex abuse, along with
18
     their practices of isolation and indoctrination of their members, and their internal
19

20   “judicial” procedures and financial affairs. This is super-secret stuff!
21
              Of specific relevance to the Court is the Watch Tower’s rules with regards to
22

23   contact and association with apostates and other individuals who have been

24   ‘disfellowshipped’ or kicked out of the cult:
25

26

27

28


                     JANE / JOHN DOE’S SUPPLEMENT TO MOTION TO QUASH - 1
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1          17. Though this is not an exhaustive list, brazen conduct may be involved in the
2          following if the wrongdoer has an insolent, contemptuous attitude made evident
           by a practice of these things:
3

4
                 (1) Unnecessary Association With Disfellowshipped or Disassociated
5                Individuals: Willful, continued, unnecessary association with
6                disfellowshipped or disassociated nonrelatives despite repeated counsel
                 would warrant judicial action. —Matt. 18:17b; 1 Cor. 5:11, 13; 2 John 10,
7
                 11; lvs pp. 39-40.
8

9                If a publisher in the congregation is known to have unnecessary
10               association with disfellowshipped or disassociated relatives who are not in
                 the household, elders should use the Scriptures to counsel and reason with
11
                 him. Review with him information from the Remain in God’s Love book,
12
                 page 241. If it is clear that a Christian is violating the spirit of the
13               disfellowshipping decree in this regard and does not respond to counsel,
14               he would not qualify for congregation privileges, which require one to be
                 exemplary. He would not be dealt with judicially unless there is persistent
15
                 spiritual association or he persists in openly criticizing the
16
                 disfellowshipping decision.
17

18
     See Shephard of the Flock of God, Determining whether a judicial committee should
19

20   be formed, Chapter 12, Section 17 at pg 84.
21

22
           39. Apostasy: Apostasy is a standing away from true worship, a falling
23
           away, defection, rebellion, abandonment. It includes the following:
24
                 (3) Deliberately Spreading Teachings Contrary to Bible
25

26
                 Truth: (2 John 7, 9, 10; lvs p. 245; it-1 pp. 126-127) Any

27
                 with sincere doubts regarding the Bible truth taught by

28               Jehovah’s Witnesses should be helped. Loving

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1                 assistance should be provided. (2 Tim. 2:16-19, 23-26;
2                 Jude 22, 23) If one obstinately is speaking about or
3                 deliberately spreading false teachings, this may be or
4                 may lead to apostasy. If there is no response after a
5                 first and a second admonition, a judicial committee
6
                  should be formed.—Titus 3:10, 11; w86 4/1 pp. 30-31.
7

8
                  (4) Causing Divisions, Promoting Sects: (Rom. 16:17, 18;
9
                  Titus 3:10, 11) This would be deliberate action
10
                  disrupting the unity of the congregation or undermining
11
                  the confidence of the brothers in Jehovah’s
12
                  arrangement. It may involve or lead to apostasy.—it-2
13
                  p. 886.
14

15

16   See Shephard of the Flock of God, Determining whether a judicial committee should
17
     be formed, Chapter 12, Section 39 at pg 90.
18

19

20         It is my position that these 60 DMCA subpoena legal actions, and the concurrent
21
     hundreds of DMCA takedown notices, are all in bad faith and simply being done so as
22

23   to root out and identify apostates, leakers, and whistle blowers. (Because this Elder’s
24
     eyes only manual is assigned to a specific individual, Jane / John Doe has sanitized
25

26
     and redacted the document to remove personally identifying information and any

27

28


                  JANE / JOHN DOE’S SUPPLEMENT TO MOTION TO QUASH - 3
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1    electronic watermarks, substituting any with spoofed information, so as to not reveal
2
     the source of this document.)
3

4          This Court’s authority and subpoena powers should only be used for legitimate
5    copyright litigation purposes and not for religious persecution and witch-hunts!
6

7

8

9

10

11          Respectfully submitted,
12

13

14

15
     Dated: April 14, 2020                        _____/s/_______
16
                                                  Jane / John Doe
17                                                Pro se
18

19

20

21

22

23

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28


                  JANE / JOHN DOE’S SUPPLEMENT TO MOTION TO QUASH - 4
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1                                 CERTIFICATE OF SERVICE
2

3

4          I certify that on April 14, 2020, a copy of this document was filed electronically
5
     with the US District Court Clerk’s office via their pro se e-filing system, which will
6
     automatically serve a Notice of Electronic Filing on the Watch Tower organization.
7

8          I certify that Watch Tower attorney Paul Polidoro is a registered CM/ECF user
9
     and that service will be accomplished by the CM/ECF system.
10

11
                                            _____/s/_______
12                                          Jane / John Doe
13
                                            Pro se

14

15   Cc
16
     Google Legal Investigations Support
17   1600 Amphitheatre Parkway
18   Mountain View, CA 94043
     via email: Copyright@YouTube.com
19
     and usernotice@google.com
20

21

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27

28


                  JANE / JOHN DOE’S SUPPLEMENT TO MOTION TO QUASH - 5
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    “SHEPHERD
       THE FLOCK OF GOD”
       1 PETER 5:2

       April 2020


       THIS BOOK HAS BEEN ISSUED TO
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        Introduction

   1.   As an appointed elder, you have the serious responsibility to “shep-
        herd the ﬂock of God under your care.” (1 Pet. 5:2, 3) Providing ac-
        curate theocratic direction to our brothers and sisters is a weighty
        responsibility. It is important that elders locate Scriptural and theo-
        cratic direction in a timely manner in order to assist all to be “com-
        pletely united...in the same line of thought.” (1 Cor. 1:10) To that
        end, we are pleased to make this publication available to you.
   2.   Although this book covers most aspects of our work as elders, at
        times you may need to consult other sources of theocratic direction,
        such as Organized to Do Jehovah’s Will and forms and letters pro-
        vided by the branch oﬃce. Be alert to adjustments so as to stay up-
        to-date. Ensure that you are using the latest version of this publica-
        tion. Supplemental direction that applies speciﬁcally in your branch
        territory can be found in Addendum to “Shepherd the Flock of God”
        —1 Peter 5:2. We encourage each elder to make appropriate notes
        in his personal copy of this book directing attention to Shepherd
        Addendum.
   3.   This publication is copyrighted and confidential. It is issued to each
        appointed elder. If an elder is deleted for reasons other than mov-
        ing to another congregation with a favorable recommendation, he
        should turn over this publication to the Congregation Service Com-
        mittee to be destroyed, and any electronic copies in his possession
        should be deleted.
   4.   We pray that this publication will prove to be a valuable resource
        in assisting you to imitate Jehovah God and Jesus Christ in the way
        you treat the sheep. (John 10:11; Eph. 5:1; 1 Pet. 2:21, 25; 5:4) Rath-
        er than making rigid rules for the congregation, rely on Scriptural
        principles and direction from Jehovah’s organization.—2 Cor. 1:24.




        INTRODUCTION                       “SHEPHERD THE FLOCK OF GOD”
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     CHAPTER ONE



     How Elders Work
     Together as a Body

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  1. Jehovah has appointed Jesus Christ as head of the Christian con-
     gregation. (Eph. 1:22, 23; Rev. 1:20) Your accepting Jesus as head
     of the congregation promotes cooperation and unity on the body.
     You demonstrate submission to Christ’s headship when you do
     the following:
          (1)        Seek to understand and apply Bible laws and principles.
                     —John 7:16-18; Eph. 5:17.
          (2)        Obey direction from “the faithful and discreet slave”
                     and from overseers appointed to take the lead, such as
                     those at the branch oﬃce and the circuit overseer.
                     —Matt. 24:45-47; Heb. 13:17.
          (3)        Listen carefully to the expressions of fellow elders.
                     —Rom. 12:10b; Jas. 1:19.
          (4)        Deal in a kind and loving manner with each individual
                     in the congregation, including fellow elders. Do not


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        HOW ELDERS WORK TOGETHER AS A BODY


                 impose personal viewpoints or arbitrary rules on
                 others.—Matt. 11:28-30; 1 Cor. 4:6; 1 Pet. 5:1-3, 5.
          (5)    Open and close all meetings of the body of elders with
                 prayer. Pray again if a discussion of the body of elders
                 seems to falter.—Jas. 1:5.


        RESPONSIBILITIES
     2. The responsibilities of the body of elders include the following:
           (1)   Making recommendations for the appointment and
                 deletion of elders and ministerial servants.—See
                 Chapter 8.
          (2)    Deciding the number of ﬁeld service groups and who
                 will serve as group overseers and assistants.—See
                 Chapter 7.
          (3)    Deciding the subjects of local needs parts and who
                 should present them.—See 20:14-15.
          (4)    Deciding who should serve as the secretary, the service
                 overseer, the Watchtower Study conductor, and the Life
                 and Ministry Meeting overseer. Deciding who, if anyone,
                 should assist or substitute for these brothers or the
                 coordinator of the body of elders in their assignments.
                 —See Chapters 3-6 and Instructions for Our Christian
                 Life and Ministry Meeting (S-38).
          (5)    Deciding who should serve as the auxiliary counselor
                 and, if needed, the counselors for auxiliary classes.
                 —See Instructions for Our Christian Life and Ministry
                 Meeting.
          (6)    If the Kingdom Hall is used by only one congregation,
                 deciding who should serve as the maintenance
                 coordinator. If the Kingdom Hall is used by multiple


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             congregations, selecting a brother or brothers to serve
             on the Kingdom Hall Operating Committee.—See
             21:14-20.
       (7)   Deciding who should serve as the accounts servant,
             the literature servant, the territory servant, the
             cleaning coordinator, the public talk coordinator, and
             any brothers who assist them.
       (8)   Deciding who will receive additional privileges and
             responsibilities, such as reading at the Watchtower
             Study, reading at or conducting the Congregation Bible
             Study, serving as chairman for the midweek meeting or
             weekend meeting, handling nonstudent assignments at
             the midweek meeting, serving as an attendant, passing
             microphones, oﬀering public prayer, conducting
             meetings for ﬁeld service, and so forth.

       (9)   Deciding who is approved to deliver public talks in
             the local congregation and who is approved to give
             public talks in other congregations. Deciding whether a
             ministerial servant should deliver his ﬁrst public talk by
             means of a symposium.—See 20:1-2, 4.

      (10)   Assigning two elders to investigate accusations
             of serious wrongdoing, determining whether serious
             wrongdoing requires a judicial committee, and choosing
             who will serve on the committee, including who will
             serve as chairman. (See Chapters 12 and 15.) Choosing
             who will serve on the committee that meets with one
             who has decided to disassociate himself. (See Chapter
             18.) Assigning two elders to meet with a publisher who
             has deliberately viewed pornography.—See Chapter 13.
      (11)   Determining whether a warning talk should be given to
             the congregation and deciding who should present the
             talk.—See 12:77-80.


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        (12)   Deciding which elders will handle the annual meeting
               with the regular pioneers, special pioneers, and ﬁeld
               missionaries in December/January.
        (13)   Selecting speakers for the special public talk and
               Memorial, selecting those who will oﬀer prayer over the
               emblems at the Memorial, and selecting Memorial
               meeting times.—See 20:6-8.
        (14)   Determining whether a publisher is Scripturally free to
               remarry.—See 12:71-76.
        (15)   Reviewing the congregation’s resolved donation to
               Kingdom Hall and Assembly Hall construction
               worldwide.—See Instructions for Congregation
               Accounting (S-27).
        (16)   If the Kingdom Hall is used by multiple congregations,
               reviewing and approving the monthly amount to be
               contributed to the Kingdom Hall Operating Committee
               for the upcoming service year to care for Kingdom Hall
               operating expenses.—See 21:20 and Instructions for
               Kingdom Hall Operating Committee Accounting (S-42).
        (17)   Determining whether to host a pregroup or group
               and determining which meetings will be held.—See
               Chapter 24.
        (18)   Determining how to extend hospitality to visiting
               speakers.—See 20:5.
        (19)   Deciding who will temporarily serve as the coordinator
               of the body of elders when an adjustment must be
               made apart from the visit of the circuit overseer.
               —See 3:1.
        (20)   Determining whether it is necessary for the
               congregation as a whole to consider providing some
               form of assistance to certain needy brothers and


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              sisters who have a long history of faithful service,
              particularly if there are no family members or other
              relatives to assist such ones and no adequate
              assistance from government agencies is available.
              —od chap. 12 pars. 12-15.


     ELDERS’ MEETINGS
  3. When the body of elders discusses a matter, Christ by means of
     the holy spirit can inﬂuence any elder to make an expression
     that contributes to a wise decision, one that may not have been
     reached if the elders had been consulted individually. (Acts 15:
     6-21) Meetings should normally not exceed two hours in length.

  4. When to Hold: In addition to the elders’ meeting held during each
     visit of the circuit overseer, an elders’ meeting should be held
     about three months after each visit. Other meetings can be ar-
     ranged any time that circumstances necessitate.

  5. What to Discuss: The body of elders may discuss any matters
     pertaining to the congregation. Generally, these would involve
     matters that cannot be handled by individual elders or that are
     not the responsibility of another entity, such as the Congregation
     Service Committee or the Kingdom Hall Operating Committee.
     —See 2:1; 3:3.4.

  6. Following are some matters that periodically merit the attention
     of the body of elders:

        (1)   At the meeting held about three months after the visit
              of the circuit overseer, review the circuit overseer’s
              report on his previous visit to the congregation. In
              preparation for the next visit of the circuit overseer,
              consider any recommendations for the appointment
              or deletion of elders or ministerial servants.
              —See Chapter 8.


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           (2)   Consider whether and how the congregation can do
                 more to give a thorough witness in the congregation’s
                 assigned territory.—Acts 20:24; see Chapter 23.
           (3)   Consider the spiritual and physical needs of
                 widows, orphans, the blind, the homebound, those in
                 nursing homes, and other publishers with special
                 circumstances.—Jas. 1:27.
          (4)    Consider what further training is needed to help
                 brothers care properly for congregation assignments
                 and to help those with potential, including newly
                 baptized and younger brothers, to take on greater
                 responsibility.—2 Tim. 2:2; see 25:4-6.

          (5)    Review the congregation assignments of all exemplary,
                 baptized brothers. For example, is there a need to
                 balance out the workload of the appointed brothers or
                 to adjust the assignments so as to provide newer
                 brothers with the opportunity to gain additional
                 experience?—Ex. 18:17, 18; Prov. 11:2b; see 1:2.8.

          (6)    Review published information on disaster preparedness.
                 —See 26:1-6.
     7. Compiling and Distributing the Agenda: For the meeting that
        is held about three months after the visit of the circuit overseer,
        the coordinator of the body of elders should ask the other elders
        to submit matters that they would like to discuss. The elders
        should be invited to suggest the names of brothers they would
        like to consider for recommendation as elders or ministerial ser-
        vants. (See Chapter 8.) The coordinator of the body of elders
        should give a copy of the agenda to each elder a few days be-
        fore the meeting to allow time for research and prayerful consid-
        eration. (Prov. 21:5) For the meeting that is held during the vis-
        it of the circuit overseer, the circuit overseer compiles the agenda
        after checking whether the elders have additional points they wish


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     to discuss. If time permits, the circuit overseer may agree to in-
     clude one or two signiﬁcant items on the agenda. Otherwise, he
     will direct the elders to consider those matters at another time.
  8. During the Meeting: The coordinator of the body of elders should
     set the pace of the discussion by sticking to the agenda as much
     as possible and by keeping the main points to the fore. The sec-
     retary or another designated elder should take notes of the de-
     cisions, including the names of elders who will follow through and
     the suggested date for completion. In some cases the coordina-
     tor of the body of elders may ask the elder recommending an
     item for the agenda to take the lead in presenting it for discussion.
  9. Each elder should freely express himself if he believes he has
     something meaningful to add. (Prov. 10:19) He should keep his
     comments succinct and relevant. The coordinator of the body of
     elders should avoid dominating the discussion, being careful as
     to when and how he expresses himself. There should be no an-
     ger or debates during elders’ meetings.—1 Tim. 2:8.
 10. It should be possible for bodies of elders to be unanimous in most
     of their decisions. (Acts 15:25) The body of elders should always
     base their decisions on Bible principles and written direction from
     “the faithful and discreet slave.” (Matt. 24:45) In cases that do
     not involve speciﬁc Bible laws or where there is no direction from
     the faithful slave, the body of elders must exercise their collec-
     tive judgment and conscience. If a matter requires assistance
     from the branch oﬃce, it is usually best to write. If the matter is
     urgent, two elders together should call to explain the situation
     and to make a note of the direction given.—See 14:6-30; 29:1.
 11. No one should insist on his personal viewpoint. If a decision is
     not unanimous, the minority should give willing support to the
     ﬁnal decision. If in the opinion of the minority a Bible-based de-
     cision still has not been reached, the minority should continue to
     cooperate with the rest of the body and should bring the matter
     to the attention of the circuit overseer during his regular visit.


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       PURSUE PEACE
   12. If the imperfections of those serving on the body are allowed to
       cause strained relations, the ﬂow of Jehovah’s spirit can be re-
       stricted and the congregation may be adversely aﬀected. Work
       hard to pursue peace with your fellow elders. (Rom. 14:19) Cul-
       tivate and maintain friendships with one another. At the same
       time, you should not hold back from giving fellow elders loving
       counsel when needed.—Ps. 141:5.
   13. Take the lead in showing honor to your fellow elders. (Rom. 12:
       10) One way you can do this is by keeping communication open
       and free, especially if there are diﬀerences in background. Youn-
       ger elders should be respectful of older, more experienced elders
       on the body and demonstrate patience. (Lev. 19:32) Older elders
       should not take oﬀense when younger elders give suggestions or
       respectfully oﬀer counsel. (Eccl. 7:9) Humility will enable you to
       accept counsel. (Prov. 12:15) Even if you feel the counsel was
       not entirely justiﬁed, try to learn from it. Remember that the
       peace and well-being of the congregation is more important than
       personal interests.—1 Cor. 10:23, 24.




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     CHAPTER TWO



     Congregation
     Service Committee
  1. The Congregation Service Committee works under the direction
     of the body of elders and consists of the coordinator of the body
     of elders, the secretary, and the service overseer. If a member of
     the service committee is absent, another elder may substitute.
     Certain responsibilities are delegated to the service committee
     to handle. These elders seek to make decisions that are in line
     with Scriptural and theocratic direction and that harmonize with
     the thinking of the other elders. These brothers do not function
     apart from the body, and their opinions do not carry more weight
     than those of the other elders. The service committee uses good
     judgment in determining when it would be wise to confer with
     the other elders. For example, if unusual factors are involved or
     if the service committee is unsure of the thinking of the body, the
     entire body of elders should discuss the matter and make a de-
     cision.—See 1:5; 9:4; 23:5; od chap. 5 pars. 35-37.
  2. In congregations in which there are not enough elders to fulﬁll
     the responsibilities of the service committee, qualiﬁed ministeri-
     al servants may substitute as members of the service commit-
     tee. For example, they may be authorized to sign applications or
     letters of introduction as long as the documents do not contain
     sensitive or conﬁdential information. If sensitive or conﬁdential
     information needs to be conveyed in writing, the correspondence
     should be prepared and signed only by the elders. If there are no
     elders in the congregation, this could be cared for by an elder in
     a neighboring congregation who is familiar with the situation or
     by the circuit overseer.
  3. The responsibilities of the service committee include the following:
        (1)   Determining the locations and meeting times for all
              meetings for ﬁeld service and assigning publishers,


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               including inactive ones, to ﬁeld service groups after
               consulting with the group overseers involved.
               —See 1:2.8; 25:14.
         (2)   Assigning publishers to conduct Bible studies with
               inactive publishers who temporarily need spiritual help.
               —See 25:16.
         (3)   Determining whether it is advisable for another
               publisher to conduct a Bible study with the child of a
               Christian parent. When such approval is given, all
               elders should be informed.
         (4)   Approving publishers to report ﬁeld service in
               15-minute increments.—See 22:14.
         (5)   Approving publishers who have special needs for
               assembly or convention accommodations.—See Special
               Needs Room Request Instructions (CO-5ai).
         (6)   Signing correspondence on behalf of the body of
               elders.—See 22:1-8.
         (7)   Sending a letter of recommendation to the appropriate
               branch oﬃce when a publisher plans to move and
               wishes to obtain information regarding congregations
               having a need for assistance.—od chap. 10 par. 9.
         (8)   Making the ﬁnal decision on public witnessing
               locations, determining what public witnessing
               equipment will be used and where it will be stored, and
               deciding which publishers are approved to participate
               in public witnessing.—See 23:5-17.
         (9)   Approving publishers to participate in prison witnessing
               as well as witnessing at schools, universities, nursing
               homes, and retirement homes.—See 23:18-19; 28:1-20.
        (10)   Approving the appointment and deletion of regular
               pioneers. (See 9:1-5.) Processing applications for


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              service privileges such as auxiliary pioneering. (See
              22:31.) Reviewing the ﬁeld service activity of the
              pioneers who did not meet the yearly hour requirement.
              —See 9:16-17.

       (11)   Approving use of the Kingdom Hall for weddings and
              funerals.—See 27:6.
      (12)    Determining any additional jw.org roles assigned to
              elders and ministerial servants.—See Instructions for
              Congregation Use of JW.ORG (S-135).
      (13)    Assigning elders to determine how to handle material in
              the conﬁdential ﬁle when the brothers who handled the
              matter are unavailable or no longer qualiﬁed.—See
              22:26.

      (14)    Arranging for elders to contact the households that
              have asked that no further visits be made.—See 23:22.

      (15)    Developing, along with the field service group
              overseers, a plan to assist those with special needs in
              times of disaster or emergency.—See Chapter 26.
      (16)    Developing a plan to protect congregation records in
              the event of an impending disaster.—See Chapter 26.
  4. At times, the service committee or the body of elders is called
     upon to determine whether a publisher is “in good standing.” In
     such cases, the elders must weigh the factors and circumstanc-
     es that are unique to each situation. If an individual is not un-
     der any judicial or branch-imposed restrictions, if he is not bring-
     ing reproach on the congregation, and if his receiving a certain
     privilege would not raise serious questions in the minds of oth-
     ers or be a cause of stumbling, the elders may determine that
     he is in good standing. By way of contrast, being “exemplary” in-
     volves more than simply being in good standing. An individual
     whose conduct and worship are considered worthy of imitation


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       is exemplary. His meeting attendance, share in the ministry, fam-
       ily life, choices of entertainment, dress and grooming, and so
       forth are good examples for others. An individual must be exem-
       plary to represent the congregation in prayer, to serve as an aux-
       iliary or regular pioneer, or to enjoy other special privileges.




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     CHAPTER THREE



     Coordinator of the
     Body of Elders

                                                                                                                                 Paragraphs
     Appointment ....................................................................................................................... 1
     Qualiﬁcations .................................................................................................................... 2
     Responsibilities                  ................................................................................................................   3



     APPOINTMENT
  1. The circuit overseer is responsible for the appointment of the
     coordinator of the body of elders, taking into consideration the
     recommendation of the body of elders. If an adjustment is need-
     ed, this appointment will be made during his regular visit to the
     congregation. The body of elders may assign another elder to as-
     sist the coordinator of the body of elders. If a temporary ad-
     justment is made by the body of elders apart from the circuit
     overseer’s visit, the Congregation Service Committee should im-
     mediately notify the circuit overseer, explaining the reason for the
     change. Whether the change in the coordinator of the body of
     elders is permanent or temporary, a Coordinator of the Body of
     Elders/Secretary Change of Address (S-29) form should be sub-
     mitted to the Service Department. If the coordinator of the body
     of elders will be away temporarily, the body of elders may select
     another elder to substitute for him.


     QUALIFICATIONS
  2. The coordinator of the body of elders must be less than 80 years
     of age. He should be known as one who is loyal to Jehovah and


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        to the organization. If possible, he should have served for years
        as an elder. He should be approachable and respected for his
        hard work in the ministry and as a shepherd. He should be a good
        organizer and diligently care for his responsibilities. He is not the
        coordinator of the congregation but is the coordinator of the body
        of elders. He should maintain a modest view of his role in the
        congregation and humbly appreciate his fellow elders and wel-
        come their advice.—Prov. 15:22; Matt. 23:8.


        RESPONSIBILITIES
     3. The responsibilities of the coordinator of the body of elders in-
        clude the following:

           (1)   Along with the secretary, ensuring that all elders have
                 access to correspondence directed to the body of
                 elders.—See Chapter 22.

          (2)    Approving the items placed on the congregation
                 information board.—See 21:34.

          (3)    Arranging for elders to review questions with baptism
                 candidates. If there are very few elders, capable
                 ministerial servants may be used to review the
                 questions found in “Part 1: Christian Beliefs” in the
                 appendix of the Organized book.

          (4)    Arranging for meetings of the body of elders or
                 the Congregation Service Committee and serving as
                 chairman during such meetings. He compiles and
                 distributes agendas for scheduled elders’ meetings.
                 —See 1:3-11.

          (5)    Arranging for two elders (one being a member of
                 the service committee) to meet with each person
                 desiring to become an unbaptized publisher.


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             (od chap. 8 pars. 6-12.) In congregations that have
             very few elders, a capable ministerial servant who has
             demonstrated good judgment and discernment may
             accompany a member of the Congregation Service
             Committee when meeting with Bible students desiring
             to become unbaptized publishers.
       (6)   Arranging for two elders, one of them being
             the individual’s group overseer, to meet with each
             baptized publisher one year after baptism.—See 4:2.7;
             od pp. 211-212.
       (7)   Arranging for two elders to ask the necessary
             questions of a brother approved for appointment as an
             elder or as a ministerial servant when the brother was
             not present during the visit of the circuit overseer.
             —See 8:17-18.
       (8)   Arranging for two elders to inform a brother of
             his deletion as an elder or as a ministerial servant
             between visits of the circuit overseer and informing the
             circuit overseer if the brother appeals the deletion.
             —See 8:35, 39.
       (9)   Contacting the circuit overseer when a committee
             needs to handle wrongdoing involving child sexual
             abuse.—See 14:19-21.
      (10)   Distinguishing between items that individual elders can
             handle and those needing attention by the entire body
             of elders, in accord with published direction.—See 2:1.

      (11)   Ensuring appropriate follow-through on direction
             received from the branch oﬃce and on decisions made
             by the body of elders.

      (12)   Ensuring that newly appointed elders and elders who
             move into the congregation are made aware of the


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               Service Department’s direction regarding individuals
               under branch-imposed restrictions.—See 14:22-24.
        (13)   Maintaining communication with the group overseers
               and the circuit overseer when a disaster occurs.—See
               Chapter 26.
        (14)   Reviewing and approving all announcements made to
               the congregation.
        (15)   Serving as one of the jw.org local domain
               administrators, if possible.—See Instructions for
               Congregation Use of JW.ORG (S-135).
        (16)   Taking the lead in caring for details in preparation
               for the circuit overseer’s visit.—See Chapter 10 and
               Information Needed for Visit of Circuit Overseer (S-61).
        (17)   Making assignments of all midweek meeting parts other
               than the student assignments. This includes making the
               assignment of the meeting chairman for each week
               from among those approved by the body of elders. In
               cooperation with the Life and Ministry Meeting
               overseer, the coordinator of the body of elders should
               ensure that a copy of the assignment schedule for the
               entire meeting is posted on the information board.
        (18)   Overseeing the attendants, the public talk coordinator,
               and those working with the stage, sound, and video.
        (19)   Scheduling public talk chairmen and Watchtower
               readers. Another elder or ministerial servant may be
               used to assist.—See 6:9.
        (20)   Approving expenses and arranging for audits.—See
               Instructions for Congregation Accounting (S-27).




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     CHAPTER FOUR



     Secretary
                                                                                                                   Paragraphs
     Qualiﬁcations   ....................................................................................................................   1
     Responsibilities   ................................................................................................................    2



     QUALIFICATIONS
  1. The body of elders selects the secretary. The secretary should
     have good organizational ability and should not be a procrasti-
     nator. (Rom. 12:11) He should have the ability to write in a way
     that is clear and understandable. The body of elders may assign
     another elder to assist him. If necessary, a qualiﬁed ministerial
     servant may be assigned by the body of elders to assist with
     tasks such as the compiling, posting, and submitting of the con-
     gregation’s ﬁeld service activity to the branch oﬃce. The branch
     oﬃce should be notiﬁed of a change of the brother serving as
     secretary by means of the Coordinator of the Body of Elders/
     Secretary Change of Address (S-29) form.

     RESPONSIBILITIES
  2. The responsibilities of the secretary include the following:
        (1)   Along with the coordinator of the body of elders,
              ensuring that all elders have access to correspondence
              directed to the body of elders.—See Chapter 22.
       (2)    Along with the service overseer, reviewing the activity
              of regular pioneers near the midpoint of the service
              year.—See 9:15.
       (3)    Compiling, posting, and submitting the congregation’s
              ﬁeld service activity to the branch office. Before


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                submitting the report, informing group overseers of
                publishers in their group who did not submit a report
                for the month.—See 22:12-17.
         (4)    Ensuring that any legal and ﬁnancial responsibilities the
                congregation may have are handled in a timely manner.
                —See Chapter 21.
         (5)    Maintaining an orderly congregation ﬁle. This
                includes ﬁling sealed conﬁdential envelopes and
                adhering to the retention policy outlined in Chapter 22,
                paragraphs 8-27.
         (6)    Providing durable power of attorney (DPA) cards and
                related materials to newly baptized publishers.
                —See 11:1.
         (7)    Notifying the coordinator of the body of elders when
                a publisher has been baptized one year.—See 3:3.6;
                od pp. 211-212.
         (8)    Overseeing congregation accounts and convention
                matters.—See 1:2.7 and Instructions for Congregation
                Accounting (S-27).
         (9)    Maintaining a list of all publishers, including inactive
                ones. The list should show to which field service group
                the publisher is assigned. It should also contain the
                contact information and emergency contact
                information for each publisher.—See 25:14-15; 26:2.
        (10)    Preparing and sending correspondence on behalf of the
                body of elders.—See 22:1-9.
         (11)   Updating regular pioneer information on jw.org.
                —See 9:1-9.
        (12)    Serving as one of the jw.org local domain
                administrators, if possible.—See Instructions for
                Congregation Use of JW.ORG (S-135).


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     CHAPTER FIVE



     Service Overseer
                                                                                                                   Paragraphs
     Qualiﬁcations   ....................................................................................................................   1
     Responsibilities   ................................................................................................................    2



     QUALIFICATIONS
  1. The body of elders selects the service overseer. He takes a keen
     interest in the publishers’ share in the ministry and their eﬀec-
     tiveness. He is enthusiastic about the ministry and motivates oth-
     ers to have a full share. He is skillful in various aspects of the
     work, capable of training others, and alert to do so. The body of
     elders may assign another elder to assist him.


     RESPONSIBILITIES
  2. The responsibilities of the service overseer include the following:

        (1)   Arranging for the congregation’s territory to be worked
              thoroughly and overseeing the work of the territory
              servant.—See 23:1-4.

       (2)    Arranging for brothers or sisters to conduct meetings
              for service, as needed. (See 7:2.2.) He organizes
              witnessing on holidays and during special campaigns.

       (3)    Determining what permits, if any, are required for
              public witnessing, organizing schedules for public
              witnessing, providing initial training for public
              witnessing, and determining what literature should be
              displayed at public witnessing locations.—See 23:5-17.


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         (4)   Overseeing the work of the literature servant. This
               includes ensuring that anyone in the congregation who
               is deaf, blind, or has impaired vision is able to request
               literature in his preferred format.—See 1:2.7 and
               Literature Request and Inventory Guidelines (S-56).
         (5)   Visiting a diﬀerent ﬁeld service group each month. (In
               congregations with few groups, he may arrange to visit
               each one twice during the year.) During the visit, he
               conducts the meeting for ﬁeld service and works with
               the group in the ministry, oﬀering helpful suggestions
               as needed. He reviews the Congregation’s Publisher
               Records (S-21) with the group overseer and his
               assistant and discusses the eﬀectiveness of existing
               ﬁeld service arrangements.
         (6)   Ensuring that adequate supplies of forms are available
               for congregation use.
         (7)   Along with the secretary, reviewing the activity of
               regular pioneers near the midpoint of the service year.
               —See 9:15.
         (8)   Training publishers for witnessing at schools,
               universities, nursing homes, and retirement homes.
               —See 23:18-19.




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     CHAPTER SIX



     Watchtower Study Conductor

                                                                                                                  Paragraphs
     Qualiﬁcations .................................................................................................................... 1
     Conducting the Study .......................................................................................... 2-9



     QUALIFICATIONS
  1. The body of elders selects the Watchtower Study conductor. Since
     The Watchtower is the principal means by which the faithful and
     discreet slave dispenses spiritual food, the conductor should be
     one of the best teachers on the body. (Jas. 3:1) He should also
     be one who has “great freeness of speech.” (1 Tim. 3:13) The
     body of elders may assign another elder to assist the Watchtower
     Study conductor. This brother would conduct in the assigned con-
     ductor’s absence.


     CONDUCTING THE STUDY
  2. The conductor presents brief, well-prepared opening remarks for
     no more than 90 seconds. He highlights the theme and theme
     text and in a warm and enthusiastic manner tries to stimulate in-
     terest in the lesson. He does this by commenting on the preview
     of the article, by calling attention to the subheadings, by men-
     tioning the review questions, or by raising two or three rhetor-
     ical questions answered by the lesson.

  3. He does not comment excessively and avoids the tendency to
     summarize or enhance comments from the audience. If the audi-
     ence fails to comment on an important point, asking an auxiliary
     question may stimulate the thinking of the audience and prompt


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        an appropriate comment. However, asking additional questions
        unnecessarily tends to stiﬂe commenting.
     4. He concentrates on the theme and main points, makes good use
        of the artwork, and highlights the practical value of the article.
        He avoids focusing on minor details and bringing into the discus-
        sion extensive outside theocratic or secular material from per-
        sonal research.
     5. He emphasizes the Bible. He may choose to have “Read” Scrip-
        ture texts read by the assigned paragraph reader or by someone
        from the audience who reads well. The paragraph reading should
        not be interrupted by the reading of such texts. When a “Read”
        scripture is cited at the very beginning of a paragraph, the text
        should be read before the paragraph is read. When a “Read” scrip-
        ture is cited in the middle or at the end of a paragraph, the con-
        ductor may determine when to have the text read after the read-
        ing of the paragraph has concluded. He may decide to have the
        text read before the question is asked, particularly if the answer
        to the question is found in the scripture. At other times, he may
        decide to have the text read during the general discussion of the
        material.
     6. Footnotes and endnotes are not read by the assigned paragraph
        reader. The conductor decides to what extent the thought in a
        footnote or an endnote should be included in the discussion. Af-
        ter the paragraph has been read, the conductor might choose to
        have someone in the audience read the footnote or endnote or
        he might choose to ask for a comment on it. In some cases, he
        may not refer to it at all. Material in parentheses or in brackets
        within a paragraph is usually read aloud. A reference that simply
        identiﬁes source material, such as a scripture citation, is not read
        aloud.
     7. He encourages as many as possible to participate and tactfully
        reminds the audience that the ﬁrst answer should be a direct an-
        swer to the printed question. After the direct answer is given,


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     the audience may comment on cited scriptures, supporting argu-
     ments, practical application of the material, and so forth. He en-
     courages individuals to comment in their own words, calls on only
     one person at a time, and does not scold the audience if an-
     swers are not forthcoming.
  8. At the conclusion of the article, he asks the review questions. His
     concluding remarks should be no more than 90 seconds. The
     study should last no more than 60 minutes, excluding the songs
     and closing prayer.
  9. Only exemplary individuals who read very well should be approved
     by the body of elders as paragraph readers. If no brothers meet
     these qualiﬁcations, then qualiﬁed sisters may be used. Readers
     should be assigned in advance. (See 3:3.19.) It is preferred that
     the paragraphs be read live during congregation meetings. How-
     ever, if no qualiﬁed readers are available, it is permissible to use
     audio recordings found on jw.org.




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     CHAPTER SEVEN



     Field Service Group
     Overseer

                                                                                                                  Paragraphs
     Qualiﬁcations .................................................................................................................... 1
     Responsibilities ................................................................................................................ 2



     QUALIFICATIONS
  1. The body of elders should assign one overseer and one assistant
     to each ﬁeld service group. The group overseer is responsible to
     assist all in his assigned group to make spiritual advancement.
     (1 Tim. 4:15; Heb. 12:12) He should be an alert, caring shepherd.
     (Isa. 32:2) His zealous lead in the ﬁeld ministry will encourage
     others to keep active in preaching the good news. (Heb. 13:15-
     17) In view of the importance of this assignment, the body of el-
     ders should select those elders most qualiﬁed to fulﬁll all the as-
     pects of this assignment. If there are not enough elders in the
     congregation who are able to serve as group overseers or group
     assistants, ministerial servants may be assigned as group ser-
     vants or group assistants. If there are not enough ministerial ser-
     vants, a baptized brother who is a good example may serve as
     the group assistant. The other elders and ministerial servants in
     each group should be alert to support the group overseer and
     his assistant in caring for these responsibilities.—Eph. 4:15, 16;
     od chap. 5 pars. 29-34.


     RESPONSIBILITIES
  2. The responsibilities of ﬁeld service group overseers include the
     following:


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         (1)   Taking an active interest in the physical and spiritual
               needs of each one in the group by maintaining regular
               contact with each family—weekly, if possible.—Jas. 1:27;
               2:15, 16; see Chapter 25.

         (2)   Taking the lead when the group meets for ﬁeld service,
               especially on weekends. Periodically, he may assign his
               assistant or another brother to conduct such meetings.
               If he cannot be present, he makes sure that the group
               will be cared for by his assistant or another brother.
               —See 1:2.8.

         (3)   Arranging to work regularly in the ministry with each
               one in the group to provide encouragement and
               training in various aspects of the Kingdom-preaching
               and teaching work.—Luke 8:1.

         (4)   Arranging to shepherd periodically all in the group.
               —See Chapter 25.

         (5)   Developing, along with the Congregation Service
               Committee, a plan to assist those with special needs in
               times of emergency or disaster.—See Chapter 26.

         (6)   Reviewing periodically with his assistant the activity of
               those in his group to determine their strengths and
               weaknesses in the ministry.

         (7)   Meeting with publishers one year after baptism
               to provide encouragement and helpful suggestions. He
               will be accompanied by an elder assigned by the
               coordinator of the body of elders.—See 4:2.7;
               od pp. 211-212.

         (8)   Assisting and training exemplary, baptized brothers in
               the group to reach out and qualify for congregation
               responsibilities.


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      (9)   Helping to collect the monthly ﬁeld service reports.
            When the secretary informs him of missing reports,
            he immediately follows through. If someone did not
            participate in ﬁeld service for an entire month, he
            oﬀers help as needed, according to the circumstances
            of the individual.




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       FIELD SERVICE GROUP OVERSEER




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    CHAPTER EIGHT



    Appointment and
    Deletion of Elders and
    Ministerial Servants

                                                                                                                   Paragraphs
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    Cautions Before Recommending Certain Brothers                                                               ..................    6-11
         Previously Reproved, Disfellowshipped, or Disassociated                                                                     .......   7
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         Baptized for Many Years but Only Now
          Being Recommended ...................................................................................... 11
    When an Appointed Brother Moves Out
    of the Congregation ................................................................................................. 12
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    Into the Congregation ..................................................................................... 13-14
    Recommendations for Appointment During the Circuit
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        APPOINTMENT AND DELETION OF ELDERS AND MINISTERIAL SERVANTS


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        CONSIDERING SCRIPTURAL QUALIFICATIONS
     1. Before meeting to consider recommending brothers as ministeri-
        al servants or elders, each elder should personally review the in-
        spired qualiﬁcations found at 1 Timothy 3:1-13; Titus 1:5-9; James
        3:17, 18; and 1 Peter 5:2, 3. Helpful comments on the Scriptural
        qualiﬁcations can be found in chapters 5 and 6 of Organized to
        Do Jehovah’s Will. A brother recommended as a ministerial ser-
        vant must have been baptized at least one year.

     2. After the meeting is opened with prayer, the Scriptural require-
        ments should be read aloud from the Bible. Although no one


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     could measure up perfectly to these requirements, the brother
     being considered should measure up to a reasonable degree, not
     signiﬁcantly lacking in any one of the requirements. The circuit
     overseer relies on your good judgment and spiritual discernment
     in this matter.
  3. Natural ability does not qualify a brother for appointment. He
     must be a spiritual man, giving evidence that holy spirit is oper-
     ating on him. Is he zealous for ﬁne works? Is he a good exam-
     ple in his attendance and participation at congregation meet-
     ings? Is he zealous in the ministry, doing what he reasonably can
     in view of his age, health, family obligations, and other theocrat-
     ic responsibilities? (See 23:25-26.) Is he a student of the Bible?
     Does he endeavor to help his family spiritually, regularly study-
     ing with his wife and his children living at home? Does he man-
     ifest the fruitage of the spirit in his daily life?—Gal. 5:22, 23.
  4. Though it is the brother who must measure up to the Scriptural
     qualiﬁcations, you should also consider the spirituality of those
     in his household. If his wife is baptized, is she a good example?
     If she is spiritually weak, is he doing what he reasonably can to
     assist her? Is he making family worship a priority? Are his minor
     children well-behaved and “believing,” either progressing toward
     dedication to God or already baptized as Jehovah’s Witnesses?
     Do his family members participate in congregation meetings to
     a reasonable extent? What does the conduct of any adult chil-
     dren living in the home reveal?—Titus 1:6; see 8:22.
  5. The elders should help brothers in their late teens to reach out
     and qualify to be ministerial servants. The following factors will
     be helpful when considering the qualiﬁcations of such a brother.
     Does the congregation respect him as a spiritual man? (1 Cor. 2:
     15, 16) Does he display “the fruitage of the spirit”? (Gal. 5:22,
     23) Does he have a meaningful share in the ministry? Does his
     use of his time give evidence that he is putting Kingdom inter-
     ests ﬁrst? Do his conversation and comments give evidence of
     good personal study habits? What are his spiritual goals? Has he


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        been “tested as to ﬁtness”?—1 Tim. 3:10; Ps. 1:1, 2; Matt. 6:33;
        Eph. 4:29; w89 7/1 p. 29; see 1:6.4-5.


        CAUTIONS BEFORE RECOMMENDING
        CERTAIN BROTHERS
     6. Elders should make sure they have full and complete information
        regarding the brothers they intend to recommend to the circuit
        overseer, especially those in the following circumstances.
     7. Previously Reproved, Disfellowshipped, or Disassociated: If he
        was reproved within the past three years or reinstated within the
        past ﬁve years, please provide the following information: What
        was the oﬀense? In a case of reproof, did the judicial committee
        make an announcement? In a case of disfellowshipping or disas-
        sociation, what is the date of reinstatement? When were the last
        restrictions lifted? Are you aware of his having been reproved,
        disfellowshipped, or disassociated on any other occasions? What
        convinces you that he has lived down his past wrongdoing and
        that others now view him as a good example? If the wrongdoing
        took place in another congregation, how would that congrega-
        tion view his appointment? Recommending him prematurely could
        minimize the seriousness of wrongdoing in his own eyes and in
        the eyes of others. It could also disturb those who still have his
        wrongdoing fresh in their memories.
     8. Guilty of Adultery in the Past: When did the adultery occur?
        Was he reproved or disfellowshipped? If he was reproved, was an
        announcement made? Did the innocent mate reject him? How do
        you know this? If he divorced and remarried, did he marry the
        individual with whom he committed adultery? Is there evidence
        that he schemed to put away his former mate or that he pres-
        sured her to accept a divorce? Did the adultery break up the
        marriage of the other person? How were others aﬀected by his
        adultery? Is the innocent mate still alive? Did the innocent mate
        remarry? What convinces you that he has lived down his past
        wrongdoing and is now viewed with respect? If the wrongdoing


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     took place in another congregation, how would that congrega-
     tion view his appointment?—See 12:10-12.
  9. Separated or Unscripturally Divorced: Who is primarily to blame
     for the marital problems? What were the circumstances surround-
     ing the separation or divorce? Who was responsible for the sep-
     aration, or who pursued the divorce? Did both sign the decree
     or in some other way indicate their agreement? How long ago
     did the separation or divorce occur? What is the brother doing
     to try to reconcile? Is his mate unwilling to cooperate with his ef-
     forts? If so, why? How is his situation viewed by the congrega-
     tions involved? How do the elders of the mate’s congregation feel
     about the brother? When separation and divorce are involved,
     there may be deﬁciencies on the part of one or both mates that
     make it necessary to limit special privileges because one or both
     mates may not be viewed as exemplary.—w00 12/15 pp. 28-29;
     lvs pp. 250-251.
 10. Served as an Elder or a Ministerial Servant in the Past: With
     what congregation did he previously serve, and when did he stop
     serving? Why did he stop serving? What makes his circumstances
     diﬀerent now? What progress has he made since he stopped serv-
     ing? If he stopped serving in another congregation, how would
     that congregation view his reappointment? If he previously served
     as an elder and was not guilty of gross wrongdoing, it may not
     be necessary for him now to serve ﬁrst as a ministerial servant,
     depending on the length of time since he stopped serving as an
     elder.—See 13:8.
 11. Baptized for Many Years but Only Now Being Recommend-
     ed: What prevented the brother from being recommended in the
     past?

     WHEN AN APPOINTED BROTHER MOVES OUT
     OF THE CONGREGATION
 12. Unless there are serious reservations about the qualiﬁcations of
     an appointed brother who is moving, the Congregation Service


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       Committee should send a letter of introduction to the elders in
       the new congregation plainly stating that the body of elders rec-
       ommends that he continue to serve and in what assignments he
       has experience. (See 22:5-8.) If there are serious reservations,
       the body of elders should meet as soon as possible to deter-
       mine whether they will recommend him for reappointment or not.
       (See 8:31-33.) If they do not recommend him, two or more elders
       should meet with him and explain the Scriptural reason for the
       body’s decision. The letter of introduction should clearly explain
       their concerns, the counsel they gave him, and whether he agrees
       with the decision. (See 8:38.) At the next visit of the circuit over-
       seer, the elders should inform the circuit overseer of the broth-
       er’s move. This is true whether he received a favorable recom-
       mendation or not.


       WHEN AN APPOINTED BROTHER MOVES INTO
       THE CONGREGATION
   13. Elders and ministerial servants who move to a new congregation
       with a favorable letter of recommendation and who have a favor-
       able recommendation from the elders of the new congregation
       but who have not yet been reappointed may be used to present
       parts on the midweek meeting and to give public talks, accord-
       ing to their abilities. (See 22:6.7.) They may attend a Kingdom
       Ministry School. In addition, they can be present with the minis-
       terial servants during the meeting the circuit overseer conducts
       with the appointed servants in the congregation. If the circuit
       overseer’s outline includes additional information for elders only,
       recommended elders who have not yet been reappointed can re-
       main as this information is discussed. However, they should not
       be present when recommendations and local congregation needs
       are considered. Neither should they serve on judicial committees
       or attend other meetings of the body of elders.
   14. If an elder or a ministerial servant regularly moves away to live at
       a second residence, he should not be appointed in both congre-


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     gations. One congregation should hold the Congregation’s Pub-
     lisher Records (S-21). Each time he leaves, the elders should write
     a letter to the congregation he will be attending temporarily, ex-
     plaining his circumstances and how he was being used. The el-
     ders of the congregation he is visiting can use him to care for
     duties and responsibilities in the congregation as outlined above.
     Even if he will be away for more than three months, he should
     send his ﬁeld service reports to his home congregation.


     RECOMMENDATIONS FOR APPOINTMENT
     DURING THE CIRCUIT OVERSEER’S REGULAR
     VISIT TO A CONGREGATION
 15. At least one month before the circuit overseer’s visit, the Con-
     gregation Service Committee should send to the circuit overseer
     the full name, date of birth, and date of baptism of any brother
     the body of elders will be recommending for appointment as an
     elder or a ministerial servant. The Recommendations for Appoint-
     ment of Elders and Ministerial Servants (S-62) form should be
     used for this purpose. (See Instructions for Congregation Use
     of JW.ORG [S-135].) Any ministerial servants who substitute as
     members of the service committee should not be aware of or be
     involved in any discussions regarding the recommendation. Min-
     isterial servants should have no access to any forms or corre-
     spondence related to the appointment or deletion of elders and
     ministerial servants.
 16. No earlier than a day or two before the start of the visit, perhaps
     when other congregation records are provided, the elders should
     provide the circuit overseer with any background information that
     has a bearing on the qualiﬁcations of the brother(s) being recom-
     mended for appointment. Such information would include letters
     of recommendation (or perhaps letters of introduction) from a
     previous congregation. (See 8:6-11.) During the meeting with the
     elders later in the week, the circuit overseer will discuss the Scrip-
     tural qualiﬁcations of each brother recommended. (See 8:1-5.) If


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       the circuit overseer determines that the brother does not mea-
       sure up to the Scriptural requirements to a reasonable degree,
       he will advise the elders accordingly and inform them how they
       can help the brother to qualify in the future.
   17. When the circuit overseer decides to appoint a brother, the cir-
       cuit overseer and another elder will meet with the brother to in-
       form him of his appointment. If the brother is (1) being appointed
       for the ﬁrst time as a ministerial servant or (2) being reappoint-
       ed as an elder or a ministerial servant for reasons other than his
       move from one congregation to another, the circuit overseer will
       ask the following questions: “(1) Is there anything from your past,
       even before baptism, or in your personal or family life that dis-
       qualiﬁes you or that would prevent you from accepting this ap-
       pointment? (2) Is there any reason why your appointment should
       not be announced to the congregation? (3) Have you ever been
       involved at any time in the past with child sexual abuse?” If the
       brother answers no to the questions, the circuit overseer will pro-
       vide the elders with a signed appointment letter that includes the
       brother’s name in the list of those appointed during the visit. The
       appointment should be announced to the congregation at the
       next midweek meeting.
   18. If the brother approved for appointment is not present at the con-
       clusion of the visit and it is necessary to ask him the questions
       mentioned in the preceding paragraph, the circuit overseer will
       not include the brother’s name in the appointment letter, if any,
       left with the elders at the end of the visit. Rather, when the broth-
       er returns, the coordinator of the body of elders should assign
       two elders to ask the brother the questions. The coordinator of
       the body of elders will then inform the circuit overseer of the
       brother’s answers. If the brother answers no to the questions, the
       circuit overseer will provide the elders with a signed appointment
       letter. At the midweek meeting following the receipt of the ap-
       pointment letter, the brother’s appointment should be announced
       to the congregation.


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 19. If the brother approved for appointment is not present at the con-
     clusion of the visit but it is not necessary to ask him the ques-
     tions mentioned in paragraph 17, the circuit overseer will include
     the brother’s name in the appointment letter left with the elders
     at the end of the visit. When the brother returns, the coordina-
     tor of the body of elders should assign two elders to meet with
     the brother to inform him of his appointment before it is an-
     nounced to the congregation.
 20. If the circuit overseer decides not to appoint a brother, two el-
     ders may speak with the brother at an appropriate time and dis-
     creetly explain what he needs to do to qualify. The elders should
     not inform him that the body of elders recommended him. On
     occasion the circuit overseer will not approve a recommendation
     so as to allow time for the brother to develop maturity and ex-
     perience or to live down past wrongdoing. In such cases, there
     may be no need to discuss matters with the brother.


     RECOMMENDATIONS FOR APPOINTMENT
     BETWEEN THE CIRCUIT OVERSEER’S REGULAR
     VISITS TO A CONGREGATION
 21. When an elder or a ministerial servant moves into the congrega-
     tion with a favorable letter of recommendation for reappointment
     and the next visit of the circuit overseer is not in the near future,
     the body of elders may recommend his immediate reappointment.
     In such cases, the Congregation Service Committee should sub-
     mit the Recommendations for Appointment of Elders and Minis-
     terial Servants (S-62) form to the circuit overseer along with a
     copy of the letter of recommendation from the service commit-
     tee of his former congregation. If the recommendation is ap-
     proved, an appointment letter will be sent to the body of elders.
     A brother who has been reappointed as an elder or a ministeri-
     al servant should be informed of his appointment before it is an-
     nounced to the congregation.


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       SITUATIONS THAT REQUIRE A REVIEW OF AN
       APPOINTED BROTHER’S QUALIFICATIONS
   22. Member of His Household Gets Involved in Serious Wrongdo-
       ing: If a brother’s wife or child, including an adult child living in
       his home, is involved in serious wrongdoing, the body should seek
       to determine whether the brother was negligent. Was he permis-
       sive? Was he alert to provide needed direction, anticipating po-
       tential problems? Was he regularly conducting family worship?
       Was he giving his family needed time and attention? When he
       became aware of serious wrongdoing, did he promptly inform the
       body of elders so that they could properly investigate the mat-
       ter? Did he shield his family from discipline or try to manipulate
       the elders’ handling of the situation? Does he continue to have
       the respect and conﬁdence of the congregation as an exempla-
       ry family head? If one of his children was guilty of serious wrong-
       doing, are the other children doing well spiritually? If the broth-
       er has done all that can reasonably be expected and especially
       if he has had spiritual success with others in his household, re-
       jection of his ﬁne direction by one family member would not nec-
       essarily disqualify him if he continues to have the respect of the
       congregation.

   23. Allows Disfellowshipped or Disassociated Family Member to
       Move Into His Home: Is the disfellowshipped or disassociated in-
       dividual unable to live on his own, or has he moved because it
       is an easier life? Are there valid reasons for allowing him back in
       the home, or is it primarily so that the Christian family mem-
       bers can have a measure of association with him? Did the fam-
       ily avoid unnecessary contact with him when he was living outside
       the home? Is the arrangement short-term or long-term? What is
       the disfellowshipped or disassociated individual’s conduct? What
       spiritual eﬀect is he having on others in the household, especial-
       ly siblings? Is the congregation disturbed by the brother’s de-
       cision? Have a number lost respect for him? Similar questions


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     should be considered when an adult child living at home is disfel-
     lowshipped or disassociated and allowed to remain in the home.
 24. Supports the Marriage of a Baptized Christian to an Unbap-
     tized Person: An appointed man should be loyal to Jehovah’s
     standards, including the Scriptural command to marry “only in
     the Lord,” that is, to marry a dedicated, baptized Christian. (1 Cor.
     7:39; 2 Cor. 6:14, 15; Titus 1:8; w04 7/1 p. 31; lvs pp. 134-136)
     This command applies to all Christians, including those who are
     inactive. Questions about an appointed brother’s qualifications
     would result if he encouraged or gave unspoken approval to such
     a marriage, for example, by supporting the courtship or by sup-
     porting, attending, or participating in the wedding or wedding re-
     ception. A brother’s qualiﬁcations should also be reviewed if he
     did not get involved personally but allowed his wife or others in
     his household to do so. If an elder or a ministerial servant dis-
     plays poor judgment in these areas to a degree that it raises se-
     rious questions in the minds of others, he may be Scripturally
     disqualiﬁed from serving.
 25. Committed a Disfellowshipping Oﬀense Years in the Past and
     the Matter Was Never Addressed: The body of elders may de-
     termine he can continue to serve if the following is true: The im-
     morality or other serious wrongdoing occurred more than a few
     years ago, and he is genuinely repentant, recognizing that he
     should have come forward immediately when he sinned. (Perhaps
     he has even confessed to his sin, seeking help with his guilty con-
     science.) He has been serving faithfully for many years, has ev-
     idence of God’s blessing, and has the respect of the congregation.
 26. If the sin occurred before he was appointed as an elder or a min-
     isterial servant, the elders will need to take into consideration the
     fact that he should have mentioned this possible obstacle to his
     being qualiﬁed when elders met with him just prior to announc-
     ing his appointment. Moreover, the nature of the sin may reﬂect
     greatly on his qualiﬁcations to serve. For example, the sin may


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       involve past child sexual abuse, which means that he would not
       qualify for many years, if ever.—See 14:22-24.
   27. If the wrongdoing occurred within the past few years while he
       was serving as an elder or a ministerial servant, he is disqualiﬁed
       from serving as such, not being “free from accusation.” (1 Tim.
       3:2, 10; Titus 1:6, 7) Depending on the circumstances, the situ-
       ation may also need to be handled by a judicial committee.—See
       12:57-59.
   28. Viewed Pornography: See 13:5-6.


       SITUATIONS THAT MAY REQUIRE A REVIEW OF
       AN APPOINTED BROTHER’S QUALIFICATIONS
   29. Files for Bankruptcy: Have individuals in the congregation or the
       community become upset? Did the brother lack self-control in his
       spending or fail to use reasonable foresight in his business deci-
       sions? Does he have a reputation for being honest and respon-
       sible? Is he viewed as one who conscientiously tries to pay his
       debts? Does he feel a moral responsibility to repay canceled debts
       if former creditors would accept payment? Does he still have the
       respect of the congregation? Does he continue to have “a ﬁne
       testimony from outsiders”?—1 Tim. 3:7; w94 9/15 pp. 30-31.
   30. He or a Member of His Household Pursues Higher Education:
       If an appointed brother, his wife, or his children pursue higher
       education, does his life pattern show that he puts Kingdom in-
       terests ﬁrst in his life? (w05 10/1 p. 27 par. 6) Does he teach his
       family members to put Kingdom interests ﬁrst? Does he respect
       what has been published by the faithful slave on the dangers of
       higher education? Do his speech and conduct reveal that he is a
       spiritual person? How is he viewed by the congregation? Why is
       he or his family pursuing higher learning? Do they have theocrat-
       ic goals? Does the pursuit of higher education interfere with reg-
       ular meeting attendance, meaningful participation in ﬁeld ser-
       vice, or other theocratic activities?


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     PROCEDURE FOR REVIEWING AN APPOINTED
     BROTHER’S QUALIFICATIONS
 31. When preparing to review the qualiﬁcations of a brother, elders
     should ﬁrst research current direction that applies to the issue
     at hand. Avoid dogmatic viewpoints or quick decisions based
     solely on personal preferences. (Phil. 4:5) Do not be quick to rec-
     ommend deletion unless there is a solid basis for doing so. It may
     be possible to assist the brother to make the needed adjustments
     and continue to serve. Has the brother served faithfully for many
     years? What has he done or failed to do that raises questions?
     How did he react to counsel? Has he had such diﬃculties in the
     past, and how did he then respond to eﬀorts to help? Was his
     wrongdoing really so serious that it requires restricting his priv-
     ileges? Possibly he just made a mistake, using poor judgment.
     The congregation in general may still have respect for him and
     conﬁdence in him as an elder or a ministerial servant. Perhaps
     the matter is not widely known, if at all. If he realizes that his ac-
     tion was unwise, has learned from his mistake, has a good atti-
     tude, and wants to improve, it may be that he can continue to
     serve.

 32. If it is necessary to review an elder’s qualiﬁcations, the body of
     elders should consider the matter, with the brother in question
     present, using the following procedure:

        (1)   After seeking Jehovah’s guidance in prayer, make sure
              all the facts are presented. Maintain a respectful,
              orderly atmosphere that is conducive to such a
              discussion.

        (2)   Allow the brother adequate time to express his
              feelings and to answer any questions. Ask him for his
              view of the matters being discussed regarding his
              qualiﬁcations.


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          (3)   Ask the brother to leave the room while the other
                elders continue their discussion and decide what they
                will recommend.
          (4)   Invite the brother back into the room. If the decision
                is to recommend his deletion, inform him of this and
                the Scriptural reasons.
          (5)   Give the brother the opportunity to comment on the
                decision. It may be necessary for the brother to leave
                the room again so that the elders can discuss the
                matter further before making a ﬁnal decision.
   33. If the qualiﬁcations of a ministerial servant are being reviewed,
       the same basic procedure is followed except that rather than hav-
       ing the brother present during the meeting of the body of elders,
       it would usually be suﬃcient for two elders to speak with him in
       advance to hear him out. If the body of elders decides to recom-
       mend his deletion, the two elders would meet with him again to
       inform him of the recommendation and the Scriptural reasons
       and to give him the opportunity to express himself. Based on his
       comments, it may be necessary for the elders to discuss the mat-
       ter further before making a ﬁnal recommendation.


       RECOMMENDATIONS FOR DELETION DURING
       THE CIRCUIT OVERSEER’S REGULAR VISIT TO
       A CONGREGATION
   34. Recommendations for deletion because of poor judgment not of
       a judicial nature are usually best submitted during the visit of the
       circuit overseer rather than between visits. At the start of the cir-
       cuit overseer’s visit, the elders should provide any background
       information, including any conclusion that the body of elders may
       have already reached, that will help the circuit overseer have a
       complete view of the matter. (See 8:31-33.) During his meeting
       with the elders later in the week, the circuit overseer will discuss


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     the Scriptural qualiﬁcations of the brother. If the circuit overseer
     agrees with the recommendation, the brother will be informed of
     his deletion. If the brother agrees with the decision, the circuit
     overseer will generate a letter of deletion. The announcement of
     deletion should be made at the next midweek meeting. (See 8:38.)
     If the brother disagrees with the decision, he will be informed of
     his right to appeal.—See 8:39.


     RECOMMENDATIONS FOR DELETION BETWEEN
     THE CIRCUIT OVERSEER’S REGULAR VISITS TO
     A CONGREGATION
 35. If serious questions arise concerning a brother’s qualiﬁcations
     and the next visit of the circuit overseer is not in the near future,
     the body of elders should follow the procedure outlined in Chap-
     ter 8, paragraphs 31-33. If the body of elders decides to recom-
     mend a brother’s deletion after reviewing his qualiﬁcations, the
     Congregation Service Committee should send the recommenda-
     tion to the circuit overseer immediately. The letter to the circuit
     overseer should provide complete details and indicate whether
     or not the brother agrees with the recommendation. Meanwhile,
     the brother will continue to serve as an elder or a ministerial ser-
     vant. The body of elders will determine what congregation re-
     sponsibilities he will have in the interim, according to the circum-
     stances. If the circuit overseer agrees with the recommendation
     and believes it should be processed immediately, he will send a
     letter of deletion to the body of elders. Upon receipt of the let-
     ter, the coordinator of the body of elders should assign two el-
     ders to inform the brother of the circuit overseer’s decision. If the
     brother accepts the circuit overseer’s decision, the announcement
     should be made at the next midweek meeting. (See 8:38.) If the
     brother does not accept the decision, he should be informed of
     his right to appeal, the announcement to the congregation should
     be held in abeyance, and the coordinator of the body of elders
     should inform the circuit overseer.—See 8:39.


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       RESIGNATIONS
   36. If a brother expresses a desire to resign, two elders should ﬁrst
       discuss the matter with him. Why does he wish to resign? Is he
       Scripturally disqualiﬁed? If his personal circumstances hinder him
       from doing what he would like, can the elders be of any assistance
       and encouragement? Until his circumstances change, perhaps
       they can lighten his load for a period of time while he continues
       to serve. If he still feels he wants to resign after this discussion,
       the Congregation Service Committee should write the circuit over-
       seer and provide full details as to why the brother chose to re-
       linquish his privilege of service. The circuit overseer will send a
       letter of deletion to the body of elders.—See 8:35.


       DELETIONS FOR JUDICIAL REASONS
       OR DEATH
   37. The Congregation Service Committee should immediately inform
       the circuit overseer of (1) the deletion of an elder or a ministeri-
       al servant because of judicial reproof, disfellowshipping, or dis-
       association or (2) the death of an elder or a ministerial servant.
       For deletions resulting from judicial reproof, disfellowshipping, or
       disassociation, the information sent to the circuit overseer should
       include the speciﬁc judicial oﬀense and the action taken by the
       committee. In cases involving judicial reproof, the circuit overseer
       will send a letter of deletion to the body of elders. No letter of
       deletion will be sent in cases of disfellowshipping, disassociation,
       or death.—See 8:38.


       ANNOUNCEMENTS OF DELETION
   38. Announcements of deletion, including those because of resigna-
       tions, should read as follows: “Brother [name of person] is no
       longer serving as an elder (a ministerial servant).” When an el-
       der or a ministerial servant moves out of the congregation, an


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     announcement of deletion would not be made. When a brother
     resigns, an announcement should be made without waiting for
     the letter of deletion from the circuit overseer. After guilt is clear-
     ly established in a judicial matter, an announcement of deletion
     should be made to the congregation at the next midweek meet-
     ing, even if the judicial hearing is not yet completed.


     APPEALING DELETIONS
 39. If an elder or a ministerial servant disagrees with his deletion by
     the circuit overseer and wishes to appeal, he should immediate-
     ly write a brief letter to the Service Department, with a copy to
     the body of elders and a copy to the circuit overseer, explaining
     why he disagrees with the deletion. It would be inappropriate to
     pressure a brother who wishes to appeal not to do so by sug-
     gesting, for example, that it would take longer for him to be reap-
     pointed or that the branch oﬃce would view him negatively. The
     announcement of deletion should be held in abeyance, and the
     letter of deletion should be destroyed (if one had been generat-
     ed). Thereafter, the Service Department will select an experienced
     circuit overseer who, along with the original circuit overseer, will
     rehear the entire matter. The two circuit overseers will listen care-
     fully to the brother and the elders and will deal justly and kind-
     ly with all involved. After the circuit overseers hearing the appeal
     reach a joint decision, there is no further right to appeal. If it is
     decided that the brother should be deleted, the circuit overseer
     who serves the brother’s congregation will generate a letter of
     deletion to the body of elders. Upon receipt of the letter of dele-
     tion, the announcement of deletion should be made at the next
     midweek meeting.


     CONGREGATION FILE
 40. Records related to the appointment and deletion of elders and
     ministerial servants should be retained indeﬁnitely.—See 22:19.


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     CHAPTER NINE



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     APPOINTMENTS
  1. When a publisher submits an Application for Regular Pioneer Ser-
     vice (S-205), the Congregation Service Committee should obtain
     comments from the appropriate group overseer and then meet
     promptly to consider the applicant’s qualiﬁcations, keeping in
     mind the following guidelines. The service committee should use
     good judgment in determining when it would be wise to confer
     with the other elders.—Prov. 15:22.
          (1)         The information provided by the applicant should be
                      complete and correct.
          (2)         The applicant must be baptized for at least a full six
                      months.
          (3)         The applicant must be an exemplary Christian.
                      —See 2:4.


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          (4)   The applicant must have organized his personal aﬀairs
                so that he can reach the annual requirement of
                840 hours.
          (5)   Those who discontinue pioneer service must be oﬀ the
                pioneer list a full six months before starting again.

          (6)   The applicant must not have been reproved or
                reinstated within the past year, and all restrictions
                must have been lifted.

          (7)   The applicant should indicate the date he wishes to
                begin pioneering. No retroactive appointments should
                be made unless there are signiﬁcant extenuating
                circumstances, such as in the rare instance that an
                application was lost or unduly delayed by the elders.
     2. Once the service committee has decided whether to appoint the
        applicant or not, the body of elders should be updated on how
        the matter was handled. This should be done before any an-
        nouncement of appointment is made to the congregation. If it is
        decided that the applicant is not qualiﬁed to serve as a regular
        pioneer, two members of the service committee should kindly ex-
        plain the reasons to him. If the service committee decides to ap-
        point him as a regular pioneer, each member of the committee
        should sign the application. The application should be kept in the
        congregation ﬁle. Applications should not be sent to the branch
        oﬃce unless speciﬁc instructions are given to do so.
     3. The secretary should enter information from the approved appli-
        cation into the appropriate section of jw.org. After the information
        has been submitted, the new pioneer’s name will be listed under
        the section “Appointed Pioneers Not Yet Registered.” The secre-
        tary should check the site every few days until the pioneer’s name
        is listed under the section “Regular Pioneers.” Thereafter, the
        regular pioneer welcome letter (S-236), found under the “Docu-
        ments” tab in the “Forms” section, should be printed out and pro-


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     vided to the pioneer to inform him of the appointment. An an-
     nouncement should be made to the congregation at the next
     midweek meeting that the publisher has been appointed as a reg-
     ular pioneer. Please do not announce to the congregation the
     appointment of the regular pioneer until his name is listed under
     the section “Regular Pioneers,” thus indicating that the appoint-
     ment has been registered by the branch oﬃce.


     DELETIONS
  4. Before deleting an individual as a regular pioneer, the Congrega-
     tion Service Committee should obtain comments from the appro-
     priate group overseer. They should also consider whether the
     pioneer may qualify for special consideration. (See 9:14.) The ser-
     vice committee should use good judgment in determining when
     it would be wise to confer with the other elders. (See 2:1.) In all
     cases, before any announcement is made to the congregation,
     the body of elders should be updated on how the matter was
     handled and two members of the service committee should in-
     form the individual of the decision. If a pioneer no longer quali-
     ﬁes or must discontinue for personal reasons, an announcement
     should be made to the congregation. The announcement of dele-
     tion should read as follows: “Brother (Sister) [name of person]
     is no longer serving as a regular pioneer.” Inform the branch of-
     fice of the deletion using jw.org. If the discontinuation is be-
     cause of health, family responsibilities, secular work, and so forth,
     choose the option “Personal reasons.” If the discontinuation is
     because of a poor example that did not involve judicial action,
     choose the option “No longer qualifies.” For discontinuation be-
     cause of other reasons, choose the appropriate option.

  5. If the pioneer was reproved by a judicial committee, he is auto-
     matically disqualiﬁed and his deletion should be reported imme-
     diately on jw.org.


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        CONGREGATION CHANGES
     6. If a pioneer transfers to another congregation, the secretary of
        his former congregation should indicate his deletion on jw.org
        and should show the reason as transferring to another congre-
        gation. Type the name of the new congregation or area in the
        space provided. Include the country if the pioneer is transferring
        to a congregation outside the branch territory.

     7. Upon receipt of the letter of introduction from the previous con-
        gregation, the Congregation Service Committee of the new con-
        gregation should conﬁrm that the individual desires to continue
        pioneering. If so, and if there is no exceptional reason to do oth-
        erwise, the service committee of the new congregation should
        reappoint the pioneer. The secretary of the new congregation
        should enter the appropriate information on jw.org as follows,
        and the appointment should be announced at the next midweek
        meeting.

          (1)   If transferring from a congregation in the same
                branch territory: Click on the appropriate link and
                enter the pioneer’s name and former congregation.
                Then click “Search.”

          (2)   If transferring from a congregation in another branch
                territory: Enter the pioneer’s information as if he were
                a newly appointed pioneer. Be sure to complete the
                section for full-time service history.


        CHANGES TO PIONEER INFORMATION
     8. Changes to a pioneer’s name, birth date, baptism date, marital
        status, or spouse’s name may be made on jw.org. If any other
        information about the pioneer needs to change, please contact
        the Service Department.


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     S-202 LETTERS
  9. Congregations not able to use jw.org may send approved Appli-
     cations for Regular Pioneer Service (S-205) to the Service De-
     partment so that the appointments may be registered. In this
     circumstance, please do not announce to the congregation the
     appointment of the regular pioneer until you receive an S-202
     letter indicating that the appointment has been registered. Con-
     gregations not able to use jw.org may also use the S-202 letter
     to inform the Service Department of a change in a pioneer’s per-
     sonal information or to inform another congregation that a pio-
     neer is transferring to their congregation.


     FIELD SERVICE REPORTS (S-4)
 10. Field Service Reports for regular pioneers should be handled in
     the same way that publisher reports are handled. Late reports
     should be added to the total activity for regular pioneers on the
     following month’s report to the branch oﬃce.


     HOUR CREDIT
 11. Regular pioneers may be invited to share in certain theocrat-
     ic assignments as part of their sacred service. The spiritual-
     ity, availability, and willing spirit of pioneers may allow them
     to support Kingdom interests in a special way. Such approved
     assignments include serving in construction oversight, Assem-
     bly Hall oversight, assembly oversight, and convention oversight,
     as well as serving as commuter Bethelites, remote volunteers,
     Bethel consultants, Hospital Liaison Committee members, Patient
     Visitation Group members, Disaster Relief Committee members,
     Local Design/Construction Department ﬁeld representatives and
     maintenance trainers, and so forth. Approved assignments also
     include assisting with Kingdom Hall construction when such is
     done at the request of the branch oﬃce or its representatives


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       overseeing the project, assisting with pre- and post-assembly or
       convention work, assisting with work at Assembly Halls, conduct-
       ing or participating in congregation meetings held in prison, and
       so forth.
   12. When a pioneer’s assistance is authorized, he will keep a record of
       all the hours spent working on the assignment during the month.
       He will report this activity to the congregation in the “Comments”
       section of his Field Service Report (S-4). It should be explained
       clearly to the pioneer that when he submits his report he should
       not combine the hours spent working on an approved assign-
       ment with the hours spent in ﬁeld service and that some time
       should be spent in the ministry each month.
   13. The hours spent working on an approved assignment should not
       be included with the ﬁeld service report submitted to the branch
       oﬃce. The ﬁgure recorded in the “Hours” column of the Congre-
       gation’s Publisher Record (S-21) should reﬂect only the actual
       hours spent by the pioneer in ﬁeld service. All the hours spent
       working on an approved assignment should be noted in the “Re-
       marks” column along with a notation of how much of that time
       can be considered hour credit. Those properly authorized are giv-
       en credit to the extent that the total number of hours actually
       spent in ﬁeld service plus time credit for approved assignments
       does not exceed 75 hours. No credit will be carried over to any
       other month. The credit received for attendance at a theocratic
       school or class is in addition to any time spent in the ﬁeld min-
       istry that month and in addition to any credit received for ap-
       proved theocratic assignments. If a theocratic school or class
       spans more than one month, the pioneer student will be allowed
       to determine how much of the allotted hour credit will be applied
       to each month.


       SPECIAL CONSIDERATION
   14. In some situations, pioneers spend more hours in a month on
       theocratic projects than they can receive hour credit for. Later in


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     the service year, they may need to take a vacation, spend time
     in secular work, or care for some other pressing issue that pre-
     cludes their reaching 840 hours for the service year. The Congre-
     gation Service Committee should take into consideration all that
     such pioneers are doing in behalf of Kingdom interests and grant
     special consideration to them. A pioneer would not lose his priv-
     ileges if he has worked extensively on theocratic projects and did
     not reach the annual hour requirement because he spent more
     time on such projects than he could receive hour credit for. The
     elders, being aware of the pioneer’s work to support Kingdom in-
     terests, will oﬀer warm commendation. A notation can be made
     on the Congregation’s Publisher Record (S-21) to indicate that
     special consideration has been granted.


     REVIEW OF PIONEERS’ FIELD
     SERVICE ACTIVITY
 15. Each year around March 1, the secretary and the service over-
     seer should review the ﬁeld service activity and hour credit of
     all regular pioneers. If a pioneer is consistently not meeting the
     monthly hour goal, factoring in any hour credit, the service over-
     seer and group overseer should meet with the pioneer to discuss
     his circumstances and endeavor to oﬀer assistance. Is it because
     of health problems, increased family responsibilities, poor sched-
     uling, or secular work? Are other activities consuming his time
     and energy? Is the problem temporary or ongoing? Does he have
     a realistic schedule that will allow him to reach the monthly hour
     goal for the rest of the service year?
 16. At the end of the service year, the Congregation Service Commit-
     tee should meet to review the activity of any regular pioneers who
     did not reach the annual hour requirement and determine if they
     should be allowed to continue pioneering. (If a regular pioneer
     reaches at least 800 hours for the year—hours spent in ﬁeld ser-
     vice in combination with any hour credit—he may continue to


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       serve as a pioneer.) In addition to the factors noted in the pre-
       ceding paragraph, the following factors should be taken into con-
       sideration before a decision is made. How long has the individu-
       al been serving as a full-time minister? What is the age of the
       pioneer? Might it be better for him to discontinue regular pioneer
       service until his circumstances change? Discontinuing pioneer
       service for a time may relieve him of the stress of trying to meet
       the hour requirement while coping with diﬃcult or adverse cir-
       cumstances. Be balanced and use good judgment when making
       such decisions. Consider what course of action will be in the best
       interests of the individual and, at the same time, will uphold the
       high standards of regular pioneer service.
   17. If the service committee delays in handling matters, further prob-
       lems may develop. A pioneer may begin to minimize the need to
       meet the hour requirement. Or he may feel stress, wondering
       when the elders will recommend his removal. A pioneer may try
       unrealistically to increase the hours he spends in ﬁeld service in
       an attempt to reach the hour requirement, thinking that is the
       only course to be taken. These situations may cause the pioneer
       to develop a poor attitude or even health problems. Therefore,
       the long-term interests of the pioneer are best served when mat-
       ters are handled promptly.—Gal. 6:10.


       INFIRM REGULAR PIONEERS
   18. In rare circumstances, a brother or sister may be approved to re-
       main as a pioneer without having a minimum hour requirement.
       This provision is only for exemplary, longtime pioneers who have
       a heartfelt desire to serve always as regular pioneers and who
       feel they would be taking a backward step if they had to discon-
       tinue but who are unable to meet the hour requirement because
       of inﬁrmity. The elders may consider designating such a pioneer
       as an inﬁrm regular pioneer if he (1) is over 50 years old and
       (2) has pioneered for at least 15 cumulative years. This decision


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     should be made by the elders only after consulting with the circuit
     overseer regarding the situation. This arrangement is not a pro-
     vision to allow an individual to care for sick relatives, do added
     secular work, and so forth. Those who ﬁrst enter the pioneer ser-
     vice when they are 60 or 70 years old do not come under this
     arrangement simply because of their age. There is no need to give
     consideration to allowing an older pioneer who develops health
     problems to serve as an inﬁrm regular pioneer if he is willing to
     transfer to the publisher ranks.
 19. When the body of elders decides that a pioneer may serve as an
     inﬁrm regular pioneer, a notation should be made on the Con-
     gregation’s Publisher Record (S-21). It is not necessary to noti-
     fy the branch oﬃce of this decision. Two members of the Con-
     gregation Service Committee should meet with the pioneer to
     inform him of this loving provision made in his behalf. Encourage
     the pioneer to continue exerting himself in his ministry to the ex-
     tent that his circumstances allow. (Luke 13:24; Col. 3:23, 24) As-
     sure the inﬁrm pioneer that he has the full support of the elders
     in the congregation and that Jehovah is aware of the sacriﬁces
     that he has made during his many years of service.—Heb. 6:10, 11.




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     CHAPTER TEN



     Circuit Overseer

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  1. Four to six weeks before a regular visit of the circuit overseer,
     the elders should begin to remind the congregation of the visit.
     The elders should encourage full participation in the field minis-
     try and remind the congregation of the opportunity to auxiliary
     pioneer with a 30-hour requirement and attend the pioneer meet-
     ing with the circuit overseer. See Chapter 8, paragraphs 15-16,
     if recommending a brother for appointment as an elder or a min-
     isterial servant during the visit. The coordinator of the body of
     elders should follow closely the instructions provided on the In-
     formation Needed for Visit of Circuit Overseer (S-61) form. Ear-
     ly in the week, the elders should alert the circuit overseer to any
     serious problems the congregation is facing.


     ACCOMMODATIONS AND MEALS
  2. It is a privilege for the congregation to show genuine hospitality
     to the circuit overseer and his wife. This enables the circuit over-
     seer to get the most accomplished and to cultivate a warm rela-
     tionship with the brothers. (Rom. 12:13; 3 John 5, 6) Even if an
     apartment is provided by the circuit, the circuit overseer may on
     occasion need to stay locally instead of commuting to a distant
     apartment. (See Instructions for Circuit Accounting [S-331] for
     direction regarding circuit apartments.) It is the responsibility of
     the coordinator of the body of elders or another elder designated


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        by him to ensure by personal observation that clean and suitable
        accommodations are arranged for the circuit overseer and his
        wife during the week of his visit. If there is a need to rent a place
        for the week, the elders should contact the Service Department.
     3. Private accommodations should provide a clean place to store
        clothes and belongings. A chair, a table, and good lighting are
        important. Circuit overseers need adequate time to themselves
        and suﬃcient rest. The coordinator of the body of elders or an-
        other elder designated by him should ask the circuit overseer if
        he or his wife have any allergies or health problems that might
        aﬀect the selection of accommodations. Additionally, it is best to
        avoid homes where there are family problems or where a family
        member has a serious illness requiring specialized attention.
     4. Midday meals are ﬁne occasions for upbuilding conversations, for
        forming close friendships, and even for shepherding. Thus, when
        visiting congregations, it is preferred that circuit overseers accept
        the hospitality of the local brothers as arranged by the elders.
        The elders should use good judgment when selecting those who
        will serve as hosts for the midday meal. Circuit overseers deep-
        ly appreciate the congregation’s hospitality. Wholesome, nourish-
        ing food enables them to feel well physically and to keep up with
        their schedule. The circuit overseer may decide whether he will
        accept invitations for other meals.
     5. It is beneﬁcial when the coordinator of the body of elders asks
        the circuit overseer at the end of his visit about the accommo-
        dations. It is not necessary to have the circuit overseer stay in
        a diﬀerent home each time he visits the congregation.


        EXPENSES DURING THE WEEK OF THE VISIT
     6. Circuit overseers generally incur some expenses during the week
        of the visit. Such expenses may include food expenses, routine
        oﬃce expenses, transportation expenses that are not covered


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     by the branch oﬃce, and certain moderate personal expenses.
     (See Instructions for Congregation Accounting [S-27] and In-
     structions for Circuit Accounting [S-331] for details on how cir-
     cuit overseers are reimbursed.) At no time should the circuit over-
     seer and his wife be a ﬁnancial burden to any congregation.
     —2 Cor. 11:9.
  7. The circuit overseer will be considerate and discerning in submit-
     ting his expenses. Some personal expenses could be covered by
     the monthly allowance from the branch oﬃce or from personal
     contributions he may have received from individuals in the con-
     gregation. Other personal expenses, such as clothing, cosmetics,
     vitamins, over-the-counter drugs, insurance for personal proper-
     ty, or life insurance would not be submitted for reimbursement.
     Rather, they should be covered by the circuit overseer’s person-
     al funds. A circuit overseer should not solicit funds from individ-
     uals.
  8. If Internet or mobile telephone service is used to communicate
     with congregations and with the branch oﬃce, the expense in-
     curred may be submitted for reimbursement. However, Internet
     or mobile telephone service beyond what is needed to commu-
     nicate with congregations and the branch oﬃce would be cov-
     ered by the circuit overseer as a personal expense, as would ex-
     penses related to Internet or mobile telephone service for the wife
     of a circuit overseer.


     PROPER USE OF CONGREGATION
     AND CIRCUIT FUNDS
  9. Congregation and circuit funds should not be used to make mon-
     etary gifts to circuit overseers or visiting speakers beyond their
     actual expenses. Likewise, it would be inappropriate for individ-
     uals to solicit money from brothers and sisters and then provide
     this as a gift to a circuit overseer. (2 Cor. 8:20) Nevertheless, if
     someone desires to make a heartfelt contribution to a circuit


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       overseer, that is his prerogative and is a private matter that need
       not concern others.—2 Cor. 9:7.




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    CHAPTER ELEVEN



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    NEWLY BAPTIZED PUBLISHERS
  1. The secretary should provide newly baptized publishers with the
     following materials:

       (1)    Durable power of attorney (DPA) card. The publisher
              should be informed of the importance of having a
              properly completed DPA card and of providing a copy
              of it to his health-care agents and his doctor or
              hospital.
       (2)    “How Do I View Blood Fractions and Medical
              Procedures Involving My Own Blood?” (kmi11/06)
              —November 2006 Our Kingdom Ministry insert.
       (3)    “Are You Ready to Face a Faith-Challenging Medical
              Situation?” (kmi11/90)—November 1990 Our Kingdom
              Ministry insert.


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        PARENTS AND PREGNANT SISTERS
     2. When the elders learn that a sister is pregnant, they should pro-
        vide her (and her husband, if he is a Witness) with a copy of In-
        formation for Expectant Mothers (S-401). Soon after, the elders
        should inquire whether the assistance of the Hospital Liaison
        Committee (HLC) is desired. If the sister requests assistance, the
        elders should contact the HLC. Elders should ensure that any par-
        ents with minor children are familiar with the points contained in
        How Parents Can Protect Their Children From Misuse of Blood
        (S-55).


        ELDERLY
     3. If they do not have Witness family members with them in a hos-
        pital, older brothers and sisters may be particularly vulnerable to
        intimidation by medical personnel. Elders would do well to en-
        courage such ones to have a duly-completed DPA card and re-
        mind them to conﬁrm periodically that their designated health-
        care agents understand their decisions and will uphold them.


        ADMISSION TO THE HOSPITAL
     4. When the elders learn that a publisher is being admitted to the
        hospital, the publisher should be reminded that if he wishes to
        receive visits from congregation elders, including members of the
        Patient Visitation Group, he should inform the hospital that he
        would welcome a visit from a minister of Jehovah’s Witnesses. A
        publisher needs to read hospital forms very carefully to ensure
        that his health-care decisions are properly recorded. A patient
        has the right to modify such documents as necessary, initialing
        each adjustment he makes. A publisher will want to ensure that
        a copy of his DPA card is included with his medical records.
        To help ensure that his wishes are honored, a publisher may
        choose to appoint two of Jehovah’s Witnesses as his health-care
        agents instead of non-Witness family members. If this is done, it


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     is both prudent and a kindness for the publisher to advise his
     non-Witness family members of this.


     COMMUNICATION WITH MEDICAL PERSONNEL
  5. Well in advance of a scheduled operation, a publisher should
     speak with his doctor, the surgeon, and the anesthesiologist
     about his health-care instructions. Surgery is a team eﬀort, and
     all members of the team need to understand the publisher’s po-
     sition on blood, on any pharmaceuticals containing minor blood
     fractions, and on medical procedures involving the use of his own
     blood. It is unfair to the medical team when a publisher fails to
     communicate his wishes well in advance of the surgery. With the
     publisher’s permission, Hospital Liaison Committee members or
     others may discuss the publisher’s case with medical personnel.
     However, it is the responsibility of the patient or his health-care
     agents to make health-care decisions.


     HOSPITAL LIAISON COMMITTEE
  6. Hospital Liaison Committees (HLC) play a vital role in helping
     medical and legal communities understand our religious position
     regarding blood transfusions. HLCs coordinate the activities of
     Patient Visitation Groups (PVG) in key cities to provide spiritual
     support for hospitalized Witness patients from outside the local
     area. The HLC and PVG arrangements do not relieve the elders
     or others in the congregation of their responsibility to support
     publishers who are hospitalized.—Prov. 17:17; 1 John 3:18.
  7. The activity of HLCs is completely separate from hospital pro-
     grams, such as bloodless medicine and surgery programs. Nei-
     ther the branch oﬃce nor the HLCs endorse health-care provid-
     ers or any business organization.
  8. Elders should ensure that they have ready access to the contact
     information for their HLC. In most cases, elders should contact
     the HLC directly and only in behalf of baptized and unbaptized


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        publishers (including inactive publishers) who request help to ﬁnd
        a cooperative doctor (either for themselves or for their children)
        or whose medical condition has led to the threat of a blood trans-
        fusion. At times, the elders may determine that it would be best
        for the patient or a family member to contact the HLC directly,
        especially in emergency situations. When calling the HLC, the call-
        er should have the following information available:
          (1)   Name, age, congregation, and telephone number of
                patient.
          (2)   Spiritual standing of patient and family, and whether
                unbelieving family members are involved.
          (3)   Name of hospital, name of doctor, patient’s room
                number and, if applicable, telephone number of
                patient’s room.
          (4)   Whether a completed DPA card is available. (If not,
                the patient should be encouraged to ﬁll one out
                immediately. Unbaptized publishers may adapt the
                language of the DPA card and Identity Card [ic] to
                write health-care instructions for themselves and their
                children.)
          (5)   Reason for calling the HLC.
     9. If a publisher has a doctor who says he will respect the publish-
        er’s wishes, there may not be a need to contact the HLC before
        treatment. However, the publisher will want to conﬁrm that the
        doctor is experienced in using nonblood medical alternatives and
        strategies.


        WHEN TRAVELING TO CARE FOR
        MEDICAL NEEDS
   10. At times, a publisher requires specialized medical care that is
       unavailable locally. The Special Medical Needs Room Request


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     (hlc-20) form, which elders may obtain from the Hospital Liaison
     Committee (HLC), allows Witness patients and family to request
     assistance with lodging during their stay. There is no obligation
     for patients to use this provision, especially when ﬁnancial cir-
     cumstances allow the patient to cover his needs. If the patient
     simply wants information on what accommodation options are
     available locally, he should indicate that he is able to cover such
     expenses and the HLC can then provide such information.
 11. For patients needing assistance in nonemergency situations, the
     elders should obtain the form from their local HLC and then as-
     sist the publisher or his family to ﬁll it out. The elders will prompt-
     ly send the completed form to the HLC in the city where the pa-
     tient will receive care. In emergency situations, the elders may
     ask their local HLC to expedite such rooming requests.
 12. Families should limit the size of the group traveling with the pa-
     tient. The HLC in the city where the patient will receive care will
     use the completed form to locate lodging for the group. Accom-
     modations may be arranged in the following ways:
        (1)   Standing agreements that hospitals have negotiated
              with nearby hotels or private residential facilities for
              discounted rates. Such arrangements are usually
              available to anyone, including non-Witnesses.
         (2) Discounted rooms for Witnesses at hotels used in
             connection with circuit assemblies and conventions, if
             available.
         (3) Private homes of Witness families living near the
             medical facility. If accommodations are required for an
             extended period of time, the homes of multiple families
             may be used on a rotational basis so as not to impose
             a burden on any one family.
 13. If a non-Witness relative or a disfellowshipped family member is
     accompanying the Witness patient, no special arrangements or


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       rates would be extended beyond accommodations for the patient
       and immediate family members who are in good standing.

   14. The patient and his family have the primary obligation to care for
       the cost incurred for lodging, transportation, meals, and other
       related expenses. However, the patient’s congregation may also
       be able to oﬀer assistance in certain cases.—od chap. 12 pars. 12-
       15; chap. 16 pars. 9-11.

   15. If a congregation is near a medical facility where Witness patients
       from other areas often seek medical care, elders may communi-
       cate to the local HLC chairman information about exemplary pub-
       lishers who can provide suitable accommodations to visiting Wit-
       nesses.


       BAPTISM OF AN INDIVIDUAL WITH A
       COMMUNICABLE DISEASE
   16. Out of loving concern for others, a baptism candidate may in-
       form the elders that he has a communicable disease, such as
       HIV/AIDS, hepatitis, and so forth. (od p. 197) If so, the coordi-
       nator of the body of elders should inform the candidate of the
       following options regarding immersion:

           (1) He may attend the convention or assembly, listen to
               the baptism talk, and then be taken to a stream, river,
               lake, or sea to be baptized.

          (2) He may attend the convention or assembly, listen to
              the baptism talk, and then be baptized in his hotel
              room or in a private home where there is a large tub
              that can be used for this purpose.

          (3) If he is sensitive to others becoming aware of the
              fact that he has such a disease, he may attend a
              convention or assembly to which his congregation is


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            not assigned, listen to the baptism talk, and then be
            baptized in a stream, river, lake, or sea.
        (4) He may request that the local elders arrange for a
            private baptism. The elders should inform the circuit
            overseer of the baptism.
 17. The brothers performing the baptism should be informed of the
     health issue so as to decide whether this would be a risk that
     they would be willing to take.




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  1. Elders should act promptly when they receive a report of serious
     wrongdoing so as to safeguard the congregation and provide as-
     sistance to the wrongdoer. (Jude 4) Neglecting to care for such
     matters can hinder the ﬂow of Jehovah’s holy spirit to the con-
     gregation. Elders must ﬁrst assess whether the wrongdoing, if
     established, is serious enough to require a judicial committee.
     —See 12:2-39; 15:1.

     OFFENSES REQUIRING REVIEW BY
     THE ELDERS
  2. Listed below are oﬀenses that may require review by a judicial
     committee. Of course, this list is not comprehensive. There may
     be other matters that would also merit the attention of a judicial
     committee. The elders must use good judgment and reasonable-
     ness when evaluating the seriousness of the alleged wrongdoing.
     They should consider the extent and nature of the misconduct,
     intent and motive, frequency or practice, and so forth. If there
     is a question about whether certain wrongdoing merits judicial
     action, the body of elders may write to the Service Department
     requesting further direction concerning the case.
  3. Sexual Immorality (Por·neia): (Lev. 20:10, 13, 15, 16; Rom. 1:
     24, 26, 27, 32; 1 Cor. 6:9, 10) Por·neia involves immoral use of
     the genitals, whether in a natural or in a perverted way, with lewd
     intent. There must have been another party to the immorality—a
     human of either sex or a beast. Willing participation incurs guilt
     and requires judicial action. It is not a casual touching of the sex
     organs but involves the manipulation of the genitals. It includes
     oral sex, anal sex, and manipulation of the genitals between in-
     dividuals not married to each other. (w06 7/15 pp. 29-30; w04
     2/15 p. 13; w00 11/1 p. 8 par. 6; w83 6/1 pp. 23-26; lvs p. 120)
     Por·neia does not require skin-to-skin contact, copulation (as in
     penetration), or sexual climax.
       (1)   “Immoral use of” conveys the thought not just of
             touching but of operating, manipulating, or employing


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                something. For example, it is one thing to touch a
                musical instrument; it is something diﬀerent to make
                “use of” a musical instrument.
          (2)   “Lewd intent” identiﬁes the motive. For example, a
                doctor may need to manipulate the genitals in
                examining a patient. A veterinarian, farmer, or rancher
                may do something similar to an animal. However, the
                intent is not sexual gratiﬁcation.
          (3)   “Manipulation” conveys the idea of operating
                something, whether by use of the hands or some other
                means, and does not require skin-to-skin contact.
                Momentary touching of another’s genitals, even if
                intentional, would generally not be considered por·neia.
     4. Masturbation of oneself is not por·neia.—lvs p. 250.
     5. One who was raped would not be guilty of por·neia. Discernment
        is needed in considering claims of rape, taking into consideration
        such factors as the mental disposition of the person, the circum-
        stances that led up to the incident, and any delay in reporting.
        —w03 2/1 pp. 30-31; w83 3/15 p. 30, ftn.; it-1 pp. 862-864.
     6. When determining if an individual is guilty of por·neia, it is im-
        portant to establish the facts. This is especially true when Scrip-
        tural freedom to remarry is involved. (Mal. 2:16a) In situations in
        which the elders are uncertain or divided on their conclusions, it
        is best to write the Service Department.—See 12:71-76.
     7. Strong Circumstantial Evidence of Sexual Immorality (Por-
        neia): If at least two eyewitnesses report that the accused stayed
        all night in the same house with a person of the opposite sex (or
        with a known homosexual) under improper circumstances, judi-
        cial action may be warranted. (w18.07 p. 32) The elders cannot
        apply one rule to every case; each situation has unique circum-
        stances. After two elders have thoroughly investigated, the body
        of elders must use good judgment in determining whether seri-
        ous wrongdoing has occurred. If the elders are unsure how to


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     proceed, they should consult with the Service Department.—If
     questions are raised regarding Scriptural freedom to remarry, see
     Chapter 12, paragraphs 71-76.
       (1)   Have the couple been pursuing a romantic relationship?
             Have they been previously counseled regarding their
             conduct with each other? What circumstances led to
             their spending the night together? Did they plan ahead
             to do so? Did they have a choice in the matter, or
             were there extenuating circumstances, perhaps an
             unforeseen occurrence or genuine emergency that left
             them with no choice but to spend the night together?
             (Eccl. 9:11) What were the sleeping arrangements?
             Since each situation is different, there may be other
             relevant factors. If there are no extenuating
             circumstances, a judicial committee would be formed
             on the basis of strong circumstantial evidence of
             sexual immorality.
       (2)   Depending upon the attitude of the accused, there
             might even be evidence of brazen conduct.
  8. Consider an example in which judicial action would be warrant-
     ed: A married brother spends an inordinate amount of time with
     his female secretary after work hours but insists there is no ro-
     mantic interest. His concerned wife informs the elders, who give
     him strong counsel. Later, when he claims to be leaving overnight
     for a “business trip,” his suspicious wife and a relative follow him
     to the secretary’s home. They observe the secretary invite him
     inside at 10 p.m. and continue watching all night until he leaves
     the home at 7 a.m. When the elders speak to him, he admits that
     he spent the night with his secretary, but he denies that he com-
     mitted adultery. In such a case, the elders have a basis to take
     judicial action because there is strong circumstantial evidence of
     por·neia and there may be elements of brazen conduct. The in-
     nocent mate’s conscience may allow her to divorce him and re-
     marry; she should not be criticized if that is her decision.


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     9. Below are examples in which judicial action would likely not be
        warranted:
          (1)   An elderly Christian living alone has a member of the
                opposite sex move into the home to help care for him.
                There is no evidence of a romantic attachment or
                reason to suspect sexual immorality.

          (2)   After attending a social gathering at a single sister’s
                home, a brother walks to a train station to catch the
                train home. After waiting for some time, the brother
                learns that the last train for the day has already left the
                station. He walks back to the sister’s home, but by the
                time he arrives, everyone has left and it is quite late.
                The sister allows him to sleep in the living room while
                she sleeps in her bedroom.

          (3)   A single brother visits a married couple for several
                days. One night after everyone goes to bed, the
                husband is called to an emergency at his place of work
                and does not return until morning. The wife and the
                single brother are alone in the home all night sleeping
                in separate bedrooms.
   10. Adulterous Marriage: If a divorced person remarries and he was
       not Scripturally free to do so—in other words, if adultery and re-
       jection by the innocent mate had not occurred—he has entered
       into an adulterous marriage. In Jehovah’s eyes, he has married
       someone while still bound to another. Entering into such a mar-
       riage would call for judicial action.—See 12:76.
   11. The elders should be very cautious in extending any special priv-
       ileges to such an individual, even after judicial restrictions have
       been lifted. He could share in the cleaning and repair of the lo-
       cal Kingdom Hall. He may eventually present student assignments
       on the midweek meeting if his doing so would not disturb oth-
       ers. However, he would not be assigned to help with literature,


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     accounts, attendants, sound, video, or similar privileges in the
     congregation as long as the innocent former mate is alive, un-
     married, and has not been guilty of por·neia.
 12. Although a Christian’s remarriage may not be adulterous, if he
     deliberately committed adultery in a scheming way so as to end
     his previous marriage or he pressured his innocent mate to re-
     ject him so that she eventually agreed to a divorce, he has dealt
     treacherously with her. (Mal. 2:14-16) His conduct is similar to
     entering into an adulterous marriage, and he would not qualify
     for special privileges for many years.—See 22:26-27.
 13. Child Abuse: Child abuse includes the sexual or physical abuse
     of a minor. It would also include the extreme neglect of a minor
     by her parent. Child sexual abuse is a perversion and generally
     includes sexual intercourse with a minor; oral or anal sex with a
     minor; fondling the genitals, breasts, or buttocks of a minor; voy-
     eurism of a minor; indecent exposure to a minor; or soliciting a
     minor for sexual conduct. Depending on the circumstances of the
     case, it may include involvement with child pornography or “sext-
     ing” with a minor. “Sexting” involves the sending of sexually ex-
     plicit messages or images electronically.—See Chapter 14.
 14. Gross Uncleanness, Uncleanness With Greediness: (2 Cor. 12:
     21; Gal. 5:19; Eph. 4:19) Galatians 5:19-21 lists many vices that
     are not classed as por·neia but that could lead to one’s being
     disqualiﬁed from God’s Kingdom. Among them are uncleanness
     (Greek, a·ka·thar·sia). When one practices uncleanness to a se-
     rious degree, it can be grounds for disfellowshipping from the
     Christian congregation. Elders should use good judgment in dis-
     cerning whether the conduct is minor uncleanness that can be
     handled by counsel or is gross uncleanness that requires the for-
     mation of a judicial committee.—w06 7/15 pp. 29-31; w83 3/15
     p. 31; lvs p. 249.
 15. Though this is not an exhaustive list, gross uncleanness may be
     involved in the following:


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         (1)   Momentary Touching of Intimate Body Parts or
               Caressing of Breasts: If such conduct occurred on a
               few isolated occasions, especially between two persons
               involved in a courtship with the intent to marry,
               counsel from two elders may suﬃce to handle such
               minor uncleanness. The elders should inform the
               coordinator of the body of elders of the situation.
               However, if the conduct occurred on numerous
               occasions and the actions escalated in gravity and
               frequency, it may constitute gross uncleanness with
               greediness, requiring judicial action. Their wrongdoing
               may constitute brazen conduct if they give evidence of
               a disrespectful, insolent attitude toward God’s laws. For
               example, the individuals may have no intentions of
               pursuing marriage.

         (2)   Immoral Conversations Over the Telephone or the
               Internet: A practice of engaging in immoral
               conversations over the telephone or the Internet,
               including “sexting,” can involve obscene speech or
               gross uncleanness, either of which can be a basis for
               judicial action. If such conduct occurred on a few
               isolated occasions, judicial action may not be
               necessary. Counsel from two elders may be suﬃcient
               to handle such minor uncleanness. The elders should
               inform the coordinator of the body of elders of the
               situation. However, such conduct may escalate in
               gravity and by frequent repetition become gross
               uncleanness with greediness requiring judicial action,
               especially if the individual had been previously
               counseled. The elders must use good judgment in
               determining whether the wrongdoing has escalated to
               a point warranting judicial action.—w06 7/15 pp. 30-31.

         (3)   Viewing Abhorrent Forms of Pornography: See 13:2-4.


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      (4)   Misuse of Tobacco or Marijuana and Abuse of
            Medical, Illicit, or Addictive Drugs: Elders should use
            good judgment in weighing the circumstances and
            extent of the wrongdoing so as to determine whether a
            judicial committee should be formed. For example, one
            or two elders may handle matters by means of counsel
            if a Christian abused an addictive drug or smoked
            cigarettes on one or two occasions and the matter is
            not widely known. The coordinator of the body of elders
            should be informed. However, a judicial committee is
            required for a practice of abusing addictive drugs,
            including betel nut, marijuana, and tobacco. (2 Cor. 7:1;
            w06 7/15 pp. 30-31; lvs pp. 110-117) If a medical
            doctor authorizes and/or prescribes marijuana for a
            medical problem, a Christian may choose to make use
            of this form of treatment. Although no judicial action
            would be taken, if an issue arises in the congregation,
            the elders will need to determine whether the individual
            can be viewed as exemplary. The proper use of
            addictive drugs under medical supervision, such as for
            pain management, would not require judicial review.
            When questions arise, consult with the Service
            Department.

      (5)   Extreme Physical Uncleanness: (Deut. 23:12-14; 2 Cor.
            7:1; lvs pp. 108-110) Every eﬀort should be made to
            help the oﬀender see the need to keep his body and
            place of residence clean. Before judicial action would
            be considered, the elders would need to be certain that
            the uncleanness is pronounced and oﬀensive, bringing
            much reproach upon Jehovah’s good name and his
            people in the community. Appropriate counsel should
            be given. If this is not heeded, then a warning talk may
            be necessary. (See 12:77-80.) If there is blatant, willful
            disregard of the counsel given and extremely oﬀensive


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                unclean conditions continue, judicial action would be
                warranted.
   16. Brazen Conduct: (2 Cor. 12:21; Gal. 5:19; Eph. 4:19; lvs p. 249)
       The Greek word translated “brazen conduct” is a·selgei·a.
       Strong’s Exhaustive Concordance of the Bible uses very forceful
       terms to deﬁne it: “licentiousness . . . ﬁlth[iness], lasciviousness,
       wantonness.” The New Thayer’s Greek-English Lexicon of the New
       Testament adds to the list “unbridled lust, . . . outrageousness,
       shamelessness, insolence.” Another lexicon deﬁnes a·selgei·a as
       conduct that “violates all bounds of what is socially acceptable.”
       Rather than relating to bad conduct of a somewhat petty or mi-
       nor nature, “brazen conduct” describes acts that reﬂect an atti-
       tude that betrays disrespect, disregard, or even contempt for di-
       vine standards, laws, and authority. Therefore, two elements are
       involved in brazen conduct: (1) The conduct itself is a serious vi-
       olation of Jehovah’s laws, and (2) the attitude of the wrongdoer
       toward God’s laws is disrespectful, insolent.—w06 7/15 p. 30.
   17. Though this is not an exhaustive list, brazen conduct may be in-
       volved in the following if the wrongdoer has an insolent, contemp-
       tuous attitude made evident by a practice of these things:
          (1)   Unnecessary Association With Disfellowshipped
                or Disassociated Individuals: Willful, continued,
                unnecessary association with disfellowshipped or
                disassociated nonrelatives despite repeated counsel
                would warrant judicial action.—Matt. 18:17b; 1 Cor. 5:11,
                13; 2 John 10, 11; lvs pp. 39-40.
                If a publisher in the congregation is known to
                have unnecessary association with disfellowshipped or
                disassociated relatives who are not in the household,
                elders should use the Scriptures to counsel and reason
                with him. Review with him information from the Remain
                in God’s Love book, page 241. If it is clear that a
                Christian is violating the spirit of the disfellowshipping


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              decree in this regard and does not respond to counsel,
              he would not qualify for congregation privileges, which
              require one to be exemplary. He would not be dealt
              with judicially unless there is persistent spiritual
              association or he persists in openly criticizing the
              disfellowshipping decision.
        (2)   Dating Though Not Scripturally Free to Remarry:
              Continuing to date or to pursue a romantic relationship
              with a person though one or both are not legally or
              Scripturally free to remarry, doing so despite repeated
              counsel and generally after a warning talk to the
              congregation, would warrant judicial action.—Gal. 5:19;
              2 Thess. 3:6, 14, 15.
 18. Drunkenness: (1 Cor. 5:11; 6:9, 10; it-1 p. 656; lvs pp. 20-21, 83)
     A judicial committee is required when there is a practice of drunk-
     enness or a single incident of drunkenness that brings notoriety.
     (w83 5/1 p. 8) A Scriptural description of drunkenness can be
     found in the following references: Job 12:25; Psalm 107:27; Prov-
     erbs 20:1; 23:29-35; Isaiah 24:20.
 19. If an individual confesses to an elder that on one occasion he
     overindulged in alcohol to the point of drunkenness in a private
     setting, such as in his home, and there is no notoriety, it may
     suﬃce for the elder to give strong counsel. In any case, the el-
     der should inform the coordinator of the body of elders of the
     matter.
 20. Gluttony: (Prov. 23:20, 21; w04 11/1 pp. 30-31) A glutton rou-
     tinely shows a lack of restraint, even gorging himself on food to
     the point of feeling very uncomfortable or becoming sick. Glut-
     tony is determined, not by someone’s size, but by his attitude to-
     ward food.
 21. Stealing, Thievery: (1 Cor. 6:9, 10; Eph. 4:28; w86 11/15 p. 14)
     Though all stealing is wrong, the body of elders should use dis-
     cernment in weighing the circumstances and the extent of the


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       involvement in wrongdoing to determine whether it is a judicial
       matter.—w10 3/1 pp. 12-14; w94 4/15 pp. 19-21; jd pp. 105-106.
   22. Deliberate, Malicious Lying; Bearing False Witness: (Prov. 6:
       16, 19; Col. 3:9; Rev. 22:15; it-2 pp. 244-245) Though all lying is
       bad, judicial action is taken only if there has been a practice of
       deliberate, malicious lying. “Malicious” means deliberately harm-
       ful, harboring ill will or enmity. Lying that requires judicial action
       involves more than just exaggerations or petty, misleading state-
       ments of relatively minor consequence or lying because of mo-
       mentary pressure or fear of man.—Matt. 26:69-75.
   23. Generally, elders should not consider administering discipline if a
       Christian charges another Christian with making false statements
       in a court dispute. For example, this may involve divorce, child
       custody and support, and so forth. The Christian making the
       charge can express his concerns to the court that has the re-
       sponsibility to determine what is truthful when rendering a judg-
       ment.
   24. Fraud, Slander: (Lev. 19:16; Matt. 18:15-17; w97 3/15 pp. 17-22;
       it-1 pp. 870, 989-991; od chap. 14 pars. 13-20; lvs p. 163) Fraud
       is deﬁned as the intentional use of deception, trickery, or perver-
       sion of truth for the purpose of inducing another to part with
       some valuable thing belonging to him or to give up a legal right.
       Slander is deﬁned as a false report meant to do harm to the good
       name and reputation of another. Such talk is generally malicious.
       Slander is not identical to negative gossip. Negative gossip may
       be true; slander is always false. Negative gossip requires coun-
       sel but not judicial action. (w89 10/15 p. 10; it-1 p. 990 par. 2)
       The congregation would not consider forming a judicial commit-
       tee unless the oﬀended Christian had taken steps one and two
       of Matthew 18:15, 16 and had initiated step three as described
       in Matthew 18:17.—lvs pp. 253-254.
   25. If asked, elders could participate in step two, but they do not rep-
       resent the body of elders. If the matter proceeds to step three,


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     any elders who were witnesses in step two could serve only as
     witnesses in step three. They would not be used to serve on the
     judicial committee.
 26. It is not the place of elders to become arbitrators of ﬁnancial
     agreements. They are not debt collectors. Nor should they be in-
     volved in formulating contracts or written agreements, not even
     signing as witnesses to such. The same holds true should the
     matter reach step three.
 27. The body of elders may ﬁrst need to investigate before appoint-
     ing a judicial committee. If so, the brothers involved in step two
     would not be used to investigate; they would be interviewed as
     witnesses.
 28. One who reports an accusation to the police, the court, the el-
     ders, or others who have authority to look into matters and ren-
     der a judgment would not be viewed by the congregation as guilty
     of committing slander. (it-1 p. 990) This is true even if the accu-
     sation is not proved.—w97 8/15 p. 28 par. 1.
 29. Reviling: (1 Cor. 6:10; it-2 pp. 801-802; lvs p. 164) Reviling in-
     volves subjecting a person to insulting speech, heaping abuse
     upon him. The body of elders should weigh the circumstances
     and extent of wrongdoing so as to determine whether a judicial
     committee should be formed. Elders should not be quick to take
     judicial action; a judicial committee would be formed only if the
     reviling is extreme, disrupts the peace of the congregation, and
     persists despite repeated counsel.
 30. Obscene Speech: (Eph. 5:3-5; Col. 3:8; lvs p. 162) Obvious-
     ly, certain words are more oﬀensive than others. However, ob-
     scene speech involves sexually explicit, ﬁlthy expressions. (g03
     6/8 pp. 19-20) Is the speech sexually explicit? Does it persist de-
     spite repeated counsel? This would include obscenities used both
     in written and in oral communication, such as Internet chat rooms,
     phone sex, or e-mail.—See 12:15.2.


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   31. Greed, Gambling, Extortion: (1 Cor. 5:10, 11; 6:10; 1 Tim. 3:8;
       it-1 pp. 789, 1005-1006) Elders do not generally involve them-
       selves in what an individual does with regard to petty gambling
       solely for entertainment. However, if such petty gambling affects
       his spirituality or becomes a cause of stumbling for others, coun-
       sel should be given. If he does not respond favorably to the coun-
       sel and his conduct continues to have a negative effect on him
       or others, he could not be viewed as exemplary in the congre-
       gation. (Isa. 65:11; w11 3/1 pp. 12-14; w02 11/1 p. 31; g 3/15
       pp. 14-15) If an individual’s gambling reveals a course of greedi-
       ness, perhaps causing harm to himself or others, and he ignores
       repeated counsel, judicial action would be appropriate.

   32. An individual continuing in employment directly involved with
       gambling or employment making him a clear accomplice or pro-
       moter of gambling would be subject to judicial action, usually af-
       ter being allowed six months to make the needed adjustments.
       (lvs pp. 204-209) In questionable cases, consult the Service De-
       partment.

   33. If a business gives out prizes or prize money to winners of a con-
       test or to potential customers for advertising, accepting the gift
       is an individual’s decision to make. However, a person needs to
       be careful that accepting such a prize does not stir up greed.
       —Rom. 14:21; 1 Cor. 10:31-33; w73 p. 127; g75 7/8 p. 28.

   34. A Christian who greedily and unrepentantly extorts a high bride-
       price may be dealt with judicially.—1 Cor. 5:11, 13; 6:9, 10; Heb.
       13:5; w98 9/15 pp. 24-25.

   35. Refusal to Provide for Family: (1 Tim. 5:8; lvs p. 251) Adamant
       refusal to provide materially for one’s own family, leaving wife and
       children destitute when having the means to provide, may war-
       rant judicial action. Some of the factors the body of elders should
       consider before forming a judicial committee are the following:


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        (1)   Does the husband adamantly refuse to provide for
              his family or is the failure to provide for them because
              of other factors, such as health or ﬁnancial diﬃculties?
              Is he doing what he reasonably can do to provide
              necessities for the family?

        (2)   Has counsel been previously given, and has there been
              an opportunity for him to respond?

        (3)   Does his wife have material resources aﬀording a
              secure life so that the family is not destitute?

       (4)    If the family is destitute, is it because they have
              rejected the family head’s provisions by choosing to live
              apart from him?

       (5)    When a separation is involved, to what extent is the
              wife responsible?

 36. Fits of Anger, Violence, Domestic Violence: (Mal. 2:16; Gal. 5:
     20; Col. 3:19) A Christian who cannot control his anger cannot
     be viewed as exemplary in the congregation. After his attitude,
     the pattern of behavior, and the severity of damage to the lives
     of others have been considered, a person who gives in to uncon-
     trolled ﬁts of anger may need to be dealt with judicially. (g97 6/8
     p. 20) In questionable cases, consult the Service Department.

 37. If a Christian took up professional boxing and refused to stop
     despite repeated counsel, judicial action would be appropriate.
     —w81 7/1 pp. 30-31.

 38. Manslaughter: Aside from deliberate murder, bloodguilt may be
     incurred if a person causes loss of life through carelessness or
     because of violating a traﬃc law or other safety law of Caesar.
     The elders should investigate and if warranted appoint a judicial
     committee to hear the matter. The committee should base its de-
     cision on clearly established facts, not simply on a decision that


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       may have been made by secular authorities.—Deut. 22:8; w06
       9/15 p. 30.
   39. Apostasy: Apostasy is a standing away from true worship, a fall-
       ing away, defection, rebellion, abandonment. It includes the fol-
       lowing:
          (1)   Celebrating False Religious Holidays: (Ex. 32:4-6; Jer.
                7:16-19) Not all holidays directly involve false religion
                and require judicial action.
         (2)    Participation in Interfaith Activities: (2 Cor. 6:14,
                15, 17, 18) Apostate acts include bowing before altars
                and images and sharing in false religious songs and
                prayers.—Rev. 18:2, 4.
         (3)    Deliberately Spreading Teachings Contrary to Bible
                Truth: (2 John 7, 9, 10; lvs p. 245; it-1 pp. 126-127) Any
                with sincere doubts regarding the Bible truth taught by
                Jehovah’s Witnesses should be helped. Loving
                assistance should be provided. (2 Tim. 2:16-19, 23-26;
                Jude 22, 23) If one obstinately is speaking about or
                deliberately spreading false teachings, this may be or
                may lead to apostasy. If there is no response after a
                ﬁrst and a second admonition, a judicial committee
                should be formed.—Titus 3:10, 11; w86 4/1 pp. 30-31.
         (4)    Causing Divisions, Promoting Sects: (Rom. 16:17, 18;
                Titus 3:10, 11) This would be deliberate action
                disrupting the unity of the congregation or undermining
                the conﬁdence of the brothers in Jehovah’s
                arrangement. It may involve or lead to apostasy.—it-2
                p. 886.
         (5)    Employment Promoting False Religion: Continuing in
                employment that makes one an accomplice to or a
                promoter of false worship would subject one to
                disfellowshipping after being allowed six months to


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              make the needed adjustments.—w99 4/15 pp. 28-30;
              lvs pp. 204-206.
       (6)    Spiritism: (Deut. 18:9-13; 1 Cor. 10:21, 22; Gal. 5:20;
              lvs pp. 216-217)
       (7)    Idolatry: (1 Cor. 6:9, 10; 10:14) Idolatry includes the
              use of images, including pictures, in false religious
              worship.


     EVIDENCE ESTABLISHING WRONGDOING
 40. Even though a Christian has been accused of wrongdoing seri-
     ous enough to require judicial action, a judicial committee should
     not be formed unless the wrongdoing has been established by
     suﬃcient evidence. Please note the following regarding evidence:
        (1)   Confession: Admission of wrongdoing, either written
              or oral, may be accepted as conclusive proof without
              other corroborating evidence. (Josh. 7:19) There must
              be two witnesses to a confession, and the confession
              must be clear and unambiguous. For example, a
              statement from a married Christian that his mate is
              “Scripturally free” would not by itself be viewed as a
              clear confession of adultery. A guilty plea entered in
              court by a Christian as part of a plea bargain, perhaps
              on the advice of an attorney so as to avoid the
              possibility of a harsher sentence, would generally not in
              itself be viewed by the congregation as an admission
              of guilt.
       (2)    Eyewitnesses: There must be two or three
              eyewitnesses, not just people repeating hearsay; no
              action can be taken if there is only one witness. (Deut.
              19:15-17; John 8:17; 1 Tim. 5:19, 24, 25) If there are
              two or three witnesses to the same kind of wrongdoing
              but each one is witness to a separate incident, the


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                elders can consider their testimony. While such
                evidence is acceptable to establish guilt, it is preferable
                to have two witnesses to the same occurrence of
                wrongdoing. The testimony of youths may be
                considered; it is up to the elders to determine whether
                the testimony has the ring of truth. The testimony of
                unbelievers and disfellowshipped or disassociated ones
                may also be considered, but it must be weighed
                carefully.

    41. If wrongdoing has not been established but serious questions
        have been raised, the body of elders should appoint two elders
        to investigate the matter promptly. For example, there may be
        just one witness. In some cases, it may be appropriate for the
        witness to encourage the accused to approach the elders. (Jas.
        5:14) The elders can then allow the accused a few days to ap-
        proach them. In other cases, it may not be advisable for the wit-
        ness to confront the accused. For example, the witness may be
        extremely timid. A victim of rape or of child sexual abuse is never
        required to confront the accused. (If the accusation involves child
        sexual abuse, see Chapter 14.) Whether the witness approaches
        the accused or not, the two elders appointed should speak with
        the accused regarding the accusation.—w97 8/15 p. 27.

    42. If the accused denies the accusation, the investigating elders
        should try to arrange a meeting with him and the accuser to-
        gether. (If the accusation involves child sexual abuse, see Chap-
        ter 14.) If the accuser or the accused is unwilling to meet with
        the elders or if the accused continues to deny the accusation of
        a single witness and the wrongdoing is not established, the mat-
        ter cannot be handled judicially. The investigating elders should
        compose a record, sign it, put it in a sealed envelope, and give
        it to the secretary to be placed in the congregation’s conﬁden-
        tial ﬁle. (See 22:21-27.) Additional evidence may later come to
        light to establish matters.


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     THOSE HAVING CERTAIN PRIVILEGES
     OF SERVICE
 43. If the elders learn of an accusation of serious wrongdoing against
     someone in the congregation who has one of the following ser-
     vice privileges, two elders with knowledge of the circumstances
     should immediately contact the Service Department for direction
     on handling the matter. These privileges would include serving as
     a Bethel family member, a temporary volunteer at Bethel, a con-
     struction servant, a construction volunteer, a full-time or part-
     time or occasional commuter to Bethel, a full-time or part-time
     construction commuter, a remote servant or volunteer, a Bethel
     consultant, a ﬁeld missionary, a temporary special pioneer, a spe-
     cial pioneer, an Assembly Hall servant, or a Bible school facility
     servant.


     THOSE WHO HAVE NOT ASSOCIATED
     FOR MANY YEARS
 44. In deciding whether or not to handle such a person judicially, the
     body of elders should consider the following:
        (1)   Does he still profess to be a Witness?

       (2)    Is he generally recognized as a Witness in the
              congregation or the community?

       (3)    To what degree have lives been affected or damaged
              by the wrongdoing? For example, does the matter
              involve child abuse or adultery?

       (4)    Does the person have a measure of contact or
              association with the congregation so that a leavening,
              or corrupting, inﬂuence exists?

       (5)    Is the person willing to meet with a committee, thus
              admitting accountability to the Christian congregation?


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    45. Depending upon the length of inactivity and other factors noted
        above, the elders may determine to hold the matter in abeyance.
        In such a case, they would make a record of the person’s question-
        able conduct for the congregation ﬁle. (See 22:21-27.) If the indi-
        vidual shows interest in returning to the congregation, the elders
        can clarify matters at that time.—w08 11/15 pp. 14-15 pars. 12-13.
    46. If the sinful conduct is known only to believing family members
        and no congregation action has been taken, believing relatives
        will likely determine to curtail family association severely, viewing
        the relative as bad association.—1 Cor. 15:33; w85 7/15 p. 19
        par. 14.


        UNBAPTIZED PUBLISHERS
    47. The elders should promptly handle a case of serious wrongdoing
        by an unbaptized publisher. While a judicial committee would not
        be formed, the body of elders should select two elders to meet
        with him, perhaps the ones who approved him as an unbaptized
        publisher. (If the unbaptized publisher is a minor, see Chapter 12,
        paragraph 55.) They should try to readjust him and to determine
        whether he continues to qualify. (od chap. 14 pars. 38-40) The
        body of elders should be updated on the results, including wheth-
        er any restrictions will be imposed and whether any announce-
        ment will be made to the congregation.
    48. If the individual is repentant, the assigned elders may decide to
        place certain restrictions on the individual for a time, such as not
        commenting at meetings, not presenting student assignments on
        the midweek meeting, or not sharing in the field ministry.
    49. If the individual is repentant but the assigned elders determine
        that (1) the wrongdoing is widely known or might become wide-
        ly known later or (2) the congregation needs to be on guard
        concerning the individual, the coordinator of the body of elders
        should arrange for an elder to make the following announcement
        at the next midweek meeting: “A matter involving [name of per-


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     son] has been handled, and he [she] continues to serve as an
     unbaptized publisher with the congregation.”
 50. There may be reasons for the body of elders to determine that a
     Scriptural talk about the sort of wrongdoing involved should be
     given to the congregation a few weeks after the announcement.
 51. If the individual is unrepentant, the two elders should inform him
     that he no longer qualiﬁes as an unbaptized publisher. Or if he
     informs the elders that he no longer desires to be a publisher,
     they will accept his decision. In either case, the coordinator of
     the body of elders should arrange for an elder to make the fol-
     lowing announcement at the next midweek meeting: “[Name of
     person] is no longer recognized as an unbaptized publisher.” Be-
     cause of his unrepentant wrongdoing, it would be best for a time
     not to call on him if he raises his hand to comment at meetings.
 52. If the elders see that such a person is a threat to the ﬂock, they
     can privately warn those endangered. For example, despite the
     announcement, the wrongdoer might attempt to socialize with
     youths in the congregation. In that situation, the elders would
     speak privately to the parents of the endangered ones and per-
     haps to those youths.
 53. There is no speciﬁc arrangement for an appeal or a seven-day
     waiting period before announcing the decision that one is no lon-
     ger recognized as an unbaptized publisher. If he expresses dis-
     satisfaction with the conclusion, the body of elders should choose
     two diﬀerent elders to review the case.
 54. If someone who was previously removed as an unbaptized pub-
     lisher begins to make progress and wishes once again to share
     in the ministry, two elders (perhaps those who met with him ear-
     lier) should meet with him to determine his qualiﬁcations. If he
     qualiﬁes, the coordinator of the body of elders should arrange
     for an announcement to be made that he is an unbaptized pub-
     lisher. There is no need to wait until he reports ﬁeld service again
     to make the announcement.


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    55. If the unbaptized publisher is a minor, the two elders should meet
        with the Witness parents to discern what occurred, the child’s at-
        titude, and the corrective steps that the parents are taking. If the
        parents have the situation in hand, the two elders may discern
        that it is not necessary to include the minor in the meeting. The
        elders will check with the parents from time to time to oﬀer helpful
        counsel, speciﬁc suggestions, and loving encouragement.—See
        Chapter 14, paragraphs 29-30, if the minor engaged in sexual
        misconduct.
    56. At the conclusion of the case, the two elders should prepare a
        written record. The secretary ﬁles this record in the congrega-
        tion’s conﬁdential ﬁle.—See 22:21-27.

        SERIOUS WRONGDOING THAT OCCURRED
        YEARS IN THE PAST
    57. Depending upon the circumstances, serious wrongdoing that oc-
        curred years in the past may need to be handled by a judicial
        committee. However, if wrongdoing occurred more than a few
        years ago and the individual is genuinely repentant and recog-
        nizes that he should have come forward immediately when he
        sinned, counsel by two elders may be suﬃcient.
    58. The body of elders should appoint two elders to gather the facts
        so that the body can determine whether a judicial committee is
        needed or not, taking into consideration answers to the follow-
        ing questions:
           (1)   When did the wrongdoing take place?
           (2)   How widely known is the matter?
           (3)   Does the erring one show evidence of spiritual
                 progress as opposed to evidence that progress is being
                 hindered?
           (4)   Will counsel be suﬃcient to restore him, or will more be
                 required for him to have a clean conscience?


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        (5)   Are there works beﬁtting repentance?
        (6)   Did he voluntarily confess, or did the matter come to
              light by other means?
        (7)   If the body of elders decides not to form a judicial
              committee, will the elders continue to have the respect
              of the congregation?
        (8)   If adultery was involved, has a confession been made
              to the innocent mate?—See 16:10.5.
        (9)   To what degree have lives been aﬀected or damaged
              by the wrongdoing? For example, does the matter
              involve child abuse or adultery?
 59. If the individual is serving in an appointed capacity, such as a
     ministerial servant, elder, or pioneer, his qualiﬁcations should be
     reviewed.—See 8:25-27; 9:4.


     VALIDITY OF WRONGDOER’S BAPTISM
 60. When dealing with a wrongdoer, the elders should not raise ques-
     tions about the validity of the individual’s baptism. If the individ-
     ual raises the issue, the elders may refer him to the February 15,
     2010, Watchtower, page 22.
 61. At times a wrongdoer will claim that his baptism is not valid and
     that he feels he is not accountable to a judicial committee be-
     cause he secretly engaged in wrongdoing shortly before he was
     baptized. If the elders had been aware of his serious wrongdo-
     ing committed just before baptism, likely they would not have ap-
     proved him for baptism. However, this does not necessarily mean
     that he did not make a valid dedication. Some individuals make
     a dedication long before their baptism; others have made a ded-
     ication shortly before. The elders are not in a position to read the
     heart and know for a certainty how Jehovah viewed the person
     at the time he was baptized. If the elders learn that a baptized


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        individual secretly engaged in serious wrongdoing while he was an
        unbaptized publisher but the wrongdoing ceased before baptism,
        they should give counsel and encouragement. A judicial commit-
        tee should not be formed for prebaptism wrongdoing. (1 Cor. 6:
        9-11) However, if the individual resumed serious wrongdoing af-
        ter baptism, the elders would generally deal with him on the ba-
        sis of what he has professed to be, a dedicated and baptized
        Christian, and would meet with him judicially.

    62. There are rare occasions when it is obvious that the baptism was
        invalid because serious wrongdoing did not cease before bap-
        tism, even for a brief period of time. For example, it may be that
        at the time of baptism, the individual was living immorally with a
        member of the opposite sex or the same sex, was a member of
        a nonneutral organization, or something similar. If there are ques-
        tions, the Service Department should be consulted.


        DETERMINING WHICH CONGREGATION
        SHOULD HANDLE THE MATTER
    63. Bodies of elders should cooperate if there is a question regarding
        which congregation should handle a case of wrongdoing. Which
        congregation has the facts? Which congregation can handle the
        case most eﬀectively? Jurisdiction should not become an issue.
    64. If a wrongdoer moves before a case has been concluded, it is
        usually best for the elders of the original congregation to follow
        through if possible and if distance permits. They are acquainted
        with the person and his circumstances. If he has moved a great
        distance away, the elders of the original congregation should not
        insist on handling matters if the wrongdoer says he is unable to
        return to the congregation for the meeting. In such a case, it
        may be advisable to refer matters to the elders of the congrega-
        tion where he now lives. There should be good communication
        between the two bodies.


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 65. If the elders learn that a publisher who is visiting the area for a
     short period of time is guilty of wrongdoing, they should prompt-
     ly report the matter to the elders of his congregation.


     WRONGDOING INVOLVING INDIVIDUALS FROM
     DIFFERENT CONGREGATIONS
 66. If an individual confesses to wrongdoing that involves a person
     in another congregation, the elders should promptly pass along
     what they know to the elders of the other congregation and al-
     low them time to investigate. Does the other individual admit the
     wrong? Do their accounts match, or are there signiﬁcant diﬀer-
     ences? The elders handling the matter should communicate free-
     ly and cooperate in obtaining the facts. There are many advan-
     tages to interviewing individuals jointly to ascertain what actually
     occurred and to clarify discrepancies. (Prov. 18:13, 17) If a joint
     meeting is held, thereafter the elders handling the matter from
     each congregation will withdraw and handle the case of the per-
     son from their own congregation. The elders in one congregation
     should generally not conclude their case before the elders of the
     other congregation have fully investigated the situation.


     PERMITTING INDIVIDUALS TO COMMIT SEXUAL
     IMMORALITY IN THE HOME
 67. If a publisher were to allow an individual to commit sexual im-
     morality while living in the publisher’s home, he would be giving
     tacit approval to immoral conduct. This would also be true of al-
     lowing an individual to commit sexual immorality while visiting
     the publisher’s home. Such a publisher would not be exemplary.
 68. When congregation elders come to know of such a situation, they
     should patiently provide Scriptural counsel. The publisher should
     be helped to see that what he is allowing could stumble others.
     He may then take action to change the situation so as “not to


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        put a stumbling block or an obstacle before a brother.”—Rom.
        14:13.
    69. Perhaps the publisher is genuinely concerned that what he has
        been allowing may be a cause for stumbling. For certain reasons,
        however, he may feel that he has no recourse at the present time.
        For example, elderly Witness parents may need the assistance of
        an unbelieving son or daughter. Under such circumstances, no
        judicial action would be taken, but the qualiﬁcations of the pub-
        lisher to serve in an exemplary position would be reviewed by the
        body of elders.
    70. Suppose the publisher, upon being approached by the elders,
        manifests a brazen attitude, not really caring if others are stum-
        bled. Even if he does not encourage others to do what he is do-
        ing, the elders may decide to arrange for a talk to be given that
        serves as a warning to the congregation. (2 Thess. 3:14, 15; see
        12:77-80.) On the other hand, if a baptized publisher actively pro-
        motes allowing individuals to commit sexual immorality in the
        home, then the matter could be handled judicially on the grounds
        of condoning sexual immorality, causing divisions, and, in eﬀect,
        speaking against “the teaching of the Christ.”—2 John 9-11; Gal.
        5:19, 20; Rev. 2:20.


        SCRIPTURAL FREEDOM TO REMARRY
    71. It is the responsibility of the individual desiring to remarry to
        produce convincing evidence to establish Scriptural freedom to
        remarry. If an individual’s divorce occurred before baptism, the
        elders should not assume the individual is Scripturally free to re-
        marry, as baptism does not dissolve previous marital ties. Elders
        should be very careful when it comes to giving direction on wheth-
        er an individual is Scripturally free to remarry and should consult
        with the Service Department on any questions. This is especial-
        ly true since the decisions a person makes in such matters will
        aﬀect not only his relationship with his marriage mate but also


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     his relationship with Jehovah. Elders shoulder a heavy responsi-
     bility in such matters and need to be cautious when oﬀering coun-
     sel, especially when the answer may not be readily apparent.
     —Luke 12:48; Jas. 3:1.
 72. Scriptural freedom to remarry requires three conditions: (1) sex-
     ual immorality (por·neia); (2) a rejection (refusal to reconcile) by
     the innocent mate; and (3) a legal, ﬁnal divorce. (Matt. 5:31, 32;
     19:9; Heb. 13:4) For example, if an individual contemplating re-
     marriage confesses that he has been guilty of sexual immorality
     after his former mate legally divorced him or if his former mate
     has admitted to committing sexual immorality since the legal di-
     vorce, both are Scripturally free to remarry.
 73. If a baptized Christian accuses his believing mate of adultery and
     wishes to establish freedom to remarry, the matter should be re-
     ferred to the body of elders. The publisher should be advised that
     he is not to view himself as Scripturally free to date or remarry
     until the elders have investigated the matter and guilt of por·neia
     is established. (Deut. 19:15; John 8:17) If the accused mate is
     associated with another congregation, the evidence should be
     presented to the elders of that congregation for review and a de-
     termination.
 74. In some cases adultery is not established. However the accused
     may confess or two eyewitnesses may report that the accused
     stayed all night in the same house with a person of the opposite
     sex (or a known homosexual) under improper circumstances. (See
     12:7-9.) The elders should carefully consider the situation. (See
     12:7.1.) Although the elders cannot tell the innocent mate that
     he is free to remarry, if the innocent mate is convinced that adul-
     tery did occur, the elders may allow him to take responsibility be-
     fore Jehovah for obtaining a Scriptural divorce; if he remarries,
     no judicial action will be taken.
 75. Even if the accused mate is not one of Jehovah’s Witnesses (dis-
     fellowshipped, disassociated, or never baptized), two witnesses


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        are also generally required to establish wrongdoing that would
        provide a basis for Scriptural freedom. An exception may be
        made, however, if the unbeliever privately makes an unambigu-
        ous confession of adultery to the Christian mate. In such a case,
        if the innocent Christian mate believes that the confession is true
        and does not wish to reconcile, he can submit a letter to the el-
        ders outlining his situation. The body of elders should then con-
        sider the letter. Is there any known reason to conclude other than
        that the unbelieving mate has been immoral? For example, was
        the confession worded ambiguously? Did the unbeliever later deny
        making the confession? If the unbeliever is willing to speak with
        the elders and matters are unclear, the elders may choose to ask
        the accused mate directly. If there is no known reason to con-
        clude otherwise, the innocent mate can be allowed to take re-
        sponsibility before Jehovah for obtaining a Scriptural divorce; if
        he remarries, no judicial action will be taken.
    76. The following constitutes rejection by the innocent mate:
          (1)   The innocent mate initiates a divorce either before or
                after learning of the adultery.
          (2)   The innocent mate signs a divorce decree or in
                some other way indicates he does not object to a
                divorce initiated by the guilty mate, either before or
                after learning of the adultery. In some lands it is
                possible for the innocent mate to sign legal documents
                that stipulate custody of the children and ﬁnancial
                support without indicating he agrees with the divorce;
                his signing such papers in itself would not indicate a
                rejection.—w00 12/15 pp. 28-29.
          (3)   Though verbally expressing forgiveness and not seeking
                a divorce, the innocent mate refuses to resume sexual
                relations for a very prolonged period of time, a year or
                even years. Before indicating to the guilty mate that he
                is free to pursue a Scriptural divorce, the elders should


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              consult with the Service Department. The innocent
              mate is not required to make a quick decision to
              forgive or not.


     MARKING DISORDERLY ONES
 77. At times it may be necessary to mark those who display a ﬂa-
     grant disregard for Jehovah’s standards though not practicing a
     grave sin that merits judicial action. (2 Thess. 3:6, 14, 15; w99
     7/15 pp. 29-31) This could include such things as being grossly
     lazy or critical or being a proﬁtless talker who is a constant ‘med-
     dler with what does not concern him.’ (2 Thess. 3:11) It may in-
     volve one who schemes to take material advantage of others,
     indulges in entertainment that is clearly improper, dates an unbe-
     liever, or dates when not legally or Scripturally free.—od chap. 14
     pars. 9-12.
 78. If the disorderly conduct is generally unknown to others and pos-
     es no threat to their spiritual well-being, usually it is best to han-
     dle things through admonition and counsel. The body of elders
     should not be hasty in deciding to give a warning talk. However,
     if the individual does not see the error of his way but continues
     to be an unwholesome inﬂuence, a warning talk may be given to
     the congregation. Elders must use reasonableness and discern-
     ment in determining whether a particular situation is suﬃciently
     serious and disturbing to require a warning talk.
 79. For example, if a baptized Christian is dating an ‘unbeliever,’ the
     elders should ﬁrst counsel him and try to help him. (2 Cor. 6:14;
     w04 7/1 pp. 30-31) If he persists in disregarding Bible principles
     in spite of repeated admonition, the body of elders may decide
     that a warning talk should be given to the congregation. If an in-
     dividual is dating an unbaptized publisher, a warning talk may
     not be needed. Much would depend on the circumstances, on the
     attitude of the Christian, on the level of disturbance to the con-
     gregation, and other factors. Nonetheless, if he is dating with a


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        view to marrying someone who is unbaptized, he is not obeying
        the Bible’s counsel at 1 Corinthians 7:39 to marry “only in the
        Lord,” and loving counsel should be given.
    80. If the disorderly one is moved to change, the elders can individ-
        ually decide to resume personally socializing with him. This will
        indicate to the congregation that they consider that the individ-
        ual is no longer marked.


        ATTEMPTED SUICIDE
    81. A suicide attempt may be the result of deep despair or major de-
        pression. Elders should deal carefully and compassionately with
        such a person. In most cases, a judicial hearing is not required.
        —Ps. 88:3, 17, 18; Prov. 15:13; Eccl. 7:7; g 4/14 pp. 6-9.




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     CHAPTER THIRTEEN



     Pornography
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  1. Helping a Christian break free from the habit of viewing pornog-
     raphy requires ﬁrm Scriptural counsel by loving shepherds. (Jas.
     5:14, 15) Therefore, when an elder learns that a Christian has de-
     liberately viewed pornography, the body of elders should assign
     two elders to meet with him to establish the facts and determine
     the extent of the problem. If he is married, he should be kindly
     encouraged to reveal the matter to his mate. After the initial in-
     vestigation, the assigned elders should provide an update to the
     body of elders.—See 12:40-42.


     DETERMINING WHETHER A JUDICIAL
     HEARING IS REQUIRED
  2. The deliberate viewing of pornography is a sin. (Matt. 5:28, 29)
     It can result in an addiction to sex, perverted desires, and seri-
     ous marital problems. (Prov. 6:27; lvs pp. 121-123 pars. 9-12) How-
     ever, not all cases require handling by a judicial committee.—See
     12:1-2; w12 3/15 pp. 30-31; w06 7/15 p. 31.
  3. An entrenched practice of viewing, perhaps over a considerable
     period of time, abhorrent forms of pornography would be consid-
     ered gross uncleanness with greediness and needs to be handled


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        judicially. (Eph. 4:19) Such abhorrent forms of pornography in-
        clude homosexuality (sex between those of the same gender),
        group sex, bestiality, sadistic torture, bondage, gang rape, the
        brutalizing of women, or child pornography. It is equally wrong
        for a man or woman to watch two women engaged in homosex-
        ual activity as it is for a man or woman to watch two men en-
        gaged in homosexual activity.—See 12:14-15.
     4. If the body of elders learns that a Christian was promoting
        the viewing of pornography (whether abhorrent or nonabhorrent
        forms), such as by inviting others to view it, this could give ev-
        idence of a disrespectful, insolent attitude, which would require
        handling by a judicial committee on a charge of brazen conduct.
        —See 12:16-17.

        REVIEWING QUALIFICATIONS OF THOSE
        SERVING IN AN APPOINTED CAPACITY
     5. If the body of elders determines that a judicial hearing is not
        needed but the matter involves an appointed person, such as a
        pioneer, a ministerial servant, or an elder, his qualiﬁcations should
        be reviewed. (See 8:31-33; 9:4.) The body of elders should con-
        sider: What type of pornography was viewed? Did the viewing of
        pornography consist of a few brief incidents, or was it a practice
        spanning many months, or even years? Was the viewing of por-
        nography accompanied by masturbation? (See 12:4.) When was
        the last time the person viewed pornography? Was the person
        counseled in the past about viewing pornography? Did he come
        forward voluntarily? If married, has he informed his mate of the
        problem? What eﬀect has this had on the marriage? Who else
        are aware of the problem? Does the person still have their re-
        spect? Does the person demonstrate an earnest desire to desist
        from viewing pornography? Does the person’s conscience allow
        him to continue serving in an appointed position?
     6. The body of elders may determine that the person still qualiﬁes
        to serve in an appointed position if (1) his involvement consist-


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     ed of a few brief viewings of nonabhorrent forms of pornogra-
     phy, (2) he displays a heartfelt desire to desist from looking at
     pornography, (3) the elders are convinced that he will refrain from
     viewing it, (4) he retains the respect of others who are aware of
     what he did, and (5) his conscience allows him to do so. On the
     other hand, a Christian who persists in viewing nonabhorrent
     forms of pornography cannot be considered as exemplary and
     thus does not qualify for special privileges in the congregation.


     SHEPHERDING
  7. Elders need to provide ongoing shepherding to a Christian who
     is struggling to break free from viewing pornography. The fre-
     quency and nature of shepherding visits may depend on the ex-
     tent of the person’s involvement with pornography in the past.
     Bible-based information from “the faithful and discreet slave” can
     serve as the basis for such visits. (Matt. 24:45) Every eﬀort should
     be made to help the Christian establish a daily routine of prayer,
     personal study, and wholesome meditation. (Phil. 4:8) When deal-
     ing with a married person, the elders should provide spiritual as-
     sistance and comfort to the believing mate as well.


     FACTORS TO CONSIDER WHEN
     RECOMMENDING REAPPOINTMENT
  8. Before consideration is given to recommending a brother for reap-
     pointment as a ministerial servant or an elder who was deleted
     for viewing pornography, the brother (1) must have demonstrat-
     ed over a suﬃcient period of time that he has overcome the prob-
     lem and (2) must have the respect of the congregation, includ-
     ing his family. (See 8:10.) If so, and the brother was previously
     serving as an elder, it must be decided whether to recommend
     that he ﬁrst serve as a ministerial servant. If his viewing of por-
     nography was for a prolonged period, it would be best to rec-
     ommend him ﬁrst as a ministerial servant. However, if he was


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        involved in only a few brief viewings of nonabhorrent forms of
        pornography and he took the initiative to confess to the elders,
        he may be recommended to serve again as an elder.




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     CHAPTER FOURTEEN



     Child Abuse

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  1. Elders should adhere closely to the direction in this chapter when
     a matter involving child abuse comes to their attention. Doing so
     will uphold the sanctity of Jehovah’s name and contribute toward
     the safety of minors.—Isa. 32:1, 2; 1 Pet. 2:12; w19.05 pp. 8-13.
  2. While the information in this chapter refers to an accused in the
     masculine gender and to the victim in the feminine gender, it ap-
     plies equally regardless of the gender of the accused or the gen-
     der of the victim. References to parents and family heads apply
     equally to legal guardians.
  3. Child abuse includes the sexual or physical abuse of a minor. It
     would also include the extreme neglect of a minor by her parent.


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        Child sexual abuse is a perversion and generally includes sexual
        intercourse with a minor; oral or anal sex with a minor; fondling
        the genitals, breasts, or buttocks of a minor; voyeurism of a mi-
        nor; indecent exposure to a minor; or soliciting a minor for sex-
        ual conduct. Depending on the circumstances of the case, it may
        include involvement with child pornography or sexting with a mi-
        nor. Sexting involves the sending of sexually explicit messages or
        images electronically.

     4. From the Bible’s standpoint, child sexual abuse is a gross sin.
        (Deut. 23:17, 18; Gal. 5:19-21; w97 2/1 p. 29) Jehovah’s Witness-
        es abhor child sexual abuse. (Rom. 12:9) Thus, the congregation
        will not shield any perpetrator of such repugnant acts from the
        consequences of his sin. The congregation’s handling of an accu-
        sation of child sexual abuse is not intended to replace the secu-
        lar authority’s handling of the matter. (Rom. 13:1-4) Therefore, the
        victim, her parents, or anyone else who reports such an allega-
        tion to the elders should be clearly informed that they have the
        right to report the matter to the secular authorities. Elders do not
        criticize anyone who chooses to make such a report.—Gal. 6:5.

     5. The Scriptures place the responsibility on parents for teaching
        and protecting their children. (Eph. 6:4) As spiritual shepherds,
        elders can help parents to shoulder their Scriptural responsibili-
        ty. Our publications and website contain much helpful informa-
        tion to assist parents.—w19.05 pp. 12-13.


        LEGAL CONSIDERATIONS
     6. Child abuse is a crime. In some jurisdictions, individuals who learn
        of an allegation of child abuse may be obligated by law to report
        the allegation to the secular authorities.—Rom. 13:1-4.

     7. To ensure that elders comply with child-abuse reporting laws, two
        elders should immediately call the Legal Department for legal ad-


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     vice when the elders learn of an accusation of child abuse. A call
     should be made even when both persons involved are minors.
     The elders should not ask an alleged victim, the accused person,
     or anyone else to call the Legal Department on the elders’ be-
     half. The elders should call the Legal Department even in the fol-
     lowing situations:

       (1)   The alleged abuse occurred many years ago.

       (2)   The alleged abuse is based on the testimony of only
             one witness.

       (3)   The alleged abuse is believed to be a repressed
             memory.

       (4)   The alleged abuse involved perpetrators or victims who
             are deceased.

       (5)   The alleged abuse is believed to have already been
             reported to the secular authorities.

       (6)   The alleged perpetrator or victim is not in your
             congregation.

       (7)   The alleged perpetrator is a non-Witness associating
             with the congregation.

       (8)   The alleged abuse occurred before the alleged
             perpetrator or victim was baptized.

       (9)   The alleged victim is now an adult.

      (10)   The alleged abuse occurred in the past, and it is
             unclear whether your congregation elders ever called
             the Legal Department for direction.

  8. The Legal Department will provide legal advice based on the facts
     and the applicable law. If the individual who is accused of the
     child abuse is associated with your congregation, the two elders


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        calling should provide the Legal Department with the individual’s
        full name, date of birth and, if applicable, date of baptism. After
        speaking with the Legal Department, the caller will be transferred
        to the Service Department.
     9. Prison Inmates: Two elders should immediately call the Legal De-
        partment regarding any prison inmate, baptized or unbaptized,
        who has been accused of child abuse and who is now associat-
        ing with a congregation. This would include his attending congre-
        gation meetings held in the prison. In some cases, elders may
        not be permitted to inquire about the oﬀense that an inmate may
        have committed. However, if the elders learn that the alleged of-
        fense has to do with child abuse, they should immediately call
        the Legal Department.
    10. Child Pornography and Sexting: If the elders become aware of
        an adult associated with a congregation who has been involved
        with child pornography, two elders should immediately call the
        Legal Department. Likewise, if the elders become aware of an
        adult or a minor associated with a congregation who is sexting
        with a minor, the Legal Department should be called immediate-
        ly. The Legal Department does not need to be informed when the
        elders receive reports of adults sexting one another.


        CONGREGATION CONSIDERATIONS
    11. When discussing child sexual abuse from a congregation stand-
        point, we are not considering a situation in which a minor who
        is a willing participant and who is approaching adulthood is in-
        volved in sexual activity with an adult who is a few years older
        than the minor. Nor, generally speaking, are we discussing situ-
        ations in which only minors are involved. (See 14:29-30.) Rather,
        we are referring to an adult guilty of sexually abusing a minor
        who is a young child, or an adult guilty of sexual involvement
        with a minor who is approaching adulthood but was not a will-
        ing participant.


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     PROVIDING SPIRITUAL ASSISTANCE
     TO VICTIMS
 12. Elders should demonstrate empathy and compassion when any-
     one approaches them about a matter involving child abuse. On-
     going spiritual shepherding is especially important for victims of
     child sexual abuse and their families.—Isa. 32:1, 2; Eph. 4:32;
     1 Pet. 5:2.
 13. Two elders should always be involved when shepherding an adult
     sister who is a victim of child abuse. An elder should never be-
     come the sole conﬁdant of a sister to whom he is not closely re-
     lated.—See 25:12.
 14. When shepherding a child abuse victim who is still a minor, two
     elders and the minor’s parents should be involved. (Deut. 6:6, 7;
     Eph. 6:4) Of course, if one of the parents is the accused, the ac-
     cused parent would not be involved. If neither parent can be pres-
     ent, then another adult publisher in the congregation who is a
     conﬁdant of the victim should be included.
 15. As spiritual shepherds, elders should be good listeners. (Prov. 21:
     13; Jas. 1:19) While some victims may prefer not to talk about
     past abuse, others have found it helpful to talk with empathetic
     elders who can listen and then “speak consolingly” from God’s
     Word. (1 Thess. 5:14; Prov. 12:25; Jas. 5:13-15) Though it may be
     necessary for the elders to ask a few tactful questions to help
     an aﬄicted one express herself, they should avoid probing un-
     necessarily or repeatedly into the details of the abuse. However,
     discussing Biblical examples of others who endured a diﬃcult
     childhood and yet succeeded in becoming faithful servants of Je-
     hovah may provide needed comfort. In time, Jehovah God will
     heal “the brokenhearted.”—Ps. 30:2; 94:19; 147:3; w19.05 pp. 14-
     20; w11 10/15 pp. 23-27; w01 4/15 pp. 25-28; w83 10/1 pp. 27-
     31; g 7/09 pp. 6-9; g91 10/8 pp. 3-11.
 16. The time that elders can spend shepherding an individual in the
     congregation who is a victim of child abuse is limited, so they


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        must balance this important responsibility with their other re-
        sponsibilities, which include caring for the spiritual, emotional,
        and material needs of their own family. In some cases, a victim
        of child abuse may seek more spiritual support from the elders
        than they can reasonably give. In such cases, some elders have
        found it beneﬁcial to set limits on the time for such shepherd-
        ing. It may take several visits to assist a victim eﬀectively. When
        circumstances limit the extent of the assistance the elders can
        provide on a particular occasion, elders should still seek to share
        words of encouragement, assuring a victim of Jehovah’s love,
        reading an appropriate scripture, and oﬀering a prayer. This will
        conﬁrm the elders’ interest and willingness to help to the extent
        possible.
    17. In addition to the spiritual shepherding provided by the elders,
        the victim or her family may desire other assistance. For exam-
        ple, an adult sister who suﬀered abuse as a child may choose to
        approach an empathetic sister for emotional support and en-
        couragement. (Prov. 17:17) Or the victim or her family may de-
        cide to consult a mental-health professional. Whether a victim or
        her family pursues treatment from psychiatrists, psychologists,
        or therapists is a personal decision. (Gal. 6:5) If an elder is asked
        for advice on this matter, he may direct attention to appropriate
        Bible principles and material in our publications.—w15 9/15 pp. 9-
        11; w08 11/15 pp. 23-27.


        INVESTIGATING ALLEGATIONS
    18. The elders may learn of an allegation of child sexual abuse di-
        rectly from the victim, through her parents, or through a trusted
        conﬁdant of the victim. After receiving assistance from the branch
        oﬃce and if the accused is a publisher in the congregation, the
        body of elders will appoint two elders to investigate. These elders
        should carefully follow Scriptural procedures and the Bible-based
        direction in this chapter and in Chapter 12. During the investiga-
        tion process and during the judicial committee process, a victim


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     of child sexual abuse is not required to make her allegation in
     the presence of the alleged abuser. Generally, elders should be
     able to obtain necessary information from the parents. In addi-
     tion, suﬃcient evidence needed to establish wrongdoing on the
     part of an alleged abuser may already be available to the elders.
     (See 12:40-42.) In the exceptional event that the two elders be-
     lieve it is necessary to speak with a minor who is a victim of child
     sexual abuse, the elders should ﬁrst contact the Service Depart-
     ment.


     JUDICIAL COMMITTEE
 19. If the body of elders concludes that there is suﬃcient Scriptural
     evidence to warrant the formation of a judicial committee on the
     grounds of child sexual abuse, the coordinator of the body of el-
     ders should ﬁrst contact the circuit overseer. (See 12:40-42; 15:
     1-2.) The circuit overseer will designate an experienced elder to
     serve as chairman of the judicial committee. If an appeal com-
     mittee is needed, the circuit overseer will select experienced el-
     ders to serve on the committee and will designate the chairman.
     (See 17:1.) If wrongdoing is established and the wrongdoer is not
     repentant, he should be disfellowshipped. (See 16:26-31.) On the
     other hand, if the wrongdoer is repentant and is reproved, the re-
     proof should be announced to the congregation at the next mid-
     week meeting. (See 16:20-25.) This announcement will serve as
     a protection for the congregation. Victims of child sexual abuse
     are not handled judicially. If the body of elders believes that con-
     gregation action may be warranted in the case of a minor who
     was a willing participant in the wrongdoing, two elders should call
     the Service Department before proceeding.


     REINSTATEMENT COMMITTEE
 20. If a person who has been disfellowshipped for child sexual abuse
     applies for reinstatement, the coordinator of the body of elders


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        should contact his circuit overseer and provide the names of
        those who served on the original committee. The circuit overseer
        will designate an experienced elder to serve as chairman of the
        reinstatement committee. If the decision is to reinstate, two el-
        ders serving on the committee should immediately call the Ser-
        vice Department. This call must be made before the person is in-
        formed of the decision and before the reinstatement is announced
        to the congregation.—See 19:10-12.
    21. If a person who has been disfellowshipped for child sexual abuse
        has moved and applies for reinstatement in a diﬀerent congre-
        gation, the coordinator of the body of elders of the new congre-
        gation should contact his circuit overseer. The circuit overseer of
        the new congregation will designate an experienced elder to serve
        as chairman of the reinstatement committee in the new congre-
        gation. If that committee recommends that the person be rein-
        stated, the committee should contact the coordinator of the body
        of elders of the original congregation, who should then contact
        his circuit overseer and provide the names of those who served
        on the original judicial committee. That circuit overseer will des-
        ignate an experienced elder to serve as chairman of the reinstate-
        ment committee in the original congregation. If that committee
        agrees to reinstate, two elders from each congregation’s com-
        mittee should immediately call the Service Department. These
        calls must be made before the person is informed of the decision
        and before the reinstatement is announced in both congrega-
        tions.—See 19:10-12.


        RESTRICTIONS
    22. The elders should carefully adhere to all direction provided by the
        Service Department. For example, the Service Department will
        provide direction when (1) it is determined that a publisher (bap-
        tized or unbaptized) who is guilty of child sexual abuse is repen-
        tant and will remain in the congregation, (2) one disfellowshipped


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     for child sexual abuse is reinstated, (3) a publisher (baptized or
     unbaptized) who denies an accusation of child sexual abuse is
     convicted by the secular authorities, or (4) one viewed as a child
     molester by the community or the congregation becomes a pub-
     lisher or gets baptized.

 23. In such cases, direction from the Service Department to the el-
     ders will include restrictions imposed on the individual’s activities
     within the congregation, on his participation in the ﬁeld ministry,
     and on his interaction with minors. The elders will be directed to
     caution the individual never to be alone with a minor, not to cul-
     tivate friendships with minors, not to display aﬀection for minors,
     and so forth. The Service Department will direct the elders to in-
     form family heads of minors within the congregation of the need
     to monitor their children’s interaction with the individual. The el-
     ders would take this step only if directed to do so by the Ser-
     vice Department. The coordinator of the body of elders should
     ensure that newly appointed elders and elders who move into the
     congregation are made aware of the Service Department’s direc-
     tion regarding such individuals.

 24. One who has engaged in child sexual abuse does not qualify to
     receive any privileges in the congregation for many years, if ever;
     this includes minor privileges. Paul’s counsel to Timothy has spe-
     cial relevance in the case of baptized adults who have molested
     children: “Never lay your hands hastily on any man; neither be-
     come a sharer in the sins of others.” (1 Tim. 5:22; w97 1/1 pp. 26-
     29) If the body of elders believes that one who has engaged
     in child sexual abuse decades ago may now qualify for minor
     privileges, such as carrying or adjusting microphones, operating
     sound and video equipment, serving as an attendant, or assist-
     ing with accounts, literature, or territories, they should assign
     two elders to call the Service Department. The assigned elders
     should call the Service Department before any congregation priv-
     ileges are extended.


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        FILING
    25. Information concerning individuals associated with the congre-
        gation and accused of child sexual abuse (established or not),
        including letters of introduction, should be placed in an envelope
        labeled with the individual’s name and marked “Do Not Destroy.”
        This envelope should be kept in the congregation’s conﬁdential
        ﬁle. This would include Notiﬁcation of Disfellowshipping or Dis-
        association (S-77) forms on individuals who have committed child
        sexual abuse, even if later reinstated.


        MOVING TO ANOTHER CONGREGATION
    26. When an individual who has been accused of child sexual abuse
        (established or not) moves to another congregation, two elders
        from the congregation the individual moves from should imme-
        diately call the Legal Department. The elders should be prepared
        to provide the name of the new congregation, if known. This
        should be done even if the individual is disfellowshipped or is in
        prison and is transferred to another facility or is released. The
        Congregation Service Committee should not send any informa-
        tion to the new congregation until after receiving legal advice
        from the Legal Department and direction from the Service De-
        partment.

    27. When the elders are informed that an individual who has been
        accused of child sexual abuse (established or not) has moved
        into the congregation, two elders should immediately call the Le-
        gal Department. This should be done even if the individual is dis-
        fellowshipped or is in prison and has transferred from another
        facility or is released. If the individual is disfellowshipped and liv-
        ing within the congregation’s territory, the elders should list that
        address on the appropriate congregation territory card as a “do-
        not-call.”


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     NOTIFICATION BY SECULAR AUTHORITIES
 28. From time to time, secular authorities may inform the elders that
     a sex oﬀender is living in the area. The notice may provide the
     address of the individual and may state the nature of his crimi-
     nal activity. In such a case, the elders should list that address on
     the appropriate congregation territory card as a “do-not-call.”

     SEXUAL MISCONDUCT INVOLVING
     ONLY MINORS
 29. What steps should elders take when minors engage in sexual mis-
     conduct with one another? As stated earlier, two elders should
     immediately call the Legal Department even when both persons
     are minors. Minors who engage in sexual misconduct with one
     another are not generally considered by the congregation as hav-
     ing engaged in child sexual abuse. However, regardless of the
     ages of those involved, such misconduct is serious and may even
     warrant congregation judicial action. The body of elders should
     work with the parents to ensure that the minors receive spiritu-
     al assistance. If elders have questions regarding a speciﬁc case,
     they should call the Service Department.—See 15:15.
 30. When baptized minors become involved in “sexting,” the elders
     must use good judgment in determining whether the wrongdo-
     ing has escalated to a point warranting congregation judicial ac-
     tion. Helpful information can be found in “Questions From Read-
     ers” in the July 15, 2006, issue of The Watchtower. Please review
     this material carefully before concluding that a baptized minor is
     guilty of gross uncleanness or brazen conduct. (See 12:14-17.) If
     a baptized minor has been previously counseled on this matter
     and persists in the wrong course, in most cases, judicial action
     would be taken. However, each case must be evaluated on its
     own merit. In all cases, the body of elders should work with the
     parents to ensure that the minors receive spiritual assistance.
     If elders have questions regarding a speciﬁc case, they should
     call the Service Department.


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     CHAPTER FIFTEEN



     Preparing for
     Judicial Hearings

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     SELECTING THE JUDICIAL COMMITTEE
     AND CHAIRMAN
  1. While extensive details of a case do not need to be conveyed to
     the entire body of elders, enough information should be present-
     ed for them to determine whether a disfellowshipping oﬀense has
     actually been committed and, if so, who are best qualiﬁed to han-
     dle the type of case that has arisen. When the elders determine
     that a judicial committee is needed, those who are present at the
     meeting should choose the elders who will serve on the commit-
     tee and designate which one will be chairman. (If the case in-
     volves child sexual abuse, see Chapter 14, paragraph 19.) The el-
     ders chosen should be men of discernment and good judgment.
     It is usually best for newer elders to serve ﬁrst with more expe-
     rienced ones. They would never serve as observers on a judicial
     case. The committee should be made up of three elders. However,


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        complex cases may warrant having four or even ﬁve experienced
        elders on the committee.

     2. If the elders know that the accused has strong feelings against
        a particular elder, it would be better not to use him. An elder who
        is a close relative, has been in business with the accused, or has
        had a special friendship with him would not normally serve on
        the committee. Ministerial servants should not be used to serve
        on judicial committees. In the rare circumstance in which three
        elders are not available to serve on a judicial committee, one or
        two elders from a neighboring congregation or the circuit over-
        seer may be used to complete a committee of three members.

     3. In the rare circumstance in which three elders cannot be located
        to serve on the judicial committee, two elders may care for the
        matter. The two elders will function as an appointed judicial com-
        mittee. (Matt. 18:19, 20) However, prior to their informing the per-
        son of their decision, the chairman of the committee will submit a
        conﬁdential report to the Service Department. The report should
        clearly outline the facts of the case and the conclusion reached
        by the committee. This report is to be sent whether the decision
        is to disfellowship the individual or not. The Service Department
        will review the report and conﬁrm receipt of it to the committee.
        Thereafter, the two elders will inform the person of the commit-
        tee’s decision. If the decision is to disfellowship, the committee
        will then submit the Notification of Disfellowshipping or Disasso-
        ciation (S-77) form to the Service Department in the usual way.


        PREPARING THE
        MIND AND HEART TO JUDGE
     4. Serving on a judicial committee is a heavy responsibility. Elders
        are judging for Jehovah and are accountable to him for the judg-
        ment they render. (2 Chron. 19:6, 7) Their decision will likely have
        long-lasting and far-reaching consequences for the individual in-


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     volved, his Christian family members, and others in the congre-
     gation. Each time an elder serves on a judicial committee, he
     should ﬁrst review Chapters 12, 15, and 16 of this publication.
  5. Allowing an unrepentant wrongdoer to remain in the congrega-
     tion could result in a leavening inﬂuence. (Gal. 5:9) Failure to re-
     move the individual may also minimize the wrong in the mind of
     the wrongdoer and in the minds of others who may know of his
     sin. (Eccl. 8:11) On the other hand, an individual unjustly dealt
     with may have diﬃculty maintaining his spirituality.—Matt. 18:6.
  6. Elders can render a good judgment with Jehovah’s help. (Matt.
     18:18-20) They must pray for wisdom, discernment, and God’s
     holy spirit. (1 Ki. 3:9; Phil. 1:9, 10; Jas. 1:5) They must do care-
     ful, thorough research using Bible-based publications, not relying
     solely on past experience in handling judicial matters. (Prov. 15:
     28) They must endeavor to obtain a clear picture regarding what
     occurred and what the individual’s true attitude is.—Prov. 18:
     13, 17.


     INVITING THE ACCUSED TO THE HEARING
  7. It is best for two elders to invite him orally. Their invitation should
     include the following information:
        (1)   Make clear that the meeting is a judicial hearing.
        (2)   Explain what his course of action is alleged to have
              been.
       (3)    State the time and place of the hearing and how the
              person can contact the chairman if he is unable to
              meet at the scheduled time and location.
  8. If circumstances permit, hold the hearing at the Kingdom Hall.
     This theocratic setting will put all in a more respectful frame of
     mind; it will also help to ensure greater conﬁdentiality for the pro-
     ceedings.


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     9. The assigned elders should make every eﬀort to arrange for a ju-
        dicial hearing right away. Leaving the matter unresolved can harm
        the congregation and the accused. If the accused does not make
        himself available to receive an oral invitation despite repeated ef-
        forts by the judicial committee, then the judicial committee should
        send a written invitation. (Do not leave conﬁdential information
        on an answering machine or voice mail or send by way of e-mail,
        text message, or other forms of electronic messaging.) A written
        invitation signed by the judicial committee should include the
        same information as outlined above for an oral invitation. If pos-
        sible, send the invitation in such a way that the elders can ver-
        ify that the addressee received it. If they are unsuccessful in their
        diligent eﬀorts to invite him and they cannot conﬁrm that he re-
        ceived the invitation, they should hold the matter in abeyance.
    10. If he accepts the judicial committee’s invitation yet fails to ap-
        pear, the judicial committee should reschedule the hearing and
        endeavor to invite the accused again. If he does not attend af-
        ter it is conﬁrmed that he received the second invitation and if
        it is evident that he is unwilling to cooperate with the judicial
        committee, the committee will proceed with the hearing but will
        not make a decision until evidence and testimony by witnesses
        are considered.
    11. If the accused makes known to the elders his adamant refusal to
        meet with a judicial committee, the judicial committee may pro-
        ceed in his absence without extending further invitations.—See
        16:28.


        MEETING WITH MARRIAGE MATES
    12. If the accused is a married sister, it is best to have her believing
        husband present for the hearing. He is her head, and his eﬀorts
        to restore her and direct her can be very helpful. (1 Cor. 11:3) If
        unusual circumstances are involved, for example, if the elders feel
        it would be best not to invite the husband because of their con-


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     cerns for the wife’s safety, they should call the Service Depart-
     ment.

 13. If the accused is a married brother and he wants his believing
     wife to be present for the hearing, she may attend.

 14. If the husband committed adultery, he has an obligation to in-
     form his wife of the facts. The judicial committee should prompt-
     ly inquire of the Christian wife as to what her husband has told
     her. If he refuses to inform her of his adultery, the elders should
     inform her that because of her husband’s conduct, it is up to her
     to decide whether to pursue a Scriptural divorce or not. Further-
     more, they should inform the innocent mate that her resuming
     sexual relations with the guilty mate would negate any claim to
     Scriptural freedom. (See 12:71-76.) But they should not give her
     further details. On the other hand, the elders may ﬁnd that while
     the husband did confess adultery to his wife, he did not tell her
     the full extent of his wrong conduct and left out important infor-
     mation that the wife should know. The elders should not provide
     this conﬁdential information to the wife, but they can suggest
     that she speak with her husband again. Even if he does not tell
     her anything more, this will alert her to the fact that he is with-
     holding information from her, and this may help her to determine
     whether to forgive or not.


     MEETING WITH BAPTIZED MINORS AND
     YOUNG ADULTS
 15. It is best to meet with the youth and his Witness parents,
     since they have the responsibility to raise and train him. If the
     accused is living in the home of his believing parents but is no
     longer a minor, the elders would not generally invite the parents
     to the hearing. However, if the accused has recently become an
     adult and is still living in his parents’ home, the parents may
     ask to be present. If the accused has no objection, the judicial


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        committee may decide to allow them to attend the hearing.—See
        14:29.


        MEETING WITH INCARCERATED ONES
    16. See 28:22.


        IF THE ACCUSED THREATENS SUICIDE
    17. In judicial cases in which the accused threatens suicide, it may
        be best for the committee to suspend the hearing to focus on
        helping him regain his balance. (See 12:81.) They should assure
        him of the committee’s desire to help him and then should broach
        the subject of depression and suicide, using the Scriptures and
        Bible-based publications. (Prov. 3:11, 12; 4:13; Heb. 12:5, 6, 11-
        13) Depending upon his emotional state, it may be best to do
        this a day or two later. The elders can prepare by reviewing arti-
        cles that will help them deal sensitively with the depressed indi-
        vidual. (g 4/14 pp. 6-9) The judicial committee should avoid un-
        necessarily prolonging the case, as this can cause undue stress
        for the accused. They should take notes for the conﬁdential ﬁle,
        outlining the dates of their conversations and the scriptures and
        articles that were considered. These notes should be signed and
        included in the ﬁle for the case. (See 22:21-27.) The judicial com-
        mittee should communicate with the Service Department if there
        are questions about a certain case.


        IF THE ACCUSED THREATENS LEGAL ACTION
    18. If the accused threatens legal action against the elders, the el-
        ders should suspend proceedings and promptly telephone the Le-
        gal Department.
    19. If a member of the media or an attorney representing the accused
        contacts the elders, they should not give any information about


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     the case or verify that there is a judicial committee. Rather, they
     should give the following explanation: “The spiritual and physical
     welfare of Jehovah’s Witnesses is of paramount concern to the
     elders, who willingly provide spiritual assistance. The elders ex-
     tend this spiritual assistance conﬁdentially. This makes it easier
     for those who seek the elders’ help to do so without worrying
     that what they say to the elders will be divulged later. Conse-
     quently, we do not comment on whether elders are currently or
     have formerly met to assist anyone in the congregation.” If there
     is a need to do so, the elders may obtain the inquirer’s name and
     phone number and inform him that their attorney will contact
     him. The elders should then promptly telephone the Legal Depart-
     ment.
 20. If the authorities request conﬁdential congregation records or ask
     that elders give testimony regarding conﬁdential congregation
     matters, the elders should promptly telephone the Legal Depart-
     ment.




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     CHAPTER SIXTEEN



     Procedure for
     Judicial Hearings

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  1. The judicial hearing is opened with prayer with the accused pres-
     ent. Generally, observers are not allowed. (See 15:12-13, 15.) The
     chairman then states the reason for the hearing and explains
     that audio or video recordings of the hearing are not permitted.
     He should then read a scripture, such as Proverbs 28:13 or James
     5:14, 15. In imitation of Jehovah, the elders will convey their de-
     sire to be helpful and will treat the accused with kindness. (Ezek.
     34:11, 12) They should listen patiently and not draw conclusions
     before they have heard all the evidence. Even if the accused is
     belligerent, they should treat him kindly and respectfully, never
     harshly.—w89 9/15 pp. 19-20.

  2. The chairman invites the accused to make a personal statement.
     If the accused claims that he is innocent, the witnesses to the
     wrongdoing are presented one at a time. It is best that the wit-
     nesses give their testimony in the presence of the accused, al-
     though a victim of rape or of child sexual abuse is never required
     to do so. If a witness lives a great distance away or for some
     other reason is not able to be physically present, his testimony
     may be presented by means of a phone call or videoconference


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        (if conﬁdentiality can be maintained) or perhaps submitted in
        writing and read to the accused.
     3. After each witness has testiﬁed, the accused is given opportuni-
        ty to respond. If he wishes to present witnesses to establish his
        innocence, he may do so. Only witnesses who have relevant tes-
        timony regarding the alleged wrongdoing are allowed to testify.
        Witnesses should be informed of their responsibility to maintain
        confidentiality. Additionally, they should not be present to hear
        the testimony of other witnesses.
     4. In the rare event that testimony presented during the hearing
        causes the judicial committee to conclude that the matter should
        not be handled judicially, the hearing should be suspended. In-
        form the person that he will be contacted further regarding the
        matter. The body of elders should then be consulted to deter-
        mine whether the judicial committee ought to be disbanded.
     5. The committee should ﬁrst seek to establish the facts and ascer-
        tain the attitude of the accused. This requires skillful and discreet
        questions. The judicial committee should be thorough but not in-
        quire about needless details, especially in regard to sexual mis-
        conduct. However, when Scriptural freedom to divorce and re-
        marry is an issue or when the nature of Scriptural wrongdoing
        must be determined, details may need to be clariﬁed. When the
        elders on the judicial committee feel that they have a clear un-
        derstanding, they should excuse the accused from the room and
        discuss the case and the individual’s repentance or lack thereof.
        The judicial committee ought to feel free to seek Jehovah’s wis-
        dom through prayer at any time during their private deliberations.
        —Jas. 1:5.


        DETERMINING GENUINE REPENTANCE
     6. In the Bible, two Greek verbs are used in connection with repen-
        tance. The ﬁrst stresses a changed viewpoint or disposition. The


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     second emphasizes a feeling of regret. Therefore, repentance in-
     volves a deep regret over a damaged relationship with Jehovah,
     remorse over the reproach brought upon God’s name and peo-
     ple, and a sincere longing to come back into Jehovah’s favor. It
     includes a heart-motivated rejection of the bad course as some-
     thing repugnant, hated. (Rom. 12:9) Such an attitude should be
     demonstrated by “fruits that beﬁt repentance,” making evident
     to an adequate degree a sinner’s claimed repentance.—Luke 3:8;
     it-2 pp. 770-777.
  7. Judging repentance is not simply a matter of determining wheth-
     er the wrongdoer is weak or wicked. Weakness is not synonymous
     with repentance. Neither should the judicial committee’s decision
     be determined by the notoriety of the wrong. The judicial com-
     mittee should look for clear works of repentance commensurate
     with his wrongdoing. (2 Cor. 7:10, 11) The committee must be
     convinced that the wrongdoer has a changed heart condition,
     that he has a zeal to right the wrong, and that he is absolutely
     determined to avoid it in the future. Even if this is the individu-
     al’s ﬁrst time before a judicial committee, he must give evidence
     of genuine repentance if he is to remain in the congregation.
  8. The extent to which the person deviates from righteousness may
     be major or minor, and logically the degree of regret (repentance)
     ought to be commensurate with the degree of deviation. Was the
     individual caught oﬀ guard so that he momentarily succumbed
     to temptation, or did he plan to do wrong? Was he unaware of
     the gravity of his sin? Did he deliberately ignore counsel or warn-
     ings? Was it a single oﬀense, or was it a practice? The more an
     individual repeats serious sin, the more that one reasonably gives
     evidence of being like wicked people who are “practicing what is
     hurtful.”—Ps. 28:3.
  9. The judicial committee should be very concerned about keeping
     the congregation clean and the need to exercise particular care
     if the wrongdoer has secretly carried on gross sin over a long peri-
     od. In such cases, an individual might not be able to demonstrate


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        suﬃcient repentance to the committee at the time of the hear-
        ing. If so, he must be disfellowshipped, allowing time to pass for
        him to prove his repentance. Or it may be that the individual has
        been dealt with judicially a number of times in the past. Because
        he appeared repentant, he was reproved each time. Now he has
        sinned again. In these cases, the committee must consider wheth-
        er the person’s life course gives evidence that he is producing
        “fruit that beﬁts repentance.”—Matt. 3:8.
    10. Below are some indications of repentance. However, none of these
        factors is the only consideration when determining whether the
        sinner is repentant.
          (1)   Was his confession voluntary, or did he have to be
                accused by others? Some oﬀenders are so deeply
                ashamed or have such diﬃculty expressing themselves
                that they are reluctant to speak.
          (2)   Is the individual truthful? (Acts 5:1-10) When
                questioned, are his answers forthright? Is he
                cooperative with the judicial committee? The judicial
                committee should be especially cautious if the
                individual has shown himself to be guilty of hypocrisy,
                lying, or deliberate eﬀorts to deceive.
          (3)   Has he prayed to Jehovah and asked for his
                forgiveness? Keep in mind that some wrongdoers,
                though repentant, ﬁnd it diﬃcult to pray.—Jas. 5:14.
          (4)   What has he done to repair his relationship with
                Jehovah and with others he has hurt by his actions?
                Has he made amends, expressed willingness to do so,
                or apologized to those damaged by his sinful course?
                Has he asked for the forgiveness of those he has
                wronged?
          (5)   If he has committed adultery, has he confessed to
                the innocent mate and asked for forgiveness?—w73
                pp. 351-352.


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             The option to forgive adultery rests with the innocent
             mate. The guilty mate cannot be viewed as repentant if
             he refuses to inform her and allow her the opportunity
             to forgive. If the wrongdoer is unwilling to confess and
             ask for forgiveness because of fear of violence by the
             innocent mate or for some other reason, the elders
             should contact the Service Department before
             proceeding.
       (6)   Does he manifest a spirit of heartfelt regret over
             having damaged his relationship with Jehovah?—Ps. 32:
             3-5; 51:1-4.

       (7)   Does he demonstrate godly sadness or worldly
             sadness? (2 Cor. 7:8-11) Is his sadness primarily
             because of hurting Jehovah and bringing Him into
             reproach or because of the disappointment he has
             caused to family and friends and the shame he has
             experienced? (Ezra 10:1; Luke 22:59-62) Individuals
             vary in their emotional makeup and control. Tears do
             not necessarily indicate sincere repentance; neither
             does a lack of strong emotion show a lack of
             repentance.—Gen. 25:29-34; 27:34.

       (8)   Does he accept responsibility for his error, or does
             he rather minimize or justify his bad course?—1 Sam.
             15:24; 2 Sam. 12:13.

       (9)   Does he recognize that lesser sins may have led up
             to serious wrongdoing, and is he determined to avoid
             these?
 11. Each case is diﬀerent. The judicial committee should consider any
     factors unique to the case. For example, the wrongdoer may have
     been a victim of abuse. Although that is not an excuse for wrong-
     doing, understanding any extenuating circumstances will help the
     judicial committee to understand the wrongdoer better.


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    12. The same is true regarding wrongdoers who suﬀer from mental
        or emotional problems. (See 15:17.) If the wrongdoer is able to
        carry out normal daily activities and is viewed by the communi-
        ty as being accountable for his actions and decisions, the con-
        gregation should not overlook his wrongdoing. However, the ju-
        dicial committee should show consideration and patience in their
        dealings with him and be especially aware of the need for dis-
        cernment in evaluating his repentance. On the other hand, if the
        judicial committee discerns that his mental condition is so severe
        that others generally regard him as not being responsible for what
        he does, they may recommend to the body of elders that no ju-
        dicial action be taken, explaining the reasons for their recommen-
        dation.


        IF REPENTANCE IS UNCLEAR
    13. If the extent of the wrongdoer’s repentance is unclear, the com-
        mittee should invite him back into the room for further discus-
        sion. They should use God’s Word to help him understand why
        his conduct was wrong and how it has aﬀected his relationship
        with Jehovah and the congregation. It is possible that even as
        late as the judicial hearing, he will demonstrate repentance to
        the point that mercy may be warranted. In most cases, the indi-
        vidual will show some repentance, but is it commensurate with
        the degree of his wrongdoing? The judicial committee needs to
        be modest and keep in mind that if the wrongdoer has demon-
        strated few or no works of repentance before the judicial hear-
        ing is held, it may not be possible during the hearing to move him
        to demonstrate suﬃcient repentance to justify extending mercy.
        Even if it is determined that he must be disfellowshipped, their
        eﬀorts to lead him to repentance may help him to begin making
        straight paths for his feet and work toward reinstatement. (Heb.
        12:13) After trying to help him and hearing his further expres-
        sions, the judicial committee should excuse him from the room
        and continue to deliberate.


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 14. In complex cases, if the judicial committee is not sure of the Bi-
     ble’s direction or the organization’s counsel, the hearing may be
     adjourned and reconvened a few days later. However, an addi-
     tional meeting should not be scheduled just to give the accused
     time to stop the wrongdoing or to demonstrate works of repen-
     tance. If he has demonstrated little or no repentance during the
     initial hearing, there would generally be no basis on which to pro-
     long the case and schedule a second meeting.
 15. At times, complicated judicial cases may necessitate consultation
     with an experienced elder in another congregation or the circuit
     overseer. In such a situation, inform the wrongdoer that the de-
     cision is pending. Do not inform him that you will be consulting
     with parties outside of the judicial committee, which may at times
     include the branch oﬃce. While pertinent details may be dis-
     cussed, names should not be used when discussing the case with
     another elder outside the congregation. However, when the cir-
     cuit overseer is consulted or when circumstances require that the
     branch oﬃce be contacted, the judicial committee should reveal
     the names.
 16. Those serving on a judicial committee should endeavor to be
     unanimous in their decision. Any diﬀerence of opinion can usu-
     ally be resolved by discussing matters thoroughly as a judicial
     committee, researching the Scriptures and Christian publications,
     praying for wisdom and direction, and even consulting with an
     experienced elder outside the congregation. However, if the com-
     mittee is unable to reach a unanimous conclusion, the minority
     should give support to the decision reached by the majority.
 17. Anything submitted in writing to the committee by the alleged
     wrongdoer or by witnesses should be kept in strict conﬁdence.
     If it is necessary to continue the matter later, the members of
     the committee should turn over to the chairman any personal
     notes they have taken. The chairman will keep these notes in a
     secure place to prevent breaches of conﬁdentiality. The notes


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        may be returned to the committee members for consultation be-
        fore the hearing resumes.


        IF THE DECISION IS TO REPROVE
    18. If the elders on the judicial committee determine that the wrong-
        doer is genuinely repentant, they should inform him of the deci-
        sion, the judicial restrictions, and whether the reproof will be an-
        nounced to the congregation. They should also give reproof from
        the Scriptures, showing the seriousness of the wrongdoing and
        the minor sins that may have led up to it. Reproof is deﬁned as
        “that which is designed to convince others of their having erred,
        in order to move them to acknowledge their mistakes and cor-
        rect these.” (it-2 p. 780) Hence, judicial reproof includes more
        than just making a decision and announcing it to the congrega-
        tion. It involves reinforcing the wrongdoer’s resolve to do what is
        right. In the Bible, the original-language word for reproof comes
        from a verb meaning ‘to show plainly, point out by facts, dem-
        onstrate, show by evident or convincing reasons or arguments.’
        Helpful suggestions should be given to help him make needed
        adjustments. If witnesses testiﬁed during the hearing, they may
        be invited to hear the Scriptural reproof. In this way the wrong-
        doer is reproved “before all onlookers.” (1 Tim. 5:20) The judicial
        committee should pray with the repentant wrongdoer before con-
        cluding the hearing. As soon as possible after the hearing, a brief
        summary of the case should be prepared and signed by the ju-
        dicial committee. (See 22:21-27.) The body of elders should be
        updated on the results of the hearing, including what restrictions
        will be imposed and whether any announcement will be made to
        the congregation.
    19. In all cases of judicial reproof, the wrongdoer is disqualiﬁed from
        special privileges, such as pioneering or oﬀering congregation
        prayer, until he has made further spiritual progress. This also in-
        cludes other congregation assignments that might be given to
        those who are exemplary. In addition, some judicial restrictions


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     should be imposed by the judicial committee in all cases of judi-
     cial reproof. Judicial restrictions may include not commenting at
     congregation meetings and not presenting student assignments
     on the midweek meeting. When the elders inform a repentant
     wrongdoer of restrictions, it would be helpful to tell him the date
     of the next meeting, at which time his progress will be reviewed.
     —See 16:22.
 20. The judicial committee determines whether the reproof will be an-
     nounced to the congregation. Reproof should be announced in
     the following situations:
        (1)   The sin is widely known or will likely become known
              in the congregation or community. In such cases, an
              announcement will safeguard the reputation of the
              congregation. For example, in a case of adultery, an
              innocent mate may lean toward forgiveness but is not
              ready to resume sexual relations at the time that the
              judicial committee concludes the case. (w16.08 p. 12
              par. 15) If the possibility of a Scriptural divorce still
              exists, an announcement would protect the reputation
              of the congregation and that of the innocent mate.
       (2)    The judicial committee has speciﬁc reasons to believe
              that the congregation needs to be on guard concerning
              the repentant wrongdoer. For example, in a case
              involving child sexual abuse, announcing the reproof of
              a repentant wrongdoer will serve as a protection for
              the congregation.—See 14:19.
 21. The coordinator of the body of elders should approve the an-
     nouncement before an elder reads it to the congregation at the
     next midweek meeting. It should read as follows: “[Name of per-
     son] has been reproved.” The announcement should be made in
     only one congregation. Restrictions are not announced.
 22. The judicial committee should monitor the spiritual progress
     of the repentant wrongdoer and be alert to remove judicial


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        restrictions gradually as he recovers spiritually. It may be discour-
        aging to the repentant wrongdoer if restrictions are imposed for
        a prolonged period. In most cases, the elders will remove some
        or even all of these restrictions before many months have passed.
        The committee should use good judgment in determining if there
        is a need to consult with other elders on the body before remov-
        ing any restrictions. (Prov. 15:22) In all cases, the body of el-
        ders should be informed when any restrictions are removed. (See
        22:21-27.) When an elder serving on the original committee moves
        or is no longer serving as an elder, the body of elders will select
        a replacement to monitor the wrongdoer’s progress. If the wrong-
        doer moves before the committee lifts all of his restrictions, the
        new congregation should receive suﬃcient details so that the el-
        ders can evaluate his true spiritual condition. The elders should
        provide the type of information and details they would appreci-
        ate receiving if the individual was moving into their congregation.
        (If the wrongdoing involved child sexual abuse, see Chapter 14,
        paragraphs 26-27.) The elders of the new congregation should
        choose two or three elders to continue to monitor the wrongdo-
        er’s progress and lift the remaining judicial restrictions.
    23. In some cases the body of elders may feel that it is necessary
        to warn the congregation about the type of wrongdoing by means
        of a Scriptural talk. A member of the judicial committee should
        generally give the talk. He should explain the wrongness of the
        conduct and how to avoid it but without saying anything that
        would connect the wrongdoer with the type of sin under discus-
        sion. In the case of an announced reproof, the elders should wait
        a few weeks before giving such a talk; when the reproof is not
        announced to the congregation, there is no need to wait.
    24. Generally, once a case has been concluded, no further judicial
        action would be taken. However, as an exception, the case might
        be reopened if within a few days of the decision new information
        comes to light that strongly indicates that the wrongdoer was not
        genuinely repentant. Perhaps he gave misleading testimony or


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     purposely omitted important facts during the hearing. If so, two
     elders from the committee should contact the Service Depart-
     ment for direction. If the committee is directed to reopen the
     case, the individual would be informed of any new evidence and
     would be allowed to present his side of the matter.
 25. If the person again engages in serious wrongdoing after the ju-
     dicial committee renders a decision and completes the case, the
     body of elders should meet and select a new judicial commit-
     tee. There may be advantages to assigning the same elders who
     served on the original committee, if they are available and still
     qualify.


     IF THE DECISION IS TO DISFELLOWSHIP
 26. If the wrongdoer lacks genuine repentance, he should be disfel-
     lowshipped. The committee should inform him of this decision
     and express their hope that he will change his ways and in time
     qualify to return to Jehovah’s organization. (2 Cor. 2:6, 7; od
     chap. 14 pars. 25-28; rj pp. 10-14) In a kind and positive way, the
     committee may read an appropriate concluding scripture such as
     Isaiah 1:18; 2 Corinthians 7:10, 11; or Hebrews 12:5-7, 11. In ad-
     dition, the following information should be conveyed orally to the
     person:
        (1)   Explain the need for repentance as well as what steps
              he can take toward being reinstated in due time.
        (2)   Inform him that he may send a letter of appeal to
              the judicial committee within seven days if he feels a
              serious error in judgment has occurred. The judicial
              committee should neither encourage nor discourage
              him from doing so.
        (3)   Inform him that he may obtain a personal copy of
              the magazines and other literature, including
              special-request items, at the Kingdom Hall.


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    27. Before dismissing the person, the elders should ask if he has any
        questions. After dismissing him, the judicial committee should
        conclude with prayer. As soon as possible after the hearing, a
        brief summary of the case should be prepared and signed by the
        judicial committee and the Notiﬁcation of Disfellowshipping or
        Disassociation (S-77) form should be ﬁlled out, with the date of
        the announcement left blank. (See 22:21-27.) The body of elders
        should be informed of the committee’s decision.
    28. If the unrepentant wrongdoer did not attend the judicial hearing,
        the judicial committee should make reasonable eﬀorts to inform
        him orally of their decision, his option to appeal, and so forth.
        The elders should not leave such conﬁdential information on an
        answering machine or voice mail or send it by way of e-mail, text
        message, or other forms of electronic messaging. If he does not
        cooperate with the eﬀorts to inform him, two elders from the
        committee should contact the Service Department before mak-
        ing an announcement.
    29. The seven-day appeal period should be allowed to elapse even
        if the person states he does not wish to appeal. The coordinator
        of the body of elders should approve the announcement before
        an elder reads it to the congregation at the midweek meeting. It
        should read as follows: “[Name of person] is no longer one of Je-
        hovah’s Witnesses.”
    30. Disfellowshipping takes eﬀect at the time of making the an-
        nouncement to the congregation. In the interim before the pub-
        lic announcement, the wrongdoer should not be called on to com-
        ment or oﬀer prayers at congregation meetings or care for any
        special privileges of service. The announcement should be made
        in only one congregation.
    31. After the announcement is made to the congregation, the judi-
        cial committee should insert the date of the announcement on the
        Notiﬁcation of Disfellowshipping or Disassociation form and send
        the form promptly to the Service Department.—See 22:21-27.


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     CHAPTER SEVENTEEN



     Appeal Hearings
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  1. If the judicial committee receives a letter of appeal within seven
     days from the date the wrongdoer was notiﬁed of the decision
     to disfellowship, the chairman should promptly call the circuit
     overseer, who will arrange for an appeal committee. (If a person
     appeals after the seven days, immediately call the Service De-
     partment for direction.) Arrangements are made for an appeal
     hearing even if there seems to be no valid basis for an appeal.
     The circuit overseer will select qualiﬁed elders to rehear the case.
     If possible, he will select brothers from a different congregation
     or congregations. Those selected should be impartial and should
     not be close relatives of or have a special relationship with any
     of the elders on the judicial committee or anyone else involved
     in the case.
  2. The chairman of the judicial committee will make the Notiﬁcation
     of Disfellowshipping or Disassociation (S-77) form and all other
     related material on the case available to the appeal committee.
     The committee should make every eﬀort to conduct the appeal
     hearing within one week after the letter of appeal was received.
     —od chap. 14 pars. 25-28.
  3. The appeal committee should avoid giving the impression that
     they are critical of the judicial committee. They must remem-
     ber that the provision for an appeal does not indicate a lack of


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        conﬁdence in the judicial committee. Rather, it is a kindness to
        the wrongdoer and ensures a fair hearing that takes into consid-
        eration all of the pertinent facts. The appeal committee should
        keep in mind that the judicial committee likely has more insight
        and experience regarding the accused.
     4. Generally, there is no arrangement to hold an appeal hearing out-
        side the circuit where the judicial hearing took place. Thus, if the
        accused has moved, he must be willing to travel back to the area
        so that the judicial committee can be present for the appeal hear-
        ing. Any exception must be approved by the Service Department.
        If the accused deliberately fails to appear at the appeal hearing,
        the disfellowshipping should be announced at a midweek meet-
        ing after reasonable eﬀorts have been made to contact him.—See
        16:28-29.
     5. The appeal committee ﬁrst meets to read the written material on
        the case. This meeting should be opened with prayer. Thereafter,
        the appeal committee should meet with the judicial committee.
        Sometime later, but preferably on the same day, the appeal com-
        mittee should meet with the accused and the judicial committee
        together. The judicial committee has already judged him unrepen-
        tant, so the appeal committee will not pray in his presence.
     6. The appeal hearing is conducted in a manner similar to the judi-
        cial hearing. It may be necessary to rehear all the evidence rel-
        evant to the case, including that which was presented originally
        and any new evidence now available. For instance, if the accused
        continues to assert that he is innocent, the witnesses should
        again give their testimony in his presence, he should be given
        opportunity to respond, and the appeal committee should hear
        any additional witnesses he wishes to present to prove his inno-
        cence. If the judicial committee or the accused believes that ear-
        lier testimony or evidence is being changed, this can be stated
        following the presentation of evidence that was allegedly altered.
        —See 16:2-3.


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  7. After gathering the facts, the appeal committee should deliber-
     ate in private. They should consider the answers to two questions:
       (1)   Was it established that the accused committed a
             disfellowshipping oﬀense?—See 12:2, 40-42.
       (2)   Did the accused demonstrate repentance
             commensurate with the gravity of his wrongdoing at
             the time of the hearing with the judicial committee?
  8. The appeal committee may ﬁnd that while the original basis for
     disfellowshipping was invalid, other valid grounds for disfellow-
     shipping exist. If so, the appeal committee should give the indi-
     vidual suﬃcient time, even several days if needed, to present any
     evidence or witnesses that he feels will disprove the new allega-
     tions. If the new allegations are established and if the person
     does not demonstrate genuine repentance, the appeal commit-
     tee may decide to uphold the disfellowshipping on these new
     grounds. If the members of the original committee agree with the
     new grounds, they should adjust the Notification of Disfellow-
     shipping or Disassociation form, allow seven days to pass before
     arranging for the disfellowshipping to be announced at the next
     midweek meeting, and then submit the form to the Service De-
     partment. As soon as possible after the hearing, a brief summa-
     ry of the case should be prepared and signed by the appeal com-
     mittee.—See 22:21-27.


     IF THE APPEAL COMMITTEE AGREES WITH THE
     JUDICIAL COMMITTEE
  9. If the members of the appeal committee agree with the judicial
     committee, they should inform the wrongdoer of the ﬁnal deci-
     sion in the presence of the judicial committee. The judicial com-
     mittee should allow seven days to pass before arranging for the
     disfellowshipping to be announced at the next midweek meeting.
     The judicial committee should submit the completed Notification


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        of Disfellowshipping or Disassociation (S-77) form to the Service
        Department.—See 22:21-27.
    10. The appeal committee should not initiate discussion of a further
        appeal. However, if the individual persists in believing a serious
        error in judgment has occurred, the appeal committee should in-
        form him that he may express his concern in a letter within sev-
        en days. If he indicates a desire to submit a letter of appeal, the
        announcement of disfellowshipping should be delayed. The ap-
        peal committee should submit to the Service Department a brief
        summary of the case, the judicial committee’s summary, and the
        individual’s letter. No announcement should be made until a re-
        ply is received from the Service Department. The body of elders
        should be updated on the results of the appeal hearing.—See
        22:21-27.


        IF THE APPEAL COMMITTEE DISAGREES WITH
        THE JUDICIAL COMMITTEE
    11. If the appeal committee feels that the decision to disfellowship
        the individual was made in error, the appeal committee should
        meet privately with the judicial committee to discuss matters and
        explain the reason for disagreeing.
    12. If the judicial committee agrees not to disfellowship the individu-
        al, the appeal committee should inform him of the ﬁnal decision
        in the presence of the judicial committee. The body of elders
        should be updated on the results of the appeal hearing.—See
        22:21-27.
    13. If the judicial committee does not agree with the conclusions of
        the appeal committee and still believes that the individual should
        be disfellowshipped, he should be invited back into the room, and
        the appeal committee should inform him that further consider-
        ation will be needed. He can be assured that the case will be con-
        cluded as soon as possible. Neither the judicial committee nor


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     the appeal committee should give any indication of their diﬀer-
     ing decisions to the individual. After he is dismissed, the hearing
     can be concluded with prayer.
 14. The judicial committee should promptly compose a letter clearly
     expressing its reasons for disagreement and give this to the ap-
     peal committee. Likewise, the appeal committee should prompt-
     ly compose a letter explaining the reasons for its decision. The
     appeal committee should send both letters and the Notification
     of Disfellowshipping or Disassociation (S-77) form to the Service
     Department. The branch oﬃce will thereafter provide written di-
     rection to assist both committees with bringing the case to a con-
     clusion.
 15. After the two committees have considered the observations of
     the branch oﬃce and made a ﬁnal decision, the original commit-
     tee should inform the person involved. The body of elders should
     be updated on the ﬁnal decision. If the decision is to disfellow-
     ship, an announcement should be made at the next midweek
     meeting and the Service Department should be informed of the
     date of the announcement.




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     CHAPTER EIGHTEEN



     Disassociations
  1. Whereas disfellowshipping is an action taken by a judicial com-
     mittee against an unrepentant wrongdoer, disassociation is an
     action taken by a baptized individual in the congregation who no
     longer desires to be one of Jehovah’s Witnesses. (1 John 2:19;
     od chap. 14 pars. 30-33) In cases of disassociation, the body of
     elders should appoint a committee (not judicial) of three elders
     to consider the facts.
  2. A judicial committee should discontinue its handling of a case as
     a judicial oﬀense if the accused person makes known his deci-
     sion to disassociate himself. However, at no time should the el-
     ders ask the accused if he desires to disassociate himself. If the
     elders are handling a particularly diﬃcult case and there is a
     question about whether the person has disassociated himself, it
     would be best for the committee to contact the Service Depart-
     ment for further direction. If an individual is determined to dis-
     associate himself, then the committee ought to prepare a sum-
     mary of the alleged oﬀense(s) and the evidence of such. This
     would be kept along with information regarding the disassocia-
     tion. If the person later requests reinstatement, these matters
     would need to be considered with him at that time.—See 22:21-27.
  3. Actions that may indicate disassociation include the following:
       (1)   Making Known a Firm Decision to Be Known No
             Longer as One of Jehovah’s Witnesses: If the
             individual agrees to meet, a committee (not judicial)
             should ﬁrst try to speak with him and provide spiritual
             assistance. (Gal. 6:1) Does he really desire to resign
             from being one of Jehovah’s Witnesses, or does he
             simply no longer want to associate actively with the
             congregation? Is the desire to disassociate prompted
             by doubts or discouragement? If he is adamant in his


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                decision that he no longer be considered one of
                Jehovah’s Witnesses, he should be asked to put this in
                writing and sign it. If he does not, then the witnesses
                to his oral statement should prepare a brief report for
                the conﬁdential ﬁles and sign it.
          (2)   Joining Another Religious Organization and Making
                Known His Intention to Remain With It: If it is learned
                that a person has taken up association with another
                religion or religious organization and thus is identiﬁed
                with it, a committee (not judicial) should be selected to
                investigate the matter and endeavor to provide spiritual
                assistance. If the individual has joined another religion
                or religious organization and intends to remain with it,
                he has disassociated himself.
          (3)   Willingly and Unrepentantly Accepting Blood: If
                someone willingly accepts a blood transfusion, perhaps
                because of being under extreme pressure, a committee
                (not judicial) should obtain the facts and determine the
                individual’s attitude. If he is repentant, the committee
                would provide spiritual assistance in the spirit of
                Galatians 6:1 and Jude 22, 23. Since he is spiritually
                weak, he would not qualify for special privileges for a
                period of time. In some cases, it may also be necessary
                to remove other privileges, such as commenting at
                congregation meetings and presenting student
                assignments on the midweek meeting. Depending on
                the circumstances, the committee may also need to
                arrange for an announcement to the congregation at a
                midweek meeting: “The elders have handled a matter
                having to do with [name of person]. You will be glad to
                know that spiritual shepherds are endeavoring to
                render assistance.” On the other hand, if the elders on
                the committee determine that he is unrepentant, they
                should announce his disassociation.


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       (4)   Taking a Course That Violates Christian Neutrality:
             (Isa. 2:4; John 15:17-19; lvs pp. 60-63, 244) If he joins
             a nonneutral organization, he has disassociated
             himself. If his employment makes him a clear
             accomplice in nonneutral activities, he should generally
             be allowed six months to make an adjustment. If he
             does not, he has disassociated himself.—See lvs
             pp. 204-206.
  4. As soon as possible after the hearing, a brief summary of the
     case should be prepared and signed by the committee and the
     Notiﬁcation of Disfellowshipping or Disassociation (S-77) form
     should be ﬁlled out with the date of the announcement left blank.
     The body of elders should be informed of the disassociation.
  5. The coordinator of the body of elders should approve the an-
     nouncement before an elder reads it to the congregation. It
     should read as follows: “[Name of person] is no longer one of Je-
     hovah’s Witnesses.”
  6. Since disassociation is an action taken by the publisher rather
     than the committee, there is no arrangement for an appeal. There-
     fore, the announcement of disassociation can be made at the
     next midweek meeting without waiting seven days. After the an-
     nouncement is made to the congregation, the committee should
     insert the date of the announcement on the Notiﬁcation of Dis-
     fellowshipping or Disassociation form and send the form prompt-
     ly to the Service Department.—See 22:21-27.




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     CHAPTER NINETEEN



     Reinstatements
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     HANDLING REQUESTS FOR REINSTATEMENT
  1. A disfellowshipped person or one who has disassociated himself
     from the congregation may be reinstated when he gives clear ev-
     idence of repentance and over a reasonable period of time dem-
     onstrates that he has abandoned his sinful course. (od chap. 14
     pars. 34-36) When the body of elders receives a letter request-
     ing reinstatement, the request should be handled promptly. Al-
     though the following direction refers to pleas for reinstatement
     from a disfellowshipped individual, it applies equally to one who
     has disassociated himself.
  2. The body of elders should meet to determine who will serve on
     the reinstatement committee. If the elders who served on the
     original committee are available and qualiﬁed, they usually serve
     on the reinstatement committee. Otherwise, the elders should
     choose replacements.—See 15:1-3.
  3. If the person requesting reinstatement was disfellowshipped for
     child sexual abuse, see Chapter 14, paragraphs 20-21.
  4. Even if the committee feels that it is much too soon to con-
     sider reinstatement, two members of the committee should


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        acknowledge receipt of the request and brieﬂy inform the person
        that more time must pass.


        PROCEDURE FOR REINSTATEMENT HEARING
     5. After oﬀering prayer without the person present, the committee
        will invite the disfellowshipped or disassociated person into the
        room. The committee should endeavor to put him at ease, com-
        mending him for his progress and desire to be reinstated. In im-
        itation of Jehovah, the elders will convey their desire to be help-
        ful and will treat the person with tenderness. (Isa. 1:18; Acts 3:
        19; rj pp. 10-11) They must listen patiently and not draw conclu-
        sions before they have heard all the evidence. The chairman in-
        vites the person to make a personal statement. The committee
        should seek to determine what his conduct was during the time
        that he was disfellowshipped or disassociated and should ascer-
        tain his attitude. The person is then excused from the room while
        the committee deliberates.
     6. The committee should be careful to allow suﬃcient time, perhaps
        many months, a year, or even longer, for a disfellowshipped or
        disassociated person to demonstrate that he is genuinely repen-
        tant. (See 16:6-17.) The committee should be especially cautious
        in some cases. For instance, the wrongdoer may have been de-
        ceptive, may have secretly practiced wrongdoing over a long pe-
        riod of time, or may have been repeatedly dealt with judicially in
        the past for the same or other wrongdoing. If such a person is
        reinstated quickly, others may be emboldened to commit serious
        sin, as they may feel that the discipline will be light. Where there
        is evidence of conspiracy between individuals to put away their
        mates and marry each other, considerable time should elapse for
        them to demonstrate suﬃcient repentance before they qualify for
        reinstatement.—w83 3/15 p. 29.
     7. The reinstatement committee needs to be balanced. Genuine re-
        pentance and a turning away from the wrong course—not the at-


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     titude of others or merely the time elapsed—are the chief de-
     termining factors in deciding when a person may be reinstated.
     —1 Cor. 5:1, 11-13; 2 Cor. 2:6, 7; 7:10, 11.

  8. The committee should guard against going to extremes by exact-
     ing a point-by-point admission of sins that may not have been
     clearly proved. Rather, the committee should consider the over-
     all pattern of the wrongdoer’s life. Does it now show that he is
     repentant?


     IF THE DECISION IS NOT TO REINSTATE
  9. If it is determined that the individual should not be reinstated,
     the committee should explain to the individual its reasons and
     what he needs to do in the future to qualify for reinstatement.
     After he is dismissed, the committee will conclude with prayer.
     The body of elders should be updated on the result of the meet-
     ing.—See 22:21-27.


     IF THE DECISION IS TO REINSTATE
 10. If the decision is to reinstate, the person can be invited back into
     the room and informed. At that time Scriptural encouragement
     and counsel should be given to help him continue to make spir-
     itual progress. Until the reinstatement is announced, he should
     continue to conduct himself as a disfellowshipped person. The
     committee will conclude with prayer with the individual present.
     After the announcement is made, the chairman of the commit-
     tee should write the date of the announcement of reinstatement
     on the congregation’s copy of the Notification of Disfellowship-
     ping or Disassociation (S-77) form. He should then send a mes-
     sage to the Service Department including the person’s (1) full
     name, (2) date of birth, and (3) date of baptism, along with
     (4) the date of the announcement of reinstatement. (The same
     information should be provided by a member of the committee


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        if a disfellowshipped or disassociated person dies, except that the
        date of death should be provided rather than the date of the
        announcement of reinstatement.) If the reinstatement involves
        someone who was accused of child sexual abuse, established or
        not, see Chapter 14, paragraphs 20-21. The body of elders should
        be updated on the result of the meeting.—See 22:21-27.

    11. In all cases of reinstatement, judicial restrictions are imposed.
        Thus, the wrongdoer may be helped to make “straight paths” for
        his feet thereafter. (Heb. 12:13) The privilege of sharing in the
        ﬁeld ministry is restored when the individual is reinstated. Other
        privileges, such as commenting at meetings and presenting stu-
        dent assignments on the midweek meeting, are restored gradu-
        ally when it is determined that the individual has progressed spir-
        itually to the point that he is qualiﬁed and when it is judged by
        the committee that the extending of such privileges will not be
        oﬀensive to the congregation. When a person is reinstated, he
        will still need much spiritual assistance. The committee should
        continue to monitor the person’s spiritual progress. It may be dis-
        couraging to the repentant wrongdoer if restrictions are imposed
        for a prolonged period of time. Therefore, when informing a re-
        pentant wrongdoer of restrictions, it would be helpful for the com-
        mittee to inform him of the date for the next meeting when his
        progress will be reviewed. The committee may also arrange for a
        Bible study to be conducted, if needed, which would be reported
        as ﬁeld service. In most cases, the elders will remove some or
        even all of these restrictions before many months have passed.

    12. The coordinator of the body of elders should approve the an-
        nouncement before an elder reads it to the congregation at the
        next midweek meeting. The announcement should read as fol-
        lows: “[Name of person] is reinstated as one of Jehovah’s Wit-
        nesses.” There may be spontaneous, digniﬁed applause when the
        announcement is made. (Luke 15:7) Judicial restrictions should
        not be announced.


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     COMMUNICATION BETWEEN COMMITTEES
 13. The ﬁnal decision to reinstate a disfellowshipped or disassociat-
     ed person is always made by a reinstatement committee of the
     congregation that originally handled the matter. Therefore, if the
     person requesting reinstatement has moved, the body of elders
     in the congregation where he now attends meetings will appoint
     a local reinstatement committee to hear his request. If the mem-
     bers of the local reinstatement committee believe he should be
     reinstated, they will forward their recommendation to the body
     of elders in the congregation that originally handled the matter.
     The local reinstatement committee should not let the person know
     what recommendation they will make to the original committee,
     since the original committee may not agree. If the person be-
     comes aware of a lack of unity between the committees, he may
     lose respect for the original committee. Thus, the local reinstate-
     ment committee should tell him that they must first correspond
     with the elders in the congregation that originally handled the
     matter and that he will be informed of the decision in due course.
 14. The local reinstatement committee should not pressure the orig-
     inal committee to reinstate the person. Those elders may be aware
     of important factors not apparent to the local reinstatement com-
     mittee, so it is usually best to respect their judgment. Likewise,
     the original committee should carefully consider the recommen-
     dation of the local reinstatement committee. Suﬃcient time may
     have passed, and the individual may have made drastic chang-
     es. The original committee should keep in mind that the elders
     making the recommendation have met the individual and have
     had opportunity to observe his conduct. If the original commit-
     tee decides to reinstate, the announcement is made in both con-
     gregations. (See 19:12.) The committee where he attends will su-
     pervise the gradual removal of restrictions.
 15. If the two congregations are reasonably close to each other, the
     original committee should promptly arrange to meet with the


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        individual after receiving a positive recommendation from the lo-
        cal reinstatement committee.
    16. If the elders on the original committee disagree with the recom-
        mendation to reinstate, they should clearly explain their reasons
        to the local reinstatement committee.




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        PUBLIC SPEAKERS
     1. Qualiﬁcations: It is essential that only qualiﬁed elders and min-
        isterial servants who are approved by the body of elders be as-
        signed to give public talks. A qualiﬁed public speaker teaches ef-
        fectively from the Scriptures, makes the practical value of the
        material clear, and reaches the heart of his listeners. (Neh. 8:8;
        Luke 24:32) The body of elders may decide that an elder who
        cares for assignments on the midweek meeting does not qualify
        to give public talks. In some cases, an elder with limited abilities
        may be approved to give public talks in his congregation, but he
        would not qualify to be a visiting speaker. In such cases, he would
        modestly decline personal invitations to give talks in other con-
        gregations. The body of elders should use balance and good judg-
        ment as they prayerfully consider the abilities of each brother. All
        elders, including those who presently do not qualify for certain
        teaching privileges, should take the initiative to approach the aux-
        iliary counselor for suggestions as well as make good use of the
        Ministry School book, the Teaching brochure, and Reminders for
        Those Assigned Public Talks (S-141) to improve their teaching
        skills.—1 Tim. 4:15, 16.
     2. Assignments: It is preferable that visiting speakers be elders.
        However, well-qualiﬁed ministerial servants may also be assigned.
        (See 1:2.9.) Generally, requests for speakers should be through
        the public talk coordinator. (See 1:2.7; 3:3.18.) A list of approved


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     speakers and the talks they have prepared should be provided to
     other congregations. (The use of such lists should comply with
     applicable data protection laws.) Speakers and talks should be
     chosen from this list. Since the number of approved speakers
     varies from congregation to congregation, it is not always nec-
     essary that an equal number of speakers be exchanged.
  3. At times, the body of elders may feel that a local speaker should
     be assigned an outline on a particular subject in view of the needs
     of the congregation. Otherwise, speakers may choose which out-
     lines they wish to prepare. (See Public Talk Titles [S-99] and
     Public Talk Titles-Listed by Subject [S-99a].) It is preferred that
     speakers not be assigned to be away from their own congrega-
     tion more than once a month.
  4. Symposiums: The body of elders determines whether it would be
     beneﬁcial for an inexperienced public speaker to be assigned the
     ﬁrst 15 minutes of a talk and for a more experienced speaker to
     be assigned the remaining 15 minutes.
  5. Hospitality and Travel Expenses: The body of elders should take
     the lead in extending hospitality to visiting speakers by asking to
     cover their travel expenses and by oﬀering them a meal. (Rom.
     12:13) Since circumstances vary widely, it is up to the body of el-
     ders to decide how this should be handled locally. Congregation
     funds may be used to cover travel expenses for visiting speak-
     ers. (See Instructions for Congregation Accounting [S-27].) How-
     ever, congregation funds should not be used to cover expenses
     for other forms of hospitality, such as entertaining or providing
     meals.


     MEMORIAL AND SPECIAL TALK
  6. Selecting a Memorial Speaker: The body of elders should care-
     fully select a speaker who can present the information in a way
     that will be clear and understandable to all in attendance, includ-
     ing those who may be present for the ﬁrst time. The elders should


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        not simply take turns giving this talk each year. A capable anoint-
        ed elder should be considered if he is not limited by age, health,
        or other factors. However, it is not necessary for him to be cho-
        sen every year. In this way, the audience can beneﬁt from the
        good teaching of other capable brothers. The primary concern of
        the elders when selecting a speaker should be the quality of the
        talk.
     7. Selecting Brothers to Oﬀer Prayers at the Memorial: The body
        of elders should select qualiﬁed brothers to oﬀer brief but mean-
        ingful prayers over the emblems. Those who represent the con-
        gregation in prayer should be mature baptized Christians who are
        known as good examples and who have the respect of the con-
        gregation. A capable, qualiﬁed, anointed brother should be con-
        sidered for this privilege if he is not limited by age, health, or
        other factors. However, the body of elders may have reason to
        select other qualiﬁed brothers to oﬀer the prayers. If an anoint-
        ed brother gives the talk, it is not necessary for him to oﬀer the
        prayers over the bread and wine, but he may be asked to oﬀer
        the ﬁnal prayer.
     8. Memorial Meeting Times: The body of elders decides when the
        Memorial talk should begin. If more than one congregation will
        be using a facility, the bodies of elders should cooperate in de-
        termining the start time. Although the Memorial talk may begin
        before sundown, the emblems should not be passed until after
        sundown. If more than one observance will be held at the same
        facility, at least 40 minutes between the programs, where possi-
        ble, should be allotted for those attending to enter and leave.
        Keep in mind that the overall program is about an hour, includ-
        ing the songs, the prayers, the passing of the emblems, and the
        chairman’s comments.
     9. Congregation Meetings the Week of the Memorial: When the
        Memorial falls on a weekday, no midweek meeting will be sched-
        uled. When the Memorial falls on a weekend, no weekend meet-
        ing will be scheduled.


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 10. Recordings on JW Stream: About one month before the Memo-
     rial, a prerecorded Memorial talk will be made available on JW
     Stream for the beneﬁt of those congregations, groups, and pre-
     groups that have very few qualiﬁed speakers. The section of the
     outline entitled “Observing the Memorial of Christ’s Death To-
     night” will be omitted from the recording. The local chairman or
     another brother should handle this section of the talk, during
     which 1 Corinthians 11:23-25 will be read, the prayers will be of-
     fered, and the emblems will be passed. Thereafter, the audience
     should watch the concluding section of the recording. About one
     month prior to the special talk, a prerecorded special talk will
     also be made available on JW Stream. If possible, backup speak-
     ers should be assigned in case of technical problems with the re-
     cordings of the Memorial and the special talk.
 11. Inactive Ones: For direction regarding assisting inactive ones
     during the Memorial season, see Chapter 25, paragraph 15.
 12. Chairman and Announcements: In connection with the Memori-
     al observance, the chairman should start the meeting in the usu-
     al way and then introduce the speaker. After the talk, the chair-
     man should read the announcement provided and then announce
     the concluding song. In most cases, he will call on the speaker
     to oﬀer the closing prayer. Following the delivery of the special
     talk, the chairman should read the announcement provided.


     ANNOUNCEMENTS
 13. The coordinator of the body of elders reviews and approves all
     announcements made to the congregation.—See Instructions for
     Our Christian Life and Ministry Meeting (S-38).


     LOCAL NEEDS PARTS
 14. The body of elders decides the subjects of local needs parts, the
     elders who will present them, and when they will be presented.


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        The subjects considered may include areas in which the congre-
        gation as a whole needs encouragement, commendation, or coun-
        sel. (Prov. 27:23) The part should provide sound and loving Scrip-
        tural instruction.—See 20:16-17.
    15. The body of elders should not invite Hospital Liaison Committee
        members or medical professionals to present or to share in a lo-
        cal needs part, such as regarding ﬁlling out the durable power
        of attorney (DPA) card or some related matter. Likewise, they
        should not arrange for such individuals to present special talks
        or programs at Kingdom Halls or other locations for this purpose.


        ASSEMBLIES
    16. Two to three months prior to each assembly, the elders should
        begin reminding the congregation of the upcoming assembly. The
        week before the assembly, the Life and Ministry Meeting chair-
        man should briefly highlight the theme of the assembly and key
        talks while displaying the program on the video monitors. All in
        the congregation should be encouraged to download the pro-
        gram from jw.org and to bring the appropriate copy of The Watch-
        tower to the assembly. Additionally, all should be encouraged to
        arrive on time and to be in their seats when the musical prelude
        begins. The elders may decide whether to use a local needs part
        a month or two following the assembly to review the program by
        means of an audience discussion, highlighting points that relate
        to the ministry.


        CONVENTIONS
    17. Two to three months prior to the convention, the elders should
        begin reminding the congregation of the upcoming convention.
        During a local needs part prior to the start of the congregation’s
        convention invitation campaign, the Convention Reminders vid-
        eo should be played. Thereafter, local arrangements for the cam-


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     paign, which starts three weeks before the convention, should be
     outlined. The theme of the convention and key talks should be
     highlighted while the program is displayed on the video monitors.
     All in the congregation should be encouraged to download the
     program from jw.org and to bring the appropriate copy of The
     Watchtower to the convention. During a local needs part a month
     or two following the convention, the convention excerpts vid-
     eo, which will be available to elders on jw.org, should be played.
     By means of an audience discussion, highlights of the program
     should be reviewed, particularly those that relate to the ministry.

     WATCHTOWER STUDY
 18. See Chapter 6.

     CONGREGATION BIBLE STUDY
 19. The guidelines in Chapter 6 regarding conducting the Watchtower
     Study also apply to conducting the Congregation Bible Study.
     —See also Instructions for Our Christian Life and Ministry Meet-
     ing (S-38).


     VISUAL AIDS
 20. At congregation meetings, speakers should not project any mov-
     ing video footage on screens or monitors unless directed to do so
     by the organization. (As an exception, speakers at sign-language
     meetings may show videos of scriptures and make judicious use
     of other videos from our organization as a visual teaching aid for
     the special needs of deaf audiences.) However, speakers may dis-
     play still pictures, graphics, or artwork. Speakers should not con-
     tact the branch oﬃce to request pictures, graphics, or artwork
     for use in their presentations. Speakers may show the text of se-
     lected scriptures on the monitors if this is done sparingly. How-
     ever, it would not be appropriate to display the text of each scrip-
     ture used.


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        SONGS AND VIDEOS
    21. It is recommended that video ﬁles be downloaded to JW Library
        for playback rather than being streamed from jw.org. (See Me-
        dia Playback Using JW Library [S-144].) The body of elders should
        assign a brother the responsibility of downloading any videos that
        are to be viewed during the meeting each week.
    22. Kingdom songs from the “Sing Out Joyfully”—Meetings series
        should be played before and after congregation meetings. Such
        music should not be allowed to drown out or overshadow the in-
        terchange of encouragement that comes from Christian associa-
        tion and theocratic conversation. When songs are played for sing-
        ing, they should not be played so softly that it is diﬃcult to sing
        in a heartfelt manner or so loudly that they overpower the voic-
        es of those singing.
    23. For direction regarding songs used by groups, see Chapter 24,
        paragraph 21.


        BROADCASTING SYSTEMS
    24. Congregations may use broadcasting systems to beneﬁt isolat-
        ed or homebound publishers and those who otherwise are un-
        able to attend local congregation meetings in person. The body
        of elders decides what technology the congregation will use, such
        as a telephone tie-line or video streaming. However, they should
        not use a service that stores the audio or video ﬁles, that sub-
        jects users to commercial advertisements, or that allows users
        to post comments. If the technology will be shared by multiple
        congregations in the same facility, the decision will be made by
        the combined bodies of elders. The arrangements should be in
        accord with the following guidelines:

           (1)   Congregations should transmit meetings live rather
                 than record them for future distribution. (See 20:26.)


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              However, individual publishers may record meetings for
              personal use if there are no legal concerns and if the
              recording device used is not connected to the facility’s
              audio or video system. Meetings should not be made
              available indiscriminately.
        (2)   Broadcasting systems should not interfere with
              the quality of congregation meetings. Some systems
              allow for two-way conversation, making it possible for
              those connected from a remote location to oﬀer
              comments. Those connected should ensure that private
              conversations or sounds of other activities are not
              heard by other listeners.
        (3)   Broadcasting systems with video capabilities should
              show only what transpires on stage, along with any
              approved media. (See 20:20.) Those commenting from
              the audience should have only their voices transmitted.
        (4)   Attendants should record as meeting attenders the
              number of those tied in to the live meeting.


     JW STREAM
 25. Congregations having very few brothers qualiﬁed to handle meet-
     ing parts may request approval from the circuit overseer to view
     recorded meetings or portions of meetings using JW Stream. (See
     Access to Programs on JW Stream by Elders and Ministerial Ser-
     vants [S-142].) The direction in Chapter 24, paragraphs 17-18,
     may be applied in these instances.
 26. If a congregation does not have arrangements to tie in individu-
     als to congregation meetings using a broadcasting system, the
     elders may provide publishers with access to recordings on JW
     Stream. (See Access to Programs on JW Stream by E-mail Invi-
     tation [S-143].) This provision is for the beneﬁt of the elderly, the
     inﬁrm, and those who are otherwise unable to attend in person.


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        Additionally, a publisher may not understand the language spo-
        ken in the local congregation. He could be allowed to make use
        of the recordings of meetings conducted in his mother tongue
        while continuing to associate with the local congregation.
    27. Many of our brothers and sisters have circumstances that limit
        their ability to attend an assembly or convention. In other in-
        stances, publishers may desire to attend an assembly or conven-
        tion that is held in their mother tongue but do not have the means
        to do so. For such ones, video recordings of the current circuit
        assembly and convention program in many languages are made
        available on JW Stream. A publisher who is invited to view a pro-
        gram on JW Stream should be instructed not to share the pro-
        gram with anyone else. Additionally, the publisher should not view
        the program until his congregation attends the event.—See Chap-
        ter 24, paragraph 27, for direction on the use of JW Stream in
        multilanguage ﬁelds.


        SIGN LANGUAGE
    28. Seating Area: If sign-language interpretation is required for con-
        gregation meetings, all deaf attendees should be seated in an
        area where they will be able to see the interpreter and the main
        stage in the same line of sight without visual distractions. This
        is usually at the front of the Kingdom Hall, perhaps on one side.
        (w09 11/15 pp. 30-32) The seating area should give priority to
        those dependent on sign language along with their families.
    29. Tactile interpreting may be arranged for deaf-blind attendees.
        Their interpreters need to be located where they can clearly see
        the main signer without obstruction. Deaf brothers and sisters
        often do well at tactile interpreting.
    30. Use of Natural Sign Language: In many countries, sign language
        is used in two major ways. One form uses signs as a word-for-
        word transliteration of the spoken language. The other form is


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     generally known as natural sign language. It is the form most
     commonly used by the deaf in their daily conversations. It func-
     tions separately from the spoken language and has a different
     grammar. It tends to put more emphasis on the use of space, fa-
     cial expressions, and the inflecting of signing motions in order to
     achieve various shades of meaning. Even though preference for
     either of these two forms of sign language will vary depending
     on the deaf individual, the majority of deaf people converse in
     natural sign language and, therefore, understand it best. Thus,
     where possible, the most proficient signers in the natural sign lan-
     guage should be used for interpreting.
 31. Interpreters need to understand the interpreting process. This
     does not mean merely matching a sign to a word while following
     the word order of the spoken language. Interpreting requires com-
     prehension of thoughts. Thus, interpreters should concentrate on
     what is being said from the platform and endeavor to convey
     such thoughts clearly, accurately, and completely while keeping
     up with the speaker. Usually a word-for-word translation fails to
     convey the speaker’s thoughts faithfully. Therefore, having many
     years of experience is not the only qualifying factor; one must
     have learned the interpreting process.
 32. Interpreter Attire: The interpreter’s appearance should be exem-
     plary, measuring up to the standards set for program participants
     on the main stage. No distracting jewelry, watches, or clothing
     should be worn, and long and brightly painted fingernails should
     be avoided. Solid-colored clothing that contrasts with the inter-
     preter’s skin tone should be worn. This will help eliminate distrac-
     tions caused by busy patterns in the clothing. Also, clothing that
     clings to the body should be avoided.
 33. A sister’s use of a head covering in some circumstances is
     not necessary, since all in attendance should be able to ap-
     preciate that she is not actually conducting the meeting. This
     would be the case, for example, when she interprets comments
     from the audience, student assignments presented by sisters, or


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        demonstrations. However, if a well-qualified sister must be used
        to interpret talks given by brothers, prayers, or songs, she should
        wear a modest and appropriate head covering as a sign of sub-
        mission to the theocratic arrangement in the Christian congre-
        gation.—1 Tim. 2:11, 12; w09 11/15 pp. 12-13.
    34. An exception to this direction can be made for a sister doing tac-
        tile interpreting for one who is both deaf and blind. Such a sis-
        ter would be seated in the audience, signing into the palm of just
        one individual. Since she would not be situated prominently as
        would an interpreter for those who are deaf only, she would not
        need to use a head covering in this instance.
    35. Songs: When the program calls for a song that is not available
        in a particular sign language, an alternate song that shares a
        similar theme or sentiment should be carefully chosen. Attention
        should be given to the timing of the alternate song so that it
        does not unduly delay the program. If no songs in the appropri-
        ate sign language are available, the group should sign the sched-
        uled song through an interpreter, preferably a brother.
    36. Audio: The audio track of sign-language videos should be made
        audible at the meetings held by sign-language pregroups, groups,
        and congregations and at sign-language assemblies and conven-
        tions. Such a provision allows hearing members of a deaf pub-
        lisher’s family in attendance to benefit spiritually from the video.


        DISRUPTIVE INDIVIDUALS
    37. It is best to ignore trivial or minor disturbances created by indi-
        viduals. However, if someone persists in this course of action and
        is distracting others, he should be asked to leave. If the disrup-
        tive individual refuses to leave, he should be informed that if he
        does not leave and continues to distract others, the police will
        be contacted. If the individual does not cooperate, the police
        should be called. When the police arrive, inform them that the in-
        dividual is causing a disturbance and that he is no longer wel-


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     come at the facility. The police may also be informed that we are
     willing to ﬁle charges if it seems prudent and necessary under
     the circumstances.
 38. Generally, the elders should not try forcibly to remove a disrup-
     tive individual from the Kingdom Hall. If the individual is violent
     from the outset, the police can be called immediately; there is no
     need to warn the individual. In the event that a Christian is phys-
     ically attacked, he has the right to defend himself from harm and
     the elders should do what they reasonably can to help protect
     him. Of course, he may be able to flee from the assailant, and
     that would be preferable. However, if it is not possible to flee, the
     Christian may try to ward off such attacks and even strike out
     in defense if necessary. Of course, any such defensive action
     would solely be to protect himself or others from the attacker un-
     til the police arrive.—g 6/08 p. 11; g87 11/22 p. 28.


     TRANSPORTATION FOR DISFELLOWSHIPPED
     OR DISASSOCIATED INDIVIDUALS
 39. Disfellowshipped and disassociated ones are generally expected
     to make their own arrangements for transportation to and from
     congregation meetings. However, in some instances a disfellow-
     shipped or disassociated individual who is making a determined
     eﬀort to regain a right standing with Jehovah may be in a situ-
     ation that prevents him from obtaining transportation. It may be
     that he has no car and that family members or others are not
     able to help him. Perhaps he cannot aﬀord public transportation
     or it is not available in his area. It may be that the distance in-
     volved, personal safety, or severe weather make it inadvisable to
     walk. In cases of real need, the elders can determine wheth-
     er some assistance may be provided. Such assistance would be
     viewed as similar to public transportation in that there should be
     no conversing with the disfellowshipped or disassociated person.
     (2 John 10, 11) The elders should monitor the situation to make
     sure that any arrangements made are not abused.


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     CHAPTER TWENTY-ONE



     Kingdom Halls

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     1. The branch oﬃce is responsible for approving and overseeing the
        construction of new Kingdom Halls and for ensuring that exist-
        ing Kingdom Halls are being maintained properly and fully uti-
        lized. Direction regarding these matters is provided to congrega-
        tions through the Local Design/Construction Department (LDC).
        Representatives of the LDC may be used to inspect and gather
        information on existing and potential meeting places. The local
        elders set a fine example for all in the congregation when they
        take the lead in coordinating and being personally involved in the
        cleaning, maintenance, and security of the Kingdom Hall.


        CONTACT CONGREGATION
     2. A Kingdom Hall is dedicated to the worship of Jehovah. As many
        as three or four congregations may be assigned by the branch
        oﬃce to use the same Kingdom Hall auditorium in order to make
        full use of the facility and to keep expenses to a minimum.

     3. The branch oﬃce will generally correspond with only one of the
        congregations using the facility regarding legal, property, and re-
        lated matters. Usually, this contact congregation holds the doc-
        uments related to the Kingdom Hall and the property on which
        it is located. This is for practical reasons only and does not pro-
        vide a basis for the contact congregation to make unilateral de-
        cisions related to the use and upkeep of the Kingdom Hall. Re-
        gardless of who holds title, no congregation should conclude that
        it “owns” the Kingdom Hall. It is the responsibility of all the con-
        gregations using the property to care for it and see that it is used
        in harmony with Kingdom interests.


        RENTED FACILITIES
     4. If a congregation needs to rent a facility for long-term use as
        a Kingdom Hall, the elders should contact the Local Design/


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     Construction Department. If a congregation needs to rent a fa-
     cility for one-time use, such as for the Memorial, the elders should
     follow the instructions provided in Renting Facilities for Theocrat-
     ic Events (TO-19).


     CLEANING
  5. The Kingdom Hall should be cleaned according to a regular sched-
     ule, depending on its use and needs. This usually involves a
     light cleaning after each meeting, a more thorough cleaning each
     week, and a major cleaning at least once a year. This should be
     carried out by volunteers from within the congregations meeting
     in the Kingdom Hall. All may have a share, including children who
     are properly supervised.
  6. A schedule for Kingdom Hall cleaning should be posted on the in-
     formation board. Some congregations choose to rotate the week-
     ly cleaning arrangements according to ﬁeld service groups. The
     thorough and major cleanings should include both the interior
     and exterior of the buildings, as well as any storage, parking, and
     landscaped areas. If snow removal or other seasonal mainte-
     nance or cleaning is required, this should be well-coordinated.
     Care should be taken to ensure the safety of all involved in this
     work.—See 21:27-29.
  7. Cleaning Coordinator: Each body of elders should assign an el-
     der or ministerial servant to serve as the cleaning coordinator
     for the congregation. He is not responsible for performing all of
     the cleaning work himself, nor does he have the authority to make
     decisions that should be made by the body of elders. He should
     prepare cleaning schedules and ensure that adequate cleaning
     supplies and simple written instructions are kept on hand. He
     should ensure that appropriate safety equipment is on hand and
     is being used and that publishers have been trained to clean
     safely. He should monitor the cleanliness of the Kingdom Hall and
     provide kind reminders as needed.


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        MAINTENANCE AND REPAIR
     8. A preventive maintenance program can lengthen the life of the
        Kingdom Hall and equipment. Regular maintenance also shows
        respect for the sanctity of life, since a lack of maintenance can re-
        sult in unsafe conditions that put those who use the Kingdom Hall
        at risk. (See 21:27-29.) A meeting place that is well-maintained
        reﬂects favorably on Jehovah God. Therefore, each congrega-
        tion should take seriously the responsibility to care for preven-
        tive maintenance and repairs.
     9. It is expected that the majority of the maintenance and repair
        work will be done by local volunteers in the congregations using
        the Kingdom Hall and that the costs for such work will be cov-
        ered by the congregations. If local volunteers are not available
        to coordinate or safely carry out the work, the elders should seek
        the direction of the Local Design/Construction Department (LDC)
        before any work is started. Any work that will cost more than the
        average Kingdom Hall operating expenses for three months re-
        quires the approval of the LDC.—See Appendix A.
    10. When it is necessary to hire a contractor to perform a service
        and the cost is such that the approval of the LDC is not needed,
        the elders should obtain written estimates and signed written
        agreements. The details of the estimates or bids should not be
        shared with others wishing to perform the work. The elders should
        verify that the contractor has the skill necessary to complete the
        work and that he has the insurance and other legal protection
        needed. This should be done whether or not the contractor is a
        Witness. The congregation should consider requesting a copy of
        the contractor’s certiﬁcate of insurance to verify this coverage
        before the work commences and, if possible, should request that
        the legal entity holding title to the Kingdom Hall be named as an
        additional insured on the contractor’s insurance policy. If ques-
        tions arise regarding the contract wording or speciﬁc local re-
        quirements, the Branch Risk Management Desk in the Accounting
        Department should be contacted for assistance. In most cases,


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     it is advisable for a dependable local brother to be on hand to
     monitor the work of contractors.
 11. The body of elders should be enthusiastic about and supportive
     of the maintenance training and the preventive maintenance pro-
     gram provided by the LDC so that all in the congregation are en-
     couraged to take an interest in caring for the Kingdom Hall.
 12. Immediate action should be taken if moisture-related problems
     are found. Left unchecked, moisture from water leaks, conden-
     sation, inﬁltration, or ﬂooding can cause extensive damage. All
     leaks (affecting pipes, roofs, and so forth) must be repaired im-
     mediately by someone qualiﬁed in this ﬁeld. If the aﬀected area
     is not cleaned and dried within 48 hours, further problems may
     result. In high humidity areas, the HVAC system may have to be
     set to run for a period each day, even when the hall is unoccu-
     pied. This will aid in drying the air and preventing dampness and
     mold. If a serious moisture problem exists and it is beyond the
     ability of the elders to repair properly, the LDC should be con-
     tacted immediately for assistance.
 13. If a congregation needs to rent a facility (or parking lot) for a
     one-time use, the elders should determine the level of repairs
     necessary to have a safe and suitable place to meet. (See Chap-
     ter 21, paragraph 4, for direction on rental of facilities for long-
     term use.) It is best to have the owner of the property care for
     such work. However, where this is not a viable option, the elders
     should seek an equitable arrangement with the owner. The terms
     of that arrangement should be put in writing prior to the work
     commencing. Any wording in a contract that indicates that the
     congregation or the organization is responsible for all liability
     should be avoided. If there are concerns with the wording in these
     agreements, the Branch Risk Management Desk should be con-
     tacted for assistance.
 14. Maintenance Coordinator: If the Kingdom Hall is used by only
     one congregation, the body of elders should assign an elder or


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        ministerial servant to serve as the maintenance coordinator. (De-
        pending on the circumstances, this may be the same brother who
        serves as the cleaning coordinator.) He should ensure that the
        preventive maintenance program provided by the LDC is being
        followed. This involves verifying that maintenance tasks are be-
        ing completed on schedule and according to the guidelines pro-
        vided. In addition to coordinating maintenance activities, he is
        also responsible to coordinate any necessary repair work. He is
        not responsible for performing all of the work himself, nor does
        he have the authority to make decisions that should be made by
        the body of elders. It is imperative that the brother selected be
        well-organized and diligent yet submissive to the body of elders.
        He should also be good at delegating work and training others.
        The body of elders should allow the brother to show initiative in
        caring for regular maintenance and repairs. He should ensure
        that an adequate amount of tools are available and should keep
        a record of completed maintenance tasks. He should also ensure
        that adequate safety equipment is on hand and that publishers
        have been trained to perform tasks safely.—See 21:27-29.


        KINGDOM HALL OPERATING COMMITTEE
    15. If the Kingdom Hall auditorium is used by more than one congre-
        gation or if there are multiple auditoriums on the same property,
        a Kingdom Hall Operating Committee should be appointed for or-
        ganizing the cleaning and maintenance of all facilities on the
        property. These would include all auditoriums, storage buildings,
        and residences. Additionally, this may include caring for a resi-
        dence of a special full-time servant located in the same neigh-
        borhood. (See Instructions for Circuit Accounting [S-331] for di-
        rection regarding circuit apartments.) Each body of elders should
        select one or two elders or qualiﬁed ministerial servants to serve
        on the operating committee. However, the operating committee
        should consist of no more than ﬁve brothers. If there are more
        than ﬁve congregations using the property, then the combined


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     bodies of elders should select the ﬁve brothers who will serve on
     the operating committee.
 16. The combined bodies of elders should select the operating com-
     mittee member who will serve as the operating committee coor-
     dinator. He should be an experienced elder who has good organi-
     zational ability and the availability for this assignment. He should
     humbly work in harmony with the other members of the commit-
     tee and seek direction from the bodies of elders when needed.
     It is likely that he will often be able to communicate with the
     other members of the operating committee without organizing
     meetings. However, the operating committee coordinator should
     (1) set up periodic meetings for the committee as deemed nec-
     essary to carry out their assignment, (2) make sure there is ap-
     propriate follow-through on decisions made, and (3) maintain
     good communication with the bodies of elders. If the bodies of
     elders agree that a joint meeting of all the bodies of elders is
     needed to resolve a matter, one of the coordinators of the bod-
     ies of elders would normally serve as the chairman of the meeting.
 17. The operating committee should ensure that adequate safety
     equipment is on hand and that publishers have been trained to
     perform tasks safely. During cleaning or maintenance projects
     shared in by more than one congregation, the operating commit-
     tee should assign one of their number to serve as the safety
     coordinator for the project.—See 21:27-29.
 18. The operating committee should care for regular maintenance
     and repairs of the Kingdom Hall. They should be willing to show
     appropriate initiative but should not run ahead of the direction
     provided by the bodies of elders or the branch oﬃce.
 19. It is not the responsibility of the operating committee to deter-
     mine when meetings are to be held, whether the building is to be
     used for weddings or funerals, and so forth.—See 21:33; 27:6.2.
 20. The bodies of elders of the congregations sharing the Kingdom
     Hall should record the decisions that have been made regarding


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        Kingdom Hall matters. Among other things, the agreement should
        include a description of how the building will be cared for and
        used, when meetings will be held, any schedule for rotating meet-
        ing times, what the ﬁnancial responsibility of each congrega-
        tion will be in caring for the operating expenses, the amount of
        funds to be kept on hand in the operating account, and what the
        spending limits will be in connection with out-of-the-ordinary ex-
        penses. (See Instructions for Kingdom Hall Operating Committee
        Accounting [S-42].) A copy of the agreement signed by the Con-
        gregation Service Committees should be retained in each congre-
        gation’s ﬁle. The written agreement should be updated as need-
        ed in order to reﬂect the current decisions of the bodies of elders.


        EXPENSES
    21. See Instructions for Congregation Accounting (S-27) and In-
        structions for Kingdom Hall Operating Committee Accounting
        (S-42).


        UPGRADES AND MINOR RENOVATION
    22. Minor renovation projects are typically scheduled by the Lo-
        cal Design/Construction Department (LDC), based on the facili-
        ty evaluation that is performed every two years. Congregations
        should not install new elements or upgrade existing elements
        (whether these items are purchased or donated) or perform mi-
        nor renovations (work that is beyond routine maintenance and
        repair) without approval from the LDC. The elders should explain
        to the LDC the need for the new element, upgrade, or minor ren-
        ovation and then wait for approval and direction on how to pro-
        ceed. If a project request is approved, it will then be determined
        whether the congregation has the means to cover the expense
        or if funding will be provided by the branch oﬃce. Any use of
        congregation funds to cover such expenses must be approved


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     by a resolution, even if approval from the LDC has been obtained
     for the project. The LDC will decide who will coordinate the pro-
     ject based on the scope of the work.—See Appendix A; for direc-
     tion regarding the funding of the installation of a video system,
     see Chapter 21, paragraph 37.


     MAJOR RENOVATION AND NEW
     CONSTRUCTION
 23. The branch oﬃce prepares and maintains a master plan that in-
     dicates where Kingdom Halls are needed. This includes new King-
     dom Halls needed based on congregation density and growth,
     existing Kingdom Halls needing major renovations, and Kingdom
     Halls needing to be replaced. The master plan may show that ex-
     isting Kingdom Halls can be better utilized by merging congrega-
     tions or assigning additional congregations to use a Kingdom
     Hall. The beneﬁts of merging or consolidation may include im-
     proved meeting attendance, higher quality meetings, better dis-
     tribution of experienced brothers, and a reduction in the number
     of Kingdom Halls needing to be constructed.
 24. New construction and major renovation projects are prioritized
     and scheduled by the Local Design/Construction Department
     (LDC). Inquiries regarding when a Kingdom Hall is scheduled for
     a major renovation or about a construction project should be re-
     ferred to the LDC. No congregation should purchase property,
     accept property as a donation, or undertake major or minor ren-
     ovation work on an existing Kingdom Hall without the full involve-
     ment of the LDC. Design standards and speciﬁcations are pro-
     vided by the branch oﬃce, and construction work is overseen by
     Construction Groups appointed by the branch oﬃce. Funding will
     be provided through the branch oﬃce, although the involved con-
     gregations will be directed to set up a contribution box for the
     project. The branch oﬃce will handle the sale of Kingdom Hall
     property whenever this is deemed necessary.


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        INSPECTIONS
    25. The Local Design/Construction Department will arrange for an in-
        spection and evaluation of each Kingdom Hall every two years.
        While it is not necessary for each elder to be present during the
        inspection, it is important that the Kingdom Hall Operating Com-
        mittee or the maintenance coordinator be present. If participa-
        tion of publishers is needed at the time of the inspection, the el-
        ders will be informed of this when the inspection is scheduled.
        The inspection will help to ensure that the preventive mainte-
        nance program is being followed. Each inspection will include a
        review of any Kingdom Hall ownership and property documents
        and any regulatory permits related to building systems to ensure
        that these are in order and to arrange for further assistance if
        needed. After the inspection, a report will be given to each body
        of elders. It is expected that the elders will follow through on the
        recommendations in the report and will promptly address any
        safety or maintenance issues found.


        SECURITY
    26. All doors and windows should be secured before leaving the build-
        ing. Depending on the circumstances, it may be advisable to store
        expensive equipment in locked cabinets or in the homes of local
        brothers. Some Kingdom Halls in higher-risk areas may install
        electronic security systems. If installed, these systems should be
        kept in good working order. Prior to installing a system, the body
        of elders should contact the Local Design/Construction Depart-
        ment to determine if it is warranted for their Kingdom Hall.—See
        21:22.


        SAFETY
    27. Each elder should be alert to any hazardous conditions that may
        exist in the Kingdom Hall or on its grounds and promptly ensure


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     that they are addressed. Walkways, parking lots, lighting around
     stairs and areas having changes of level or uneven surfaces, and
     the condition of mats or carpets at building entrances should re-
     ceive particular attention. Fire hazards, such as overloaded elec-
     trical outlets or the accumulation of combustible material should
     not be allowed. Storage of hazardous materials on the property
     should be avoided when possible. Any necessary chemicals used
     for cleaning or maintenance should be clearly labeled and stored
     in a secure location inaccessible to young children.
 28. All elders should be thoroughly familiar with Working Together
     Safely—Standards for Theocratic Construction and Maintenance
     (DC-82). A printed or an electronic copy of Working Together
     Safely should be provided to each publisher in the congregation
     who volunteers to assist with a maintenance or construction pro-
     ject or with other tasks that involve a measure of risk, such as
     working with power tools, using ladders, accessing roofs, or per-
     forming electrical work.
 29. A key aspect of working safely is identifying potential dangers and
     planning how to avoid them. Those overseeing Kingdom Hall pro-
     jects are to review each activity planned, determine the potential
     hazards related to each task, and identify the appropriate safety
     measures that can be implemented. Ensure that qualified individ-
     uals with the health and skill needed to complete the work safe-
     ly are chosen. The Congregation Job Hazard Analysis (DC-85) and
     Congregation Job Hazard Analysis Instructions (DC-85i) forms
     should be used. These forms are not intended to be used in con-
     nection with minor maintenance work and regular cleaning.


     INCIDENTS
 30. An Incident Report (TO-5) should be completed for any incident
     that occurred at a Kingdom Hall or at a facility rented for a theo-
     cratic event if it involved or nearly involved (1) property damage
     that may result in a request for financial assistance, (2) illness


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        requiring hospitalization, or (3) personal injury requiring medical
        treatment beyond minor ﬁrst aid. Incident Report Instructions
        (TO-5i) should be consulted for every incident or near miss. The
        completed report should be submitted to the Branch Risk Man-
        agement Desk in the Accounting Department within 72 hours of
        the incident. If the incident is catastrophic or there is a threat of
        legal action, immediately call the Legal Department for assis-
        tance.
    31. When property damage occurs, quick action can go far in pre-
        venting further damage. Break-ins, thefts, arson, or other inci-
        dents of vandalism should be promptly reported to the local au-
        thorities. The Local Design/Construction Department (LDC) may
        be contacted for direction. For damage that can be easily re-
        paired without assistance from the LDC, please send copies of
        the written estimate of repair costs (or repair bills, if it was an
        emergency) along with the Incident Report to the Branch Risk
        Management Desk.
    32. The Global Assistance Arrangement cares for property damage
        to Kingdom Halls, such as losses resulting from natural disasters,
        ﬁre, moisture damage, and vandalism, as well as for expenses
        related to incidents involving personal injury at Kingdom Halls.


        MEETING TIMES
    33. Unless there are extreme extenuating circumstances, the Life and
        Ministry Meeting is to be held during the week and should not be
        combined with the public talk and Watchtower Study, which are
        to be held on the weekend. If the weekend meeting is overcrowd-
        ed and there is room in the Kingdom Hall to accommodate an-
        other meeting time, consider having two weekend meetings. The
        publishers can be assigned to attend these meetings by ﬁeld
        service groups. Whenever practical, the same speaker can give
        both public talks and qualiﬁed elders can share in conducting
        the Watchtower Studies. When only one congregation meets in
        a Kingdom Hall, the elders should consider what meeting times


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     will be most convenient for the majority and should present their
     recommendations to the congregation for discussion, possible
     adjustment, and ﬁnal decision (by majority vote of the baptized
     publishers). When more than one congregation meets in the hall,
     the combined bodies of elders should discuss meeting-time pref-
     erences before submitting their recommendations to their respec-
     tive congregations. (1 Cor. 10:24) Some congregations ﬁnd that
     rotating the times and/or the days of the meetings each year is
     desirable. When a rotation is made, it should take place during
     the ﬁrst week of January. The Service Department should be no-
     tiﬁed of changes to congregation meeting times using jw.org or,
     if that is not possible, by submitting the Kingdom Hall Informa-
     tion (S-5) form. Good communication and cooperation contrib-
     ute to mutual understanding and contentment, preventing the
     feeling that one congregation has certain advantages all the time.
     Good cooperation is also needed in connection with adjusting
     meeting schedules during a circuit overseer’s visit to a congre-
     gation. A sign with up-to-date meeting times should be displayed
     in accordance with local codes.


     INFORMATION BOARD
 34. The coordinator of the body of elders is responsible for approv-
     ing all items posted on the information board. The information
     board should be used exclusively to provide information about
     congregation activities and should be kept neat. No wedding an-
     nouncements or announcements about social gatherings should
     be placed on the information board. When more than one con-
     gregation shares the auditorium, each congregation should have
     its own information board or portion thereof.


     PHONE ANSWERING SYSTEM
 35. An answering machine or voice messaging system should be
     utilized, if feasible. A recorded announcement, approved by the


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        Congregation Service Committees using the Kingdom Hall, should
        provide the Kingdom Hall address, brief directions to the King-
        dom Hall (if necessary), and meeting times. During the Memori-
        al season, the day, time, and location of the Memorial obser-
        vance(s) should also be given. Callers should be directed to jw.org
        for additional information. The announcement should be provid-
        ed in the languages of all congregations and groups using the
        Kingdom Hall.


        INTERNET SERVICE
    36. If the bodies of elders using the Kingdom Hall determine that hav-
        ing an Internet connection at the Kingdom Hall would beneﬁt the
        congregations and that the congregations can aﬀord it, the el-
        ders should present the publishers with a resolution to obtain
        such service. Please note the following direction in this regard:

           (1)   Access to the Internet should be password-protected.

          (2)    Only publishers in good standing should be permitted
                 access.

          (3)    The password should not be announced publicly.
                 Instead, it should be given to the approved publishers
                 individually.

          (4)    If a publisher were to use the Kingdom Hall connection
                 to access inappropriate websites, his connectivity
                 privilege would be revoked.

          (5)    It is wise to change the password periodically.

          (6)    If the Kingdom Hall is equipped with a computer that
                 is connected to the Internet, appropriate Internet
                 security practices should be implemented, such as
                 those listed on page 28 of the August 2009 Awake!
                 Additionally, Internet browsers provide various built-in


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              security features, such as automatic pop-up blocking,
              privacy settings, ﬂexibility in specifying websites that
              should be blocked, and website certiﬁcate validation.
              Also, most Internet service providers oﬀer some
              advanced protection that may, for example, block
              fraudulent websites, prevent phishing attacks, and put
              in place parental controls. Although there is usually an
              additional monthly charge for these advanced security
              features, their beneﬁts generally outweigh such costs.


     VIDEO EQUIPMENT
 37. With the exception of new construction, major renovations, or
     sign-language congregations, the installation of video equipment
     in Kingdom Halls is the ﬁnancial responsibility of the publishers
     who attend meetings at that hall. If the bodies of elders recom-
     mend the installation of video equipment and determine that the
     congregations can aﬀord the equipment, they should ﬁrst con-
     tact the Local Design Construction Department for approval and
     direction.
 38. Please keep the following guidelines in mind if a video system is
     installed:

        (1)   The system should be conﬁgured so that minimal time
              will be lost when starting a video. For example, it is
              preferred, but not mandatory, that the primary video
              display(s) be positioned on one or both sides of the
              stage, not in the center. Regardless of the
              conﬁguration, the speaker should be able to remain at
              the lectern while the video is played.

       (2)    The digital yeartext should be displayed before the
              opening song, after the concluding prayer, and during
              the meeting when nothing else is being shown on the
              screens. This may eliminate the need to purchase


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                 signage to display the yeartext. For Kingdom Halls that
                 have a video display in the center of the stage, it may
                 be more practical to continue to display the yeartext
                 with a physical sign. No additional artwork should be
                 combined with the yeartext, not even artwork from our
                 publications.
           (3)   If the Kingdom Hall has Internet service, it is preferred,
                 but not mandatory, that a wired connection to the
                 provider be used and that the computer or media
                 playback device in the Kingdom Hall be connected with
                 a wired connection.—See 20:21.
           (4)   Video playback equipment should be installed near
                 the sound equipment. The brother running the system
                 should start the video when directed to do so by the
                 brother on the stage. Generally, the video equipment
                 should not be operated from the stage.


        LIBRARY
    39. Each Kingdom Hall auditorium should have space for a library.
        (od chap. 7 par. 19) The library should contain publications for
        each language group using the auditorium. The bodies of elders
        should determine whether the library will provide publications in
        printed form, electronic form, or both. Since some publishers and
        interested persons do not use computers or electronic devices,
        the elders should give careful consideration to the needs of such
        individuals when making decisions as to the Kingdom Hall library,
        especially before deciding to eliminate printed publications. If the
        publications will be provided in electronic form, such as on a de-
        vice or on a computer, a printer should be made available. At
        least one responsible brother should be assigned to keep the li-
        brary up-to-date and in good order.
    40. In the event that the bodies of elders decide to eliminate printed
        publications from the library, care should be taken not to discard


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     items that have historical signiﬁcance. The branch oﬃce may wish
     to add such items to its library or to its archive of historical ma-
     terials.


     JW BROADCASTING MONTHLY PROGRAMS
 41. To assist publishers who do not have access to the Internet, the
     bodies of elders in Kingdom Halls already having video equipment
     could set a time each month for the monthly broadcast to be
     shown at the Kingdom Hall. If more than one congregation is us-
     ing the Kingdom Hall, it might be practical to have individuals in
     those congregations view the program together at a time when
     the Kingdom Hall is not normally in use. Because such showings
     are not considered to be congregation meetings, there is no need
     for opening or closing prayers. Disfellowshipped or disassociat-
     ed individuals may attend such programs if held at the Kingdom
     Hall. Those attending should dress as they would for congrega-
     tion meetings.


     USE OF CONGREGATION PROPERTY
 42. In lands where it is permissible for congregations to own proper-
     ty, only property necessary for congregation meetings should be
     purchased. Exceptions may be made for modest dwellings for cir-
     cuit overseers, special pioneers, or others in special full-time ser-
     vice at the discretion of the branch office. (See Instructions for
     Circuit Accounting [S-331] for direction on circuit apartments.)
     If questions arise in connection with congregation property, such
     as regarding housing, use of land by other parties, and gifts of
     property, the elders should contact the Local Design/Construction
     Department for direction.


     KINGDOM HALL DEDICATIONS
 43. See Kingdom Hall Dedication Guidelines (S-78).


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     CHAPTER TWENTY-TWO



     Correspondence
     and Records

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     JW.ORG E-MAIL
  1. It is recommended that elders check their jw.org e-mail inbox at
     least once each week. Conﬁdential information should not be sent
     using outside e-mail providers. Use of jw.org e-mail is governed
     by the “Terms of Use” policy available on jw.org.


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     2. When the elders in one congregation need to write to the body
        of elders of another congregation, it is usually best that they send
        the correspondence to the congregation’s jw.org e-mail address
        rather than to the address of a speciﬁc elder. When correspon-
        dence is received, the coordinator of the body of elders and sec-
        retary should work together to ensure appropriate follow-through.
        They should also ensure that all elders have access to correspon-
        dence directed to the body of elders.
     3. When electronic communication is possible, correspondence and
        forms should be sent to the branch oﬃce using jw.org rather than
        postal mail. Correspondence to the branch oﬃce on behalf of
        the body of elders is usually sent by the secretary. Conﬁdential
        reports, such as the Notiﬁcation of Disfellowshipping or Disas-
        sociation (S-77) form, would usually be sent to the branch oﬃce
        by one of the elders handling the matter.
     4. Unless instructed otherwise, there is no need to sign correspon-
        dence or forms sent using jw.org e-mail. However, the names of
        the brothers who read and approved the correspondence should
        appear. Correspondence sent to the branch oﬃce as an attach-
        ment should be in a commonly used format, such as Microsoft
        Word or PDF. For a routine matter, such as an inquiry on the sta-
        tus of a literature request, the message may be typed directly
        into the body of the e-mail rather than attaching a separate doc-
        ument.


        LETTERS OF INTRODUCTION
     5. When a publisher (active or inactive) moves to another congre-
        gation, a letter of introduction and the Congregation’s Publisher
        Records (S-21) should promptly be sent to the new congrega-
        tion. The Congregation Service Committee may take the initiative
        and send these items without waiting for a formal request from
        the new congregation. If a person who has been accused of child
        sexual abuse (established or not) moves to another congrega-


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     tion, see Chapter 14, paragraph 26. If a publisher regularly moves
     away to live at a second residence, follow the applicable direc-
     tion in Chapter 8, paragraph 14.
  6. A letter of introduction should contain the following information:
        (1)   The date of the letter.
       (2)    The sending congregation’s full name.
       (3)    The sending congregation’s postal address or jw.org
              e-mail address.
       (4)    The receiving congregation’s full name.
       (5)    The receiving congregation’s postal address or jw.org
              e-mail address.
       (6)    The names of the three elders (usually the service
              committee) who approved the letter.
       (7)    The publisher’s full name, the names of any
              immediate family members, and any privileges the
              publisher or his family members moving with him have
              enjoyed (such as presenting student assignments on
              the midweek meeting or serving as an elder or
              ministerial servant, an auxiliary or regular pioneer, a
              local design/construction volunteer, or a remote Bethel
              volunteer or Bethel consultant), and whether the elders
              recommend that they retain such privileges.—See 8:12.
  7. Additionally, elders should ask themselves: ‘What information
     would we want to receive if this person moved into our congre-
     gation?’ (Matt. 7:12) If a person is under judicial restrictions, the
     elders in the new congregation should be informed of these. If a
     person was reproved or reinstated in the distant past but is not
     presently under restrictions, there may be no need to mention
     past judicial action unless the oﬀense involved entering into an
     adulterous marriage or some other notorious wrongdoing.—See
     12:10-11.


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     8. The publisher’s new congregation should retain the letter for no
        longer than ﬁve years unless there is a need to keep it longer.
        For example, if an individual entered into an adulterous marriage,
        the letter should be retained for as long as the innocent former
        mate is alive, is unmarried, and has not been guilty of sexual im-
        morality (por·neia).—See 12:10-11.


        DISFELLOWSHIPPED OR DISASSOCIATED
        INDIVIDUALS WHO MOVE
     9. If the elders learn that a disfellowshipped or disassociated per-
        son has moved, they should not send the Congregation’s Pub-
        lisher Records (S-21) or the conﬁdential ﬁle to the congregation
        in whose territory he lives or where he attends meetings. The con-
        gregation that took the disfellowshipping action or acknowledged
        the disassociation should retain the records. However, a brief let-
        ter should be sent to the body of elders in whose territory he
        lives to inform them that a disfellowshipped or disassociated per-
        son lives in their territory. If possible, they should provide his ad-
        dress. Generally, there would be no need for the letter to include
        speciﬁc information on the details of the case. However, if there
        is reason for the elders in the new congregation to be especial-
        ly on guard, this can be explained in the letter.—See Chapter 14,
        paragraph 26, for direction on when an individual accused of child
        sexual abuse moves; see Chapter 19, paragraphs 13-16, for di-
        rection on communication between committees when an individ-
        ual requests reinstatement.


        CONGREGATION FILE
    10. Conﬁdentiality and Security: The congregation ﬁle should be
        kept locked in a place that is safe and secure, preferably at the
        Kingdom Hall. Any ministerial servants substituting as members
        of the Congregation Service Committee should not have access


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     to conﬁdential records, such as correspondence regarding the
     appointment and deletion of elders and ministerial servants and
     judicial records. (See 2:2.) Each elder desiring to have a key to
     the ﬁle should be provided one. However, if the Kingdom Hall is
     particularly vulnerable, then such records may be kept in a locked
     cabinet in the home of an elder to prevent unauthorized entry.
     The service committee should plan how to protect and preserve
     congregation records and conﬁdential ﬁles in the event of a di-
     saster.—See 26:4.
 11. Categories: For items that need to be retained in the congrega-
     tion ﬁle, the following categories should be used. (Additional cat-
     egories may be used as needed.)
          ˘   Accounts
          ˘   Applications
          ˘   Circuit Overseer’s Report on Visit
          ˘   Conﬁdential Records (sealed envelopes)
          ˘   Elders and Ministerial Servants
          ˘   Kingdom Hall
          ˘   Letters of Introduction
          ˘   Territory
 12. Field Service Records: The Congregation’s Publisher Records
     (S-21) belong to the local congregation. Each branch oﬃce pro-
     vides direction to bodies of elders on whether to retain the re-
     cords electronically or in printed form. If the records are retained
     electronically, the body of elders decides whether to use the form
     provided by the branch office or some other method that dis-
     plays the same information in the same format. The congrega-
     tion’s field service records should contain at least 13 months of
     activity but no more than 36 months. (od chap. 8 par. 30) The


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        ﬁle is divided into two sections—“Active” and “Inactive.” The sec-
        tion for active publishers should be arranged alphabetically, with
        the records subdivided into sections for (1) regular and special
        pioneers and ﬁeld missionaries and (2) all other publishers. The
        section for all other publishers should be arranged by field ser-
        vice group. Additionally, three separate Congregation’s Publisher
        Records should be ﬁlled out to reﬂect the combined monthly to-
        tals for (1) all regular and special pioneers and ﬁeld missionar-
        ies, (2) all auxiliary pioneers, and (3) all other publishers.
    13. The congregation’s report should be submitted to the branch
        oﬃce no later than the 20th day of the month. If a publisher
        turns in his report late, it should be added to the congregation’s
        report for the following month and the “Number Reporting” ﬁg-
        ure should be adjusted accordingly. Individual reports should be
        posted on the Congregation’s Publisher Records for the month
        shown on the report slip, regardless of when the report is re-
        ceived or when it is included in the congregation’s report submit-
        ted to the branch oﬃce. A publisher is not considered irregular
        because of a late report.
    14. If the Congregation Service Committee has granted a publisher
        with very limiting circumstances permission to report field ser-
        vice in 15-minute increments, the secretary should keep track of
        these fractions of hours and carry them over to the following
        month if they total less than an hour. (od chap. 8 par. 29) When-
        ever the sum of these fractions adds up to a full hour, the sec-
        retary should include that hour with the congregation’s report.
        Publishers who have questions about what to report should be
        encouraged to review chapter 8, paragraphs 23-29, of the Orga-
        nized book.
    15. Regular pioneer reports are handled in the same way as other
        publisher reports. Hour credits for pioneers should be written in
        the “Comments” section of their Field Service Report (S-4) slips
        and should not be included with the congregation’s report sub-
        mitted to the branch office. (See Chapter 9, paragraphs 11-13,


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     for direction on hour credits for pioneers.) Since special pioneers,
     ﬁeld missionaries, and other special full-time servants in the field
     report their ﬁeld service activity to the branch office directly, their
     reports are not included with the congregation’s report. However,
     their activity should be posted on the Congregation’s Publisher
     Record.
 16. Field Service Report slips should be destroyed after being tabu-
     lated and posted on the Congregation’s Publisher Records. A rec-
     ord of the last 12 months of field service activity of an inactive
     publisher should be retained. A record of the last 12 months of
     field service activity of a disfellowshipped or disassociated per-
     son should be retained in the sealed envelope.
 17. While the Congregation’s Publisher Records may be kept by the
     secretary, they are to be made available to the other elders as
     needed.—See 7:2.6.
 18. Meeting Attendance Records: The body of elders decides wheth-
     er to retain Congregation Meeting Attendance Records (S-88)
     electronically or in printed form. If the records are retained elec-
     tronically, the body of elders decides whether to use the form
     provided by the branch office or some other method that dis-
     plays the same information in the same format. After the infor-
     mation contained in the Report of Meeting Attendance (S-3) slip
     has been transferred to the Congregation Meeting Attendance
     Record, the slip should be destroyed. The congregation’s meet-
     ing attendance records should contain at least 13 months of at-
     tendance but no more than 36 months.
 19. Appointment and Deletion of Elders and Ministerial Servants:
     Records related to the appointment and deletion of elders and
     ministerial servants should be retained indeﬁnitely. This would in-
     clude past S-2 forms and S-52 acknowledgment letters from the
     branch oﬃce and letters of appointment and deletion from cir-
     cuit overseers. In connection with any deletion, a brief explana-
     tion of the reason for the brother’s deletion should also be kept.


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        Such background material will be helpful in supplying the circuit
        overseer with complete details in the event a brother is recom-
        mended for reappointment in the future.

    20. Report on Circuit Overseer’s Visit With Congregation (S-303):
        Only the most recent report is retained.

    21. Judicial Files and Other Confidential Reports: After a judicial
        committee, an appeal committee, a committee handling a request
        for disassociation, a reinstatement committee, or one or two el-
        ders handling a matter of wrongdoing have met with an individ-
        ual, a brief summary of the proceedings is prepared and signed
        by the elders involved. The summary should be prepared regard-
        less of the outcome of the meeting, for example, if the case was
        dismissed because of lack of evidence. (See 12:41-42.) The sum-
        mary should include only pertinent facts and the ﬁnal determi-
        nation of the person’s standing in the congregation; it should
        not contain personal opinions. Any personal notes should be de-
        stroyed. No judicial information should be posted on Congrega-
        tion’s Publisher Records (S-21).

    22. If the matter involves a disfellowshipping, disassociation, or rein-
        statement, the elders handling the case should ensure that only
        the following documents are placed in a sealed envelope:

           (1)   Brief summary of the proceedings.

           (2)   Notiﬁcation of Disfellowshipping or Disassociation
                 (S-77) form.

           (3)   Congregation’s Publisher Records if not reinstated.

           (4)   Any correspondence to or from the branch oﬃce
                 regarding the wrongdoer.

           (5)   Any letters requesting reinstatement.

           (6)   Any letter of disassociation.


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 23. If the matter involves judicial reproof or another matter involv-
     ing wrongdoing handled by one or two elders, the elders involved
     should ensure that the sealed envelope contains only the brief
     summary and any correspondence to or from the branch oﬃce
     regarding the wrongdoer.
 24. The following information should be written on the front of the
     sealed envelope:
        (1)   Name of the individual.
        (2)   Action taken by the congregation, if any, and the date
              of such.
        (3)   Any judicial restrictions imposed and the date the
              restrictions are removed.
        (4)   Names of the elders who handled the matter.
        (5)   The words “Do Not Destroy” for matters involving
              accusations of child sexual abuse (established or not).
 25. The sealed envelope should be placed in the congregation ﬁle by
     the secretary. If there is a need to open these ﬁles in the future,
     such as in connection with a plea for reinstatement, this should
     be done only by the elders who are assigned by the body to han-
     dle the matter.
 26. The sealed envelopes containing records on individuals who have
     not been reinstated should be kept indeﬁnitely. If the person has
     been reinstated a full ﬁve years or has died, usually the ﬁle should
     be destroyed unless the case involved an accusation of child sex-
     ual abuse or an adulterous marriage or the committee believes
     there is some other reason to retain it. The same retention pol-
     icy applies to records involving judicial reproof and wrongdoing
     handled by one or two elders. If it is determined that a sealed
     envelope should be retained after an individual has died, the date
     of death should be written on the outside of the envelope. If one
     or more of the elders who handled a speciﬁc case are no longer


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        available, the Congregation Service Committee will assign other
        elders to determine if the ﬁle should be retained.
    27. If a person entered into an adulterous marriage, the ﬁle should
        be kept for ﬁve years after the judicial action and thereafter as
        long as the innocent former mate is alive, unmarried, and has
        not been guilty of sexual immorality (por·neia).—See 12:10-12.


        USE OF ONLINE STORAGE SERVICES
    28. There is no objection to using online storage services for non-
        conﬁdential documents, such as those containing information
        that would be posted on the information board. However, infor-
        mation of a sensitive or conﬁdential nature, including judicial mat-
        ters, should never be stored online.—See 21:34.


        APPLICATIONS
    29. The My Proﬁle and My Applications features on jw.org are the pri-
        mary means for exemplary baptized publishers to submit appli-
        cations to serve as regular pioneers, to assist with theocratic
        construction projects and disaster relief, to serve at Bethel, or to
        attend the School for Kingdom Evangelizers. If a publisher wish-
        es to submit an online application and does not already have ac-
        cess to the My Proﬁle and My Applications features, he should be
        directed to the congregation secretary. The secretary should con-
        sult with the other members of the Congregation Service Com-
        mittee to determine whether the person is considered exempla-
        ry.—See 2:4 and Instructions for Congregation Use of JW.ORG
        (S-135).
    30. If the service committee determines that the prospective appli-
        cant is exemplary but he wishes to submit a printed application,
        the service committee should provide a copy of the appropriate
        application as well as any additional documents he needs to re-
        view before submitting the application. If he is applying to assist


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     with theocratic construction projects and disaster relief or for
     Bethel service, the service committee should arrange for him to
     view the appropriate videos.
 31. When a publisher submits an application for any service privilege,
     the service committee should obtain comments from the appro-
     priate group overseer and then meet promptly to consider the
     applicant’s qualiﬁcations. The service committee should use good
     judgment in determining when it would be wise to confer with
     the other elders. (Prov. 15:22) Once the service committee has
     decided whether to provide a favorable recommendation or not,
     the body of elders should be updated on how the matter was
     handled. This should be done before the application is submitted.
     (See Chapter 9, paragraphs 1-3, for direction on processing reg-
     ular pioneer applications.) If it is decided that the applicant can-
     not be given a favorable recommendation, two members of the
     service committee should meet with him and kindly explain the
     reasons. The two elders should also provide helpful guidance to
     the publisher so that he knows what he needs to do in order to
     qualify in the future.




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     CHAPTER TWENTY-THREE



     Field Ministry

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     CONGREGATION TERRITORY ASSIGNMENT
  1. The body of elders takes a keen interest in the progress of the
     preaching and teaching work in the congregation’s assigned ter-
     ritory. (Acts 10:42; od chap. 9) The service overseer will be helped
     to care for his assignment eﬀectively if he has the support of his
     fellow elders.—See Chapter 5.


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     2. The branch oﬃce provides a Congregation Territory Assignment
        (S-54) to each congregation. Any requests for adjustments to
        territory boundaries may be submitted using the Territory Adjust-
        ment Request (S-6). Local circumstances should be considered
        when determining the size of individual territories used for house-
        to-house work. The boundaries of individual territories may be
        shown on Territory Map Cards (S-12). Publishers should carry out
        all aspects of their personal ministry in harmony with applicable
        data protection laws.—Rom. 13:1.
     3. The breakdown of the congregation’s territory is commonly shown
        on a larger map of the entire area, with boundaries and individ-
        ual territory numbers clearly marked. Use of the Territory Assign-
        ment Record (S-13) will assist the brother caring for the territory
        ﬁles to identify territories that need to be covered. The congre-
        gation should endeavor to cover its entire territory assignment
        at least once a year.
     4. The circuit overseer may provide helpful suggestions to assist the
        congregation to give a thorough witness to everyone in its as-
        signed territory. However, if reasonable eﬀorts have been made
        and it is not possible for the congregation to cover its territory
        and sections of it have not been worked for at least two years,
        the circuit overseer may recommend to the branch oﬃce that
        some portions of the territory be assigned to nearby congrega-
        tions or listed as unassigned territory.


        WITNESSING IN PUBLIC PLACES
     5. Selecting Suitable Locations: After consulting with the other el-
        ders, the Congregation Service Committee will make the ﬁnal de-
        cision as to speciﬁc locations for public witnessing. Primary con-
        sideration should be given to areas of high pedestrian traﬃc that
        are most visible, taking local regulations into consideration. Pos-
        sible locations include transportation hubs, public squares, parks,
        busy streets, shopping malls, university campuses, airports, and


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     locations of annual events. (km 7/13 pp. 4-6) If the elders be-
     come aware of an opportunity to set up a literature display at a
     large event, such as a national or international book fair, they
     should contact the Service Department for further direction.
  6. Locations selected for public witnessing must be within the con-
     gregation’s territory boundaries. Where the territories of diﬀerent-
     language congregations overlap, the service overseers should
     communicate with one another so as to accomplish the most
     good while not overwhelming pedestrians or impeding access to
     businesses.
  7. Site Permission and Insurance Coverage: In some public loca-
     tions, permission may be needed from a manager or secular au-
     thority before setting up a literature display. The service overseer
     or someone else designated by the body of elders should deter-
     mine what may be legally required, if anything, in the way of per-
     missions, permits, and insurance coverage. Any application to
     use a mobile cart or to set up a table or kiosk to display litera-
     ture must be ﬁlled out in the name of an individual publisher, not
     in the name of the congregation, any corporation used by the or-
     ganization, or “Jehovah’s Witnesses.” If a small administrative fee
     is needed in order to acquire space in a public area, it is to be
     paid by the individual publisher, not the congregation. Publishers
     should carefully review any such applications or related docu-
     ments to see what responsibility they are taking upon themselves
     with respect to liability. Publishers who apply to distribute litera-
     ture at these areas are doing so on their own initiative as part
     of their personal ministry.
  8. At times, administrators or managers have waived insurance re-
     quirements when the voluntary and non-commercial nature of
     our Bible educational work was explained to them. Any meeting
     that is held with a location’s manager should be informal, such
     as one between neighbors in a community, and not a discussion
     of legal rights. If this meeting is unsuccessful or an excessive fee
     is required, the service committee should identify other public


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        areas within their congregation’s territory where public witness-
        ing could be eﬀective.
     9. Public Witnessing Equipment: The Congregation Service Com-
        mittee will determine what equipment (including posters) will be
        used and where it will be stored. Only artwork approved by the
        branch oﬃce should be displayed. Poster artwork may be rotat-
        ed periodically so that a variety of topics are featured through-
        out the month.
    10. Public witnessing equipment can be requested in the same way
        that publications are requested. The Public Witnessing Supplies
        (S-80) form contains sample pictures and descriptions for the
        standard carts, stands, magnetic boards, posters, and so forth.
        The equipment will remain the property of the congregation. Care
        should be taken to request only equipment that will be put to
        good use by publishers who have been trained in its use and that
        can be ﬁnancially supported by the congregation. The congrega-
        tion may be informed that the cost of the public witnessing equip-
        ment will be covered by their contributions to the worldwide work.
    11. Determining Who May Participate: The Congregation Service
        Committee will select qualiﬁed baptized publishers to participate
        in this feature of the ministry. Those selected should be ones who
        present themselves in a digniﬁed way. Their appearance and dress
        should be professional, well-arranged, and modest. They should
        demonstrate discernment and a willingness to witness in diﬀer-
        ent public settings, enjoy and promote good relations with oth-
        ers, and be willing to cooperate with the body of elders. If a
        parent is approved to participate in public witnessing, his well-
        behaved minor child (baptized or not) may accompany him. The
        service committee should use good judgment in deciding wheth-
        er a mature baptized minor may be approved to participate in
        public witnessing.
    12. If it is possible and practical, the service overseer or someone
        designated by the body of elders should organize a midweek and


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     weekend schedule for each selected location. There is an advan-
     tage to having the literature displays set up in the same location,
     on the same days, and at the same times. They serve as a con-
     stant feature readily recognized by those in the area.
 13. Providing Practical Training: The service overseer or someone
     designated by the body of elders will provide the initial training
     to ﬁeld service group overseers, their assistants, and publishers
     chosen to participate. The training should be based on Public Wit-
     nessing Guidelines (S-148), and a copy of that document should
     be provided to those participating. The group overseer and his as-
     sistant will monitor and assist publishers, and if additional train-
     ing is needed, the group overseer and the service overseer will
     provide reminders.
 14. Publishers should widely publicize jw.org and should be trained
     how to highlight its features. For example, those who hesitate to
     converse with us or accept literature may be more inclined to in-
     vestigate our website. (km 12/12 pp. 5-6) Publishers should know
     how to help an interested person access material in his language
     on jw.org, including sign-language videos that would appeal to
     the deaf and audio recordings that would appeal to the visually
     impaired.
 15. Displaying Literature: Taking into account local circumstances
     and interests, the service overseer will determine the quantity of
     literature to be displayed. Discernment is needed to ensure that
     literature will not be wasted or misused. (km 12/11 p. 2) The dis-
     play should be neat and digniﬁed. Experience has shown that
     a simple, appealing arrangement of literature is best. In many
     areas, it would be appropriate to feature just a few publications
     from the Teaching Toolbox that have wide appeal. During the an-
     nual campaigns for the Memorial and for the convention, the You
     Are Invited poster may be displayed and invitations distributed.
     Magazines and other literature in frequently-requested languages
     may be kept on hand. If more literature is needed than the quanti-
     ty allowed for request on jw.org, the Shipping Department should


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        be contacted. While Bibles should not be displayed on public wit-
        nessing equipment, they may be kept on hand to oﬀer to indi-
        viduals who request one or who demonstrate sincere interest in
        the truth. Additionally, a modest supply of the Return to Jeho-
        vah brochure should be kept on hand (though not displayed) for
        the beneﬁt of any inactive ones who are encountered.
    16. Use of Electronic Devices: If practical, a ﬂat screen monitor con-
        nected to a portable electronic device may be used at a litera-
        ture table or kiosk. The monitor could be used to display approved
        public witnessing posters, to demonstrate features of jw.org, or
        to play a short video, such as Why Study the Bible?
    17. Special Metropolitan Public Witnessing: If this separate initia-
        tive has been arranged in your area, additional information will
        be provided to the circuit overseers and congregations so that
        all may work together in an orderly and organized manner.—km
        7/13 pp. 4-6.


        UNIVERSITIES
    18. Before setting up a literature display at a university or other
        school in which the students are adults, it is usually best to ap-
        proach the principal, headmaster, or dean of the school. Those
        making such visits should be forthright in identifying themselves
        as Jehovah’s Witnesses. Schools or organizations for the deaf or
        the blind may especially appreciate knowing that Jehovah’s Wit-
        nesses provide literature in formats that may benefit such indi-
        viduals. The service overseer may train well-qualiﬁed publishers
        approved by the Congregation Service Committee to visit univer-
        sities and other schools.


        NURSING HOMES AND RETIREMENT HOMES
    19. Some publishers have had success in reaching elderly persons by
        approaching the manager or activities director of the facility and


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     volunteering their time to encourage residents who might enjoy
     Bible reading and discussion of Bible accounts. It may be ex-
     plained that volunteers from the congregation would be pleased
     to read Bible-based material, to conduct a free weekly Bible study,
     or to show Bible-based videos to anyone who wishes to attend.
     Oftentimes, the staﬀ, volunteers, family members of patients, and
     other visitors will join in the study. The service overseer may train
     well-qualiﬁed publishers approved by the Congregation Service
     Committee to make such visits.—km 6/14 pp. 2-4.

     HARBOR WITNESSING
 20. Harbor witnessing is a specialized ministry that requires specif-
     ic direction from the branch oﬃce. If there is a major harbor with-
     in a congregation’s territory and the elders have not yet received
     such direction, they should inform the Service Department of the
     name, location, and size of the port.

     PRISON WITNESSING
 21. See Chapter 28.

     WITNESSING DIFFICULTIES
 22. Individuals have a right to privacy and the right to prohibit any-
     one, including publishers, from entering their home or property.
     If a householder insists that no further visits to his home be made
     by Jehovah’s Witnesses, we respect his wishes. (Matt. 7:12; 10:
     13) Only the date of the request and the address of the home
     should be placed in the territory record so that publishers work-
     ing the territory in the future do not call at that address. The Con-
     gregation Service Committee should use good judgment in de-
     ciding whether to assign elders to contact such households every
     two or three years to conﬁrm the person’s wishes.
 23. If a manager insists that no further visits be made by Jehovah’s
     Witnesses to a subdivision or an apartment complex, publishers


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        should leave immediately. Thereafter, the elders should contact
        the Legal Department. If a government oﬃcial seeks to impose
        some restriction on our ministry, the elders should contact the
        Legal Department. In such situations, publishers should always
        respond in a polite and respectful manner.—Rom. 12:18; 1 Pet.
        3:15.
    24. If violent opposition arises, the elders should contact the Le-
        gal Department. Elders should be guided by Bible principles
        and direction from the branch oﬃce. (Matt. 5:44; 10:11-23;
        Rom. 12:17-21) Publishers may need to carry out their minis-
        try very discreetly. (Acts 5:29) The elders should help publishers
        avoid unnecessary problems.—Prov. 14:15; 17:14.


        SHOWING CONSIDERATION FOR THOSE
        INVOLVED IN ADDITIONAL THEOCRATIC
        ASSIGNMENTS
    25. Some brothers and sisters serve as commuter Bethelites, remote
        volunteers, or Bethel consultants. Others assist with construction
        and maintenance of Kingdom Halls, Assembly Halls, and Bethel
        facilities. Some brothers serve on Hospital Liaison Committees,
        Patient Visitation Groups, Disaster Relief Committees, or Conven-
        tion Committees. The ﬁeld service and congregation activity of
        those who care for these and other approved assignments in
        support of the organization may be aﬀected. Even if such ones
        are not regular pioneers and thus do not receive hour credit for
        this work, it would be helpful for them to include in the “Com-
        ments” section of their Field Service Report (S-4) a description
        of the theocratic responsibilities they cared for during that month.
        The secretary should make a note of this in the “Remarks” col-
        umn of the Congregation’s Publisher Record (S-21). The hours
        spent working on an approved assignment should not be includ-
        ed with the ﬁeld service report submitted to the branch oﬃce.
        The ﬁgure recorded in the “Hours” column of the Congregation’s


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     Publisher Record should reﬂect only the actual hours spent in
     ﬁeld service.—See Chapter 9, paragraphs 11-13, regarding how
     to note hour credits for regular pioneers involved in other theo-
     cratic activity.
 26. Elders can show their appreciation for those who care for extra
     theocratic assignments by ﬁlling in for them when they must be
     away and not being critical of their reduced ﬁeld service activity.
     Consideration along these lines should also be extended when
     reviewing brothers’ qualiﬁcations for recommendation as elders
     and ministerial servants.




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     Multilanguage Fields

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  1. Our objective is to reach everyone possible with the Kingdom
     message and to make disciples. (1 Tim. 2:3, 4) Therefore, it is
     good for bodies of elders to understand and cooperate with ar-
     rangements made to support those who speak another language.
     —od chap. 9 pars. 25-44.


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        FORMING PREGROUPS, GROUPS,
        AND CONGREGATIONS
     2. Pregroups: A pregroup consists of a number of publishers who
        are preaching in a language other than the language of the con-
        gregation, even though a qualiﬁed elder or ministerial servant is
        not available to conduct a weekly meeting in that language. The
        branch oﬃce may recognize a congregation as hosting a pre-
        group if the following requirements are met:
          (1)   A sizable population in the area speak a language
                other than the language of the congregation.
          (2)   At least a few publishers know the target language or
                are willing to learn the language.
          (3)   The body of elders is willing to take the lead in
                organizing the preaching in that language.
       If the body of elders desires to host a pregroup, the elders should
       consult with the circuit overseer. He may be aware of other con-
       gregations attempting to preach to people of that language and
       may provide valuable information that would help in determining
       which congregation would be in the best position to host the pre-
       group. Once that congregation has been determined, the elders
       should send a letter to the Service Department and request ap-
       proval to be formally recognized as a congregation hosting a pre-
       group.
     3. Groups: The branch oﬃce may recognize a congregation as host-
        ing a group if the following requirements are met:
          (1)   There are suﬃcient interest and potential for growth in
                a particular language ﬁeld.
          (2)   At least a small number of publishers speak the
                language or are learning the language.
          (3)   A qualiﬁed elder or ministerial servant is available to
                take the lead and conduct at least one weekly meeting


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             —or one portion of a weekly meeting, such as a public
             talk or a Watchtower Study—in that language.—See
             24:14-15.
       (4)   The body of elders is willing to host the group.
     When these requirements are met to a reasonable degree, the
     body of elders should send a letter with complete details to the
     Service Department requesting formal recognition as a congre-
     gation hosting a group. The elder or ministerial servant taking
     the lead would be considered the “group overseer” or “group ser-
     vant” responsible for taking care of the group.
  4. However, the group does not function independently. It works un-
     der the oversight of the body of elders. The elders should provide
     balanced direction and show initiative in caring for the group’s
     needs, including training publishers in the group to take on ad-
     ditional theocratic responsibilities. If the group is ever dissolved,
     the elders should notify the Service Department.
  5. Congregations: The circuit overseer helps the elders to prepare
     the necessary paperwork and to verify that it is correct and
     complete before he submits it to the Service Department. There
     should be suﬃcient population in the target language to allow
     the publishers to have a meaningful ministry. The publishers in-
     volved must be spiritually strong and be able to keep the con-
     gregation functioning actively. There is no speciﬁc number of el-
     ders and ministerial servants needed to form a congregation.
     However, the appointed brothers must be able to provide the nec-
     essary spiritual oversight and to take the lead in the preaching
     work. Any who are not native speakers should work diligently to
     become conversant in the language of the congregation.


     TERRITORY COVERAGE
  6. The elders should be modest in deciding how much territory
     a pregroup or group should work. The elders should direct the


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        publishers and pioneers to focus on the areas where there is a
        high concentration of those who speak the target language. In
        addition, since new ones will need to be directed to the host con-
        gregation in order to progress, areas within a reasonable travel-
        ing distance to the Kingdom Hall should receive the greatest at-
        tention. Once or twice a year, the elders may arrange to work
        more distant areas. The elders should direct the coverage of the
        territory so that the publishers and pioneers use their strength
        and valuable resources productively.—1 Cor. 9:26.

     7. Arrangements for covering the territory should comply with ap-
        plicable data protection laws.—od chap. 9.

     8. A pregroup or group may engage in the preaching work outside
        the territory of its host congregation. The service overseer of the
        host congregation would take the lead in contacting the service
        overseers of nearby congregations that have a large number in
        their territory who speak the target language. However, the el-
        ders should determine the number of congregations he will con-
        tact. (See 24:6.) Good communication between the bodies of
        elders and the circuit overseers involved will ensure that all lan-
        guage groups receive a ﬁne witness.

     9. When a pregroup or group is ready to begin preaching in anoth-
        er area, the service overseer may contact the body of elders of
        the congregation there to request help in locating those who
        speak the target language.
    10. Congregation territory assignments in multilanguage areas are
        made according to language. The direction in chapter 9 of the
        Organized book should be followed when working the territory.
        At times there will be some overlapping of our eﬀorts—for exam-
        ple, when family members of the same household speak diﬀerent
        languages. By concentrating our ministry on people who best un-
        derstand or prefer the language of the congregation we attend,
        we can accomplish much good.


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     HOST CONGREGATION
 11. The body of elders that hosts a pregroup or group must be will-
     ing to take an active interest in developing the target-language
     ﬁeld. Generally, the host congregation should be in the proximi-
     ty of the target-language community. Such a location enables the
     publishers to make the most of their ﬁeld service time and makes
     it easier for interested persons to attend the meetings. Other fac-
     tors to consider are the location of the publishers, the availabil-
     ity of a suitable Kingdom Hall, and access to public transporta-
     tion. At times, an adjustment may need to be made as to which
     congregation serves as the host congregation. If so, the bodies
     of elders involved should send a joint letter to the Service De-
     partment explaining why the change is needed and stating that
     the bodies of elders are in agreement with the change.
 12. The body of elders should be reasonable in what they expect of
     the publishers who are expending themselves in support of the
     group. For example, it would be a kindness to consider reducing
     the number of meeting parts that appointed brothers in the group
     present on the program of the host congregation. Consideration
     and mutual understanding will help all appointed brothers in the
     congregation to work together in carrying the load of responsi-
     bility.—Gal. 6:2, 5.


     MEETINGS
 13. Pregroups: Though a pregroup does not hold weekly meetings,
     the body of elders of the host congregation may arrange for meet-
     ings—or a portion of a weekly meeting, such as a public talk and/
     or a Watchtower Study—to be held periodically in the language
     of the pregroup. This would be helpful in determining the extent
     of support for meetings and the potential for growth in that lan-
     guage ﬁeld.
 14. Groups: In addition to the weekly meeting—or one portion of a
     weekly meeting—held by a group, the body of elders of the host


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        congregation may determine whether other portions of congre-
        gation meetings should be added and how often the meetings
        should be held during the month. For example, a group may hold
        a weekly Life and Ministry Meeting but arrange a public talk once
        or twice a month.
    15. A group should follow the meeting schedule as outlined in the
        target-language edition of the Life and Ministry Meeting Work-
        book. If the Life and Ministry Meeting Workbook is not produced
        in the target language, the elders may request a Congregation
        Bible Study schedule from the Service Department. The only por-
        tion of the Life and Ministry Meeting that a group should not han-
        dle on its own is the local needs part when it has been specif-
        ically chosen by the body of elders for the host congregation.
    16. Location: It is preferred that the meetings of pregroups and
        groups be held in an auxiliary room while the host congregation
        is conducting its meeting. In this way, those in the pregroup or
        group will beneﬁt from association with the host congregation.
        However, if there is an exceptional circumstance and the elders
        feel that such is not possible, the meeting of the pregroup or
        group may be held at another time, preferably at the Kingdom
        Hall. In such cases, all the bodies of elders using the Kingdom
        Hall must give their approval. (See 21:33.) If the meeting of the
        pregroup or group must be held at another time, publishers in
        the pregroup or group are expected to attend the host congre-
        gation’s regularly scheduled meetings.
    17. Recordings and Audio/Video Tie-In: It is preferable for congre-
        gation meetings to be conducted locally. However, if this is not
        yet possible, a pregroup, group, or small or isolated congrega-
        tion may request approval from their circuit overseer to view re-
        corded meetings or portions of meetings in the target language
        using JW Stream. (In most cases, the meetings available on JW
        Stream will be recorded on Monday evening and Saturday morn-
        ing. Thus, pregroups, groups, and small or isolated congregations


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     desiring to make use of such recordings should hold their meet-
     ings at times that will allow them to view the current week’s
     recordings.) The circuit overseer will approve which pregroups,
     groups, or small or isolated congregations in his circuit will view
     such recordings and to what extent. (See 24:13-15.) Some con-
     gregations may request approval to use the provision occasion-
     ally for the public talk. If a small or isolated congregation is ap-
     proved to view recorded meetings periodically, it should strive to
     conduct all of its own meetings as soon as possible. Although
     recordings may be used for the meetings, prayers should be said
     locally.
 18. If recordings of congregation meetings are not available on JW
     Stream, a pregroup, group, or small or isolated congregation may
     request approval from the circuit overseer to tie in to the meet-
     ings or portions of meetings of a congregation holding meet-
     ings in the target language. (See 24:13-15.) The circuit overseer
     will approve which pregroups, groups, or small or isolated con-
     gregations in his circuit will make use of this provision and to
     what extent. With the exception of sign-language congregations
     or groups, congregations transmitting video should transmit only
     what transpires on the stage. Footage of the audience or any oth-
     er areas of the venue should not be transmitted. It is important
     for the body of elders of a host congregation to maintain good
     communication with those in the pregroup or group and with the
     body of elders of the congregation transmitting the meetings in
     the target language.
 19. Interpretation: Generally, simultaneous interpretation at the con-
     gregation level for languages other than sign language is not rec-
     ommended. (For direction on sign-language interpretation see
     Chapter 20, paragraphs 28-35.) Some who are not ﬂuent in the
     language of the congregation ﬁnd it helpful to prepare well for
     the meetings in their mother tongue to the extent possible before
     listening to the meetings. Others may appreciate help in locat-
     ing certain Bible texts. Publishers who know the target language


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        may also share the highlights of the meetings at another appro-
        priate time. However, if the body of elders feels there is merit in
        having some of the program interpreted simultaneously, good
        judgment is essential. If the number of qualiﬁed interpreters is
        limited, it may not be possible to interpret each part. The parts
        to be interpreted and who will interpret them should be assigned
        well in advance. An auxiliary room should be used so as not to
        distract others. Interpreters should be exemplary baptized pub-
        lishers.
    20. Recording Attendance: The attendance of the meetings of a pre-
        group or group is included with that of the host congregation in
        the Congregation Meeting Attendance Record (S-88). The only
        exception to this is if the meetings of the pregroup or group are
        held at a time diﬀerent from the host congregation’s meetings.
        In such cases, the attendance would not be included with the
        host congregation’s, since it is expected that the pregroup or
        group would have also attended the host congregation’s meet-
        ing. Neither would the attendance of a pregroup or group that
        tied in to another congregation’s meeting be included with the
        transmitting congregation’s attendance. In any case, a separate
        record of the attendance of a pregroup or group may be kept so
        that the elders can review its progress.
    21. Songs: In rare instances when the song being sung in the main
        auditorium is not available in the language of the pregroup or
        group, it may be possible to turn oﬀ the sound from the main
        auditorium and an alternate song may be selected and sung in
        the auxiliary room, provided it does not cause disturbance for
        those singing in the main auditorium.
    22. Memorial: If a qualiﬁed speaker is available, the body of elders
        of the host congregation may make an arrangement to present
        the Memorial talk in the language of the pregroup or group.—See
        Chapter 20, paragraph 10, for direction on use of recordings of
        the Memorial talk if a qualiﬁed speaker is not available.


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 23. During the Visit of the Circuit Overseer: A group may hold its
     meetings even when the circuit overseer is visiting the host con-
     gregation. However, the group will rejoin the host congregation
     for all of the service talks and the public talk that the circuit over-
     seer presents. Consideration could also be given to simultaneous
     interpretation of the talks for the beneﬁt of the group.


     ASSISTING PUBLISHERS
 24. A publisher desiring to learn another language to expand his min-
     istry should be commended and encouraged to count the cost.
     (Luke 14:28) This may involve adapting to a new culture and trav-
     eling farther from home in order to support preaching arrange-
     ments and meetings in the target language. Therefore, elders
     should encourage publishers to do research in our publications
     and evaluate matters carefully and prayerfully. For example, fam-
     ily heads must evaluate their children’s needs realistically, putting
     their children’s spiritual well-being ahead of personal preferences.
     (1 Cor. 10:24; w17.05 pp. 8-12; w16.10 pp. 13-17) Discussions
     about what it takes to be successful should be positive and re-
     alistic. If publishers decide to learn another language, a copy of
     Suggestions for Publishers Learning Another Language (S-394)
     should be provided to them.
 25. It may require considerable time for a publisher to become con-
     versant in a new language. Many progress when they become ful-
     ly absorbed in congregation activities. They should be encour-
     aged to participate in the meetings as soon as possible, including
     making themselves available to present student assignments on
     the Life and Ministry Meeting. The elders may organize a special
     reading class. (be p. 285) If appropriate and practical, arrange
     for qualiﬁed publishers who are conversant in the language to
     work in the ministry with those who are learning the language.
     Use a simple vocabulary and speak clearly and correctly in your
     conversations with them. Commend them for their eﬀorts to prog-
     ress in the language.


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    26. A publisher who has moved to a diﬀerent-language congregation
        may need personal assistance if his struggle with the language
        is impeding his spiritual progress. Is the publisher beginning to
        comprehend the congregation meetings? Does he participate at
        the meetings, making brief comments? Does he give understand-
        able presentations in the ministry? Is he staying spiritually strong,
        cultivating the fruitage of the spirit, and working for the peace
        of the congregation? The answers to such questions will guide
        the elders in determining what may need to be recommended to
        the publisher so that he maintains strong spirituality. In some
        cases, they may recommend that the publisher consider return-
        ing to a congregation in his native tongue.


        CIRCUIT ASSEMBLIES AND CONVENTIONS
    27. Publishers in a pregroup or group are encouraged to attend as-
        semblies and conventions held in the language of the pregroup
        or group, if they are able to do so, even if those events fall on
        the same weekends as the assemblies and conventions to which
        their host congregation has been assigned. When the assembly
        or convention of the host congregation is on a different week-
        end, some publishers may choose to attend both events, but they
        should not feel compelled to do so. Questions regarding the in-
        terpretation of circuit assemblies and conventions or tying in to
        or making use of recordings of circuit assemblies and conven-
        tions in another language should be forwarded to the circuit over-
        seer. If approval is given for pregroups or groups to view record-
        ings of assemblies or conventions in the target language, it is
        preferred that these recordings be viewed at the same time and
        in the same location that their host congregation attends the
        event, perhaps in an auxiliary room. If this is not possible, the
        pregroup or group should attend the event with their host con-
        gregation and then tie in to or watch a recording of the event in
        the target language at another time and location.


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     SIGNS, YEARTEXT, AND INVITATIONS
 28. Arrangements can be made for a Kingdom Hall sign to be post-
     ed in the language of the group if it is determined that the group
     is well-established and that it will continue to hold at least one
     weekly meeting or portion of a meeting at the Kingdom Hall. (km
     1/90 p. 8) If possible, the sign listing the schedule for the meet-
     ing times of the congregations should also include the meeting
     schedule of the group. Consideration can be given to display-
     ing the yeartext in that language. (See 21:38.2.) The host con-
     gregation may request invitations from the branch oﬃce in the
     language of the group to advertise its weekly meeting(s). The
     group should not make its own posters or ﬂyers for advertising
     its meetings.




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  1. In imitation of Jehovah God and Jesus Christ, elders “shepherd
     the ﬂock of God” under their care. (1 Pet. 5:2, 3) This includes
     protecting the congregation so that no one is lost through ne-
     glect or because of the inﬂuence of Satan, the world, or apos-
     tates. (Acts 20:29, 30) It involves taking a loving and active in-
     terest in the spiritual, emotional, and physical needs of others.
     (Jas. 1:27; 2:15, 16) The objective of shepherding is to impart a
     spiritual gift that is faith-strengthening and to provide needed
     commendation and encouragement. (Rom. 1:11, 12) This requires
     that elders maintain regular contact with each family in the con-
     gregation. (Prov. 27:23) While group overseers should arrange to
     shepherd periodically all in the groups, there is no need for the
     body of elders to keep records of shepherding calls. Nor is it
     necessary for the body of elders to assign one elder to make
     general shepherding call assignments. Whether serving as group


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        overseers or not, all elders should sense their personal respon-
        sibility to shepherd the congregation.—Eph. 4:15, 16.

     2. One way elders shepherd the ﬂock is by giving well-prepared
        Scriptural talks. Another is by engaging individuals in positive,
        encouraging conversations before and after the meetings and
        while sharing in the ministry. Still another means is by making
        shepherding calls. Eﬀective shepherding calls may be made at
        the homes of the publishers, at the Kingdom Hall, or at other ap-
        propriate locations. Shepherding may also be provided by tele-
        phone or by letter.—John 21:15-17.


        SHEPHERDING CALLS
     3. Elders and qualiﬁed ministerial servants who join the elders in
        making shepherding calls should keep the following points in
        mind:

          (1)   Prepare: Pray for Jehovah’s guidance as you consider
                the needs and circumstances of the individual or family
                to be visited. Although the visit should not be scripted,
                it is appropriate to give advance thought to Scriptural
                encouragement or counsel that will be most beneﬁcial.
                Do research in the publications of the faithful slave.
                (Matt. 24:45; Heb. 12:12, 13) When making the visit, be
                willing to be ﬂexible, since the need may not be what
                you had anticipated.

          (2)   Determine Whom to Take Along: It is usually best
                for two elders or an elder and a qualiﬁed ministerial
                servant to make a visit together. (See 25:12.) If you
                expect to discuss a conﬁdential or serious matter, two
                elders should make the visit. Otherwise, a qualiﬁed
                ministerial servant may join an elder, with the elder
                taking the lead.—See 25:4-6.


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       (3)   Make an Appointment: It is usually best to make
             an appointment. If there is a serious problem to be
             discussed, use good judgment in deciding whether the
             publisher should be informed of this before the visit.
       (4)   Be Encouraging: Maintain a relaxed and positive
             atmosphere. Express genuine concern and be quick to
             listen.—Jas. 1:19; 5:11.
       (5)   Use the Bible: The Bible should be the primary source
             of direction and encouragement. Skillful use of God’s
             Word allows Jehovah’s thoughts to reach the heart of
             the publisher.—Isa. 30:21; Heb. 4:12.
       (6)   Duration of the Call: Keep to the agreed time. If
             necessary, another visit can be arranged.—Eccl. 3:1;
             Matt. 5:37.
       (7)   Pray: In your prayer, mention the person or family by
             name and any adversity or trial they may be dealing
             with.—Phil. 4:6, 7; Col. 4:12.
       (8)   Respect Privacy and Maintain Conﬁdentiality: Do not
             meddle in personal matters. (1 Thess. 4:11) Spiritual
             shepherds promote a loving, familylike spirit in the
             congregation by being trustworthy friends who are
             known to maintain conﬁdentiality.—Prov. 10:19; 20:19;
             25:9.


     TRAINING MINISTERIAL SERVANTS
  4. Timothy learned by serving alongside the apostle Paul. (2 Tim. 2:
     1, 2) Elders imitate Paul’s example by taking qualiﬁed ministeri-
     al servants along on shepherding calls when appropriate. This
     provides an opportunity for these ministerial servants to observe
     ﬁrsthand the teaching, faith, patience, and love required of Chris-
     tian overseers.—1 Tim. 3:1.


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     5. Prior to making a shepherding call with a ministerial servant, the
        elder should discuss with him how he hopes to handle the shep-
        herding call. The ministerial servant could be asked to prepare an
        encouraging Scriptural point or a faith-strengthening experience
        that would ﬁt the needs of the individual or family to be visited.
        The ministerial servant could also be asked to conclude the vis-
        it with prayer. After the visit, the elder should review with him
        how the visit went, providing commendation and suggestions as
        needed.

     6. Under the direction of the elders, a group servant along with an-
        other ministerial servant may make spiritually encouraging visits
        on those in the group. (See 7:1.) The group servant should keep
        the elders updated after each such visit. If a conﬁdential or se-
        rious matter comes up during the visit, the group servant should
        tactfully inform the publisher that it would be best for the mat-
        ter to be handled by the elders.


        RECOGNIZING SPIRITUAL WEAKNESS
     7. Symptoms of spiritual weakness may include loss of enthusiasm
        for the truth, neglecting daily Bible reading and personal study
        or attendance at congregation meetings, missing entire months
        of field service activity, undue emphasis on the pursuit of plea-
        sure or material things, or criticizing the elders and the organi-
        zation.

     8. When shepherds detect signs of spiritual weakness, they use the
        Scriptures to remind the publisher of the importance of praying
        for holy spirit; reading the Bible daily; studying Christian publica-
        tions; meditating on Scriptural matters; regularly attending meet-
        ings, assemblies, and conventions; regularly participating in ﬁeld
        service; and being willing to accept spiritual help from those tak-
        ing the lead.—Ps. 1:1, 2; 77:12; Luke 11:13; Acts 20:20, 21; Heb.
        10:23-25; 13:17.


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     GIVING EFFECTIVE COUNSEL
  9. Elders are alert to give Scriptural counsel before bad trends be-
     come ingrained. (Prov. 27:5, 6) Prayerful advance thought to the
     content of the counsel and how you will present it will increase
     its eﬀectiveness. (Gal. 6:1) The following points will be helpful:

        (1)   Take suﬃcient time to listen and get all the facts.
              —Prov. 18:13; Jas. 1:19.

        (2)   The tone of the conversation should be warm and
              loving. The publishers are Jehovah’s sheep and should
              be treated with tenderness. (Ps. 100:3) Exhortation
              should be prefaced by speciﬁc, sincere commendation.

        (3)   Elders should base their expressions on the Bible and
              Bible-based publications, not their opinion.

        (4)   On sensitive matters, such as dress and grooming and
              entertainment, it is wise to seek the observations of
              another elder before providing counsel.—Eccl. 7:16.


     ASSISTING THOSE WITH MARITAL PROBLEMS
 10. If a Christian experiences marital diﬃculties resulting in one or
     both parties approaching the elders to seek help, the elders
     should provide loving counsel based on the Scriptures and Chris-
     tian publications. If both mates are Christians, it is usually best
     to have both present. However, if only one mate is present, the
     elders will discuss what that one can do to improve the situation.
     Because elders cannot know everything that occurs in a mar-
     riage, they should avoid taking sides.—Prov. 18:13.
 11. If a Christian is contemplating separation, the elders should di-
     rect his attention to the Scriptures and Christian publications.
     (1 Cor. 7:10, 11; lvs pp. 250-251) If the Christian is contemplat-
     ing divorce, the elders should explain that a legal divorce of itself


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        does not free an individual to remarry. (Matt. 19:9) Elders should
        not encourage separation or divorce; neither should they forbid
        such. These are personal matters, and each Christian will have to
        accept the consequences of his decision. (Gal. 6:7) However, the
        elders may determine that a publisher’s decisions in this area dis-
        qualify the individual from receiving special privileges normally
        given to those viewed as exemplary.—See 2:4; 8:9.


        ASSISTING SISTERS
    12. An elder or ministerial servant must never meet alone with or be-
        come the sole conﬁdant of a sister who is not closely related to
        him. (Prov. 22:3; Jer. 17:9) If possible, the body of elders should
        arrange for diﬀerent pairs of elders to shepherd a sister who
        needs ongoing assistance. It is appropriate for an elder to speak
        with a sister while in full view of others at her home, at congre-
        gation meetings, or in the ﬁeld ministry.


        ASSISTING INACTIVE ONES
    13. Jehovah never forgets his worshippers who stray from the fold.
        (Ezek. 34:11) Elders have the responsibility to search diligently
        for sheep who have strayed. (Matt. 18:12-14; 1 Thess. 5:14; rj
        pp. 4-5) Helping a fellow Christian who has become inactive calls
        for prayerful reliance on God, the guidance of his spirit, and skill-
        ful use of his Word. Elders may read scriptures, review an arti-
        cle, discuss meeting highlights, pray with the inactive one, and
        so forth. (2 Cor. 1:3-7; Jas. 5:13-15) A visit, a telephone call, or a
        letter can accomplish much good.—w08 11/15 pp. 8-16; rj pp. 12-
        15; cl pp. 240-249.
    14. To ensure that inactive ones are not overlooked, the Congrega-
        tion Service Committee should assign each one of such to a ﬁeld
        service group. Though the names of inactive ones should not ap-
        pear on any list that is posted on the information board, the


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     group overseer and his assistant should be made aware of the
     person’s circumstances and contact information.
 15. Each year prior to the special talk and Memorial, a special eﬀort
     should be made to contact all inactive ones living in the congre-
     gation’s territory. If group overseers and their assistants need
     help, the service committee may ask other elders and qualiﬁed
     ministerial servants to work along with the group overseers. The
     brothers making such visits should be warm and upbuilding. In
     addition to extending an invitation to the special talk and the Me-
     morial, ensure that the inactive publisher is provided a copy of
     the Return to Jehovah brochure. If circumstances permit, Scrip-
     tural encouragement tailored to the individual’s needs may be
     shared.
 16. If the inactive one expresses a desire to resume activity with the
     congregation, a Bible study may be oﬀered. If the study is ac-
     cepted, the service committee will then determine who will con-
     duct the study and for how long, as well as what publication
     should be studied.
 17. If a person has been inactive for only a short time, encourage-
     ment and practical assistance from an experienced publisher may
     be all that is needed to reactivate the individual. On the other
     hand, before inviting a longtime inactive one to share in the min-
     istry, two elders should meet with him to see if he meets the ba-
     sic requirements. This is similar to the procedure for approving
     new publishers as outlined in chapter 8 of Organized to Do Je-
     hovah’s Will.
 18. An inactive one who has been involved in serious wrongdoing and
     desires to return to the congregation may feel that if he confess-
     es his wrongdoing to the elders, he will be disfellowshipped. But
     he will not be expelled from the congregation if he has discon-
     tinued the unscriptural practice and is genuinely repentant.—Isa.
     1:18; 55:7; 2 Cor. 7:10, 11; Jas. 5:13-16; w08 11/15 pp. 14-15
     pars. 12-13; rj pp. 10-14.


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        ASSISTING VICTIMS OF ABUSE
    19. See 14:12-17.


        DISFELLOWSHIPPED OR DISASSOCIATED ONES
    20. There is no formal arrangement to visit disfellowshipped or dis-
        associated individuals each year. Rather, elders should use good
        judgment in determining whether and how to make brief contact
        with such ones. For example, if a disfellowshipped individual gives
        some evidence of changing his ways, an elder could provide him
        with a copy of the Return to Jehovah brochure and remind him
        of the steps he can take toward being reinstated. (Isa. 1:18; rj
        pp. 10-14) Such brief contact could be made while an elder en-
        gages in the house-to-house ministry. While shopping, an elder
        may see a disfellowshipped person who has not been contacted
        in years and choose to approach him. An elder may visit a dis-
        fellowshipped person at any time that is appropriate or even make
        contact by telephone. Elders should keep the coordinator of the
        body of elders updated when such contact is made. Of course,
        contact should not be made with active apostates, with those
        who are trying to lead others into sin, or with those who have
        made it known that they want nothing to do with the Christian
        congregation.




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     CHAPTER TWENTY-SIX



     Disasters and
     Emergencies

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       Provide Ongoing Practical Support                                      ........................................................   12
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     PREPAREDNESS
  1. If advance warning of a disaster is given, elders should ensure
     that all publishers are in a safe location and, if time permits,
     should obtain and distribute any supplies that may be needed.
     The following steps should be taken in preparation for disasters
     and various types of emergencies, even if it seems that such are
     not likely in your area:


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     2. Confirm Contact Information: The secretary should maintain a
        list containing the contact information and emergency contact
        information for all publishers, including inactive ones. This list
        should also include the circuit overseer’s contact information.
        Whenever there is an update to this list, the secretary should
        promptly provide a copy to all elders. Each elder should ensure
        that he has ready access to this information. Keep in mind that
        following a disaster, electronic ﬁles may not be accessible if pow-
        er or Internet service is disrupted.
     3. Make Arrangements for Those With Special Needs: The Con-
        gregation Service Committee together with the ﬁeld service group
        overseers should develop a plan to assist those with special
        needs, such as the elderly.
     4. Secure Congregation Records: Congregation records and con-
        ﬁdential ﬁles should be secure and safely stored at all times. In
        addition, the Congregation Service Committee should develop a
        plan to protect the records in the event of an impending disas-
        ter.—See 22:10.
     5. Review Arrangements With the Body of Elders: Annually, dur-
        ing an elders’ meeting, the local preparations should be reviewed.
     6. Annual Part on Midweek Meeting: Once a year a part about di-
        saster preparedness will be included in the midweek meeting. In
        that part, time is alloted for reminders from the branch oﬃce
        and the body of elders, if necessary. If your congregation will
        be attending a circuit assembly or a convention the week that
        the part is scheduled, you should schedule the part sometime in
        the weeks that follow.

        WHEN A DISASTER OCCURS
        IN THE LOCAL AREA
     7. Contact All Publishers: When the congregation is aﬀected by a
        disaster, elders should quickly make an assessment of the imme-
        diate needs of the publishers. Group overseers should take the


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     lead in locating each family in their field service group, including
     inactive ones, and should inquire of their well-being.
        (1)   Determine and address immediate needs, such as
              medical care, food, water, shelter, clothing, and other
              basic items.
        (2)   Determine the condition of the brothers. Are any
              displaced, missing, injured, or deceased?
        (3)   Determine the basic condition of their homes. Are there
              power or utility outages? Are any homes damaged or
              destroyed?
  8. Update the Coordinator of the Body of Elders: As soon as pos-
     sible (usually within one day), group overseers should communi-
     cate their findings to the coordinator of the body of elders, even
     if the information is incomplete or no one has been affected.
     Continue to provide daily updates until all of the publishers have
     been accounted for.
  9. Update the Circuit Overseer: Once this information is gathered,
     the coordinator of the body of elders should immediately inform
     the circuit overseer of any damage and the health condition of
     those in the congregation. He should also inform the circuit over-
     seer if the Kingdom Hall was damaged or destroyed. Continue to
     provide daily updates until all of the publishers have been ac-
     counted for. When the circuit overseer has received the report
     from the elders, he will promptly contact the branch office. The
     branch office will determine whether there is a need for further
     assistance.
 10. Be Safety Conscious: Before volunteers assigned by those coor-
     dinating the relief effort arrive, it is expected that those in the af-
     fected and surrounding areas will reach out to try to assist with
     the immediate needs of those in their congregations. However,
     when providing assistance, it is vital that all remember to use
     modesty in what they are qualified to do. It may be that the sit-
     uation is hazardous or that buildings could be susceptible to


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        collapse. No one should endanger himself for material posses-
        sions.
    11. Shepherd the Publishers: Give spiritual and emotional support
        to the congregation, and resume congregation meetings as quick-
        ly as possible.—od chap. 17 pars. 15-16.
    12. Provide Ongoing Practical Support: If the damage was exten-
        sive or the relief eﬀort will continue for weeks or months, elders
        should be alert to do the following:
           (1)   Identify congregation publishers who could oﬀer
                 temporary accommodations for those who are
                 displaced or for construction volunteers.
          (2)    Ensure that relief supplies are distributed adequately
                 and equitably to families in need.—Acts 6:1.
          (3)    Accompany Local Design/Construction Department
                 (LDC) ﬁeld personnel when visiting publishers to survey
                 property damage.
          (4)    Help publishers determine if they qualify to apply for
                 government aid. Before they submit an application for
                 such, ensure that publishers understand what would be
                 required of them after they receive the help. These are
                 personal matters for publishers to consider before
                 entering into an agreement.
          (5)    Help the LDC to determine which publishers qualify
                 for reconstruction assistance from the organization,
                 based on direction from the branch oﬃce.—od chap. 12
                 pars. 12-15.


        WHEN A DISASTER OCCURS
        IN ANOTHER AREA
    13. If a disaster occurs in another area, elders can remind the pub-
        lishers of the following points:


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       (1)   We should remember our brothers and sisters in our
             prayers.—2 Cor. 1:8-11.
       (2)   Those desiring to provide monetary assistance may
             donate to the worldwide work. In this way, the
             organization can help to care for the needs of any in
             the worldwide brotherhood.
       (3)   Materials or supplies should not be sent to the disaster
             area unless speciﬁcally requested by the brothers in
             charge. This will ensure an orderly relief eﬀort and the
             proper distribution of goods.
       (4)   The branch oﬃce should not be called merely for
             information, as this can tie up phone lines that are
             needed to handle incoming calls from the disaster area.
       (5)   Publishers should not travel to the aﬀected area to
             help unless they have been invited to do so by those
             coordinating the relief eﬀort. Volunteers should have an
             approved Local Design/Construction Volunteer
             Application (DC-50) or Application for Volunteer
             Program (A-19) on ﬁle.




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     CHAPTER TWENTY-SEVEN



     Weddings

                                                                                                    Paragraphs
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     Use of the Kingdom Hall ........................................................................................ 6



  1. Weddings that are organized in harmony with Bible principles hon-
     or Jehovah. This is especially true with regard to weddings that
     are held at the Kingdom Hall.

     PRESIDING AT WEDDINGS
  2. If available, an elder should be used to preside at a Christian wed-
     ding. A couple may request a speciﬁc elder to give their wedding
     talk. Otherwise, the body of elders may select an elder to do
     so. In many lands, the government authorizes ministers of Jeho-
     vah’s Witnesses to administer the marriage vows.—w06 10/15
     pp. 18-23.
  3. An elder may preside at a wedding of two Christians or of two un-
     baptized publishers who are progressing toward baptism. (1 Cor.
     7:39; 2 Cor. 6:14; w04 7/1 pp. 30-31) Before agreeing to do so,
     he should consider the following:
         (1)       Conﬁrm that the prospective bride and groom
                   are Scripturally and legally free to marry, and conﬁrm
                   their standing in their respective congregations. (See
                   2:4.) Meet with the couple to make tactful but
                   straightforward inquiries about their conduct during
                   courtship.
         (2)       If either the prospective bride or groom was married
                   before, he or she should have provided convincing


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                evidence to the elders that establishes his or her
                Scriptural freedom to remarry. (Heb. 13:4; see 12:71-
                76.) The elder presiding at the wedding should conﬁrm
                this is the case and should review a copy of the
                divorce decree or other similar legal document to
                conﬁrm that the divorce was ﬁnalized. If there is any
                question about the matter of Scriptural freedom to
                remarry, the body of elders should write to the Service
                Department to clarify matters before the wedding.

          (3)   An elder who decides to give a wedding talk must
                conﬁrm that he is permitted by law to administer the
                vows in the town or community where the wedding will
                take place. (Rom. 13:1) The local authorities may
                require that a minister who performs weddings register
                and provide proof of his ordination. In some lands, the
                authorities may accept a letter signed by the body of
                elders conﬁrming the brother’s appointment as an elder
                in the local congregation. If this does not suﬃce, the
                elder should determine the exact requirements and
                then, if necessary, write to the Service Department for
                assistance. If the elder is not permitted by law to
                administer the vows, another elder who meets such
                legal requirements may administer the vows
                immediately after the wedding talk. The elder who
                administers the vows would complete the necessary
                documents.

     4. Those who are engaged to be married are in particular need of
        shepherding by loving elders. Scriptural encouragement can help
        them make a success of their wedding and their future marriage.
        They should be encouraged to do research in the Bible and Chris-
        tian publications. Such prayerful study will strengthen them to
        remain chaste during courtship and will help them to plan their
        wedding in a way that will honor Jehovah and leave them with a


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     clean conscience. (1 Cor. 10:31, 32) For example, if they are plan-
     ning a wedding reception, they should be reminded to review the
     latest material published by the faithful slave.—w06 10/15 pp. 18-
     31; w00 5/1 pp. 19-22; w97 4/15 pp. 23-26; lvs pp. 180-181, 251-
     252.
  5. The wedding talk is based on the outline “Honorable Marriage in
     God’s Sight” (S-41). The talk should highlight the God-given re-
     sponsibilities that married couples must assume and carry out in
     harmony with the Scriptures. The talk should be delivered with
     love, warmth, dignity, honor, and seriousness. The speaker should
     resist the temptation to make funny remarks just for the sake of
     making the audience laugh, since this could betray a lack of re-
     spect for the audience and for God. During a wedding talk, the
     speaker should not project any moving video footage on screens
     or monitors. However, a few appropriate still images during such
     a talk are acceptable as visual aids. (See 20:20.) If any video
     footage is used before or after a wedding talk, it should be in
     good taste. The aforementioned direction regarding video foot-
     age also applies in connection with a funeral talk.


     USE OF THE KINGDOM HALL
  6. A prospective bride and groom who wish to use a Kingdom Hall
     for their wedding should submit a written request to the elders
     well in advance of the wedding date indicating the speciﬁc day
     and time they desire to use the hall. (od chap. 11 pars. 10-11; km
     11/08 p. 3) The Congregation Service Committee should meet
     promptly to consider the following:
       (1)   Conﬁrm that the prospective bride and groom are
             Scripturally and legally free to marry and that they are
             in good standing in their respective congregations.
             (See 2:4.) If this is true of two unbaptized publishers
             who are progressing toward baptism, they may be
             approved to use the Kingdom Hall. An undocumented


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                alien may use the Kingdom Hall for his wedding if he
                meets the civil marriage requirements and he is
                otherwise qualiﬁed as outlined above.—See 29:3-7.
          (2)   The time of the wedding and any rehearsal should not
                interfere with scheduled meetings or other scheduled
                programs at the Kingdom Hall. If other congregations
                share the hall, the service committee should conﬁrm
                the hall’s availability with the other service committees.
          (3)   The service committee decides whether there is a need
                to make a brief announcement to the congregation
                about the use of the Kingdom Hall for a wedding.
          (4)   The service committee should be kept up-to-date on
                the couple’s plans regarding the use of the Kingdom
                Hall. For example, any decoration of the Kingdom Hall
                or rearrangement of the chairs must be approved by
                the service committee. Only music from “Sing Out
                Joyfully” to Jehovah should be used. The wedding
                party should not include any disfellowshipped person
                or anyone whose lifestyle grossly conﬂicts with Bible
                principles; baptism is not a requirement. Anyone
                assigned to take photographs or to record the
                ceremony should do nothing that would cause a
                distraction during the talk or that in other ways would
                detract from the seriousness and dignity of the
                occasion.
          (5)   If it is learned that the couple has engaged in serious
                wrongdoing that will require handling by a judicial
                committee, the couple may not use the Kingdom Hall. If
                neither is disfellowshipped, it is left to the discretion of
                the elder as to whether he will preside at the wedding
                at another location.




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     Prisons
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  1. One or more prisons may be located within the congregation’s
     assigned territory. Though visits to prisoners are often restrict-
     ed, it may be possible for publishers to receive permission from
     prison authorities to visit individuals who have requested spiritu-
     al help. (Matt. 5:3) The guidelines in this chapter may apply to
     other facilities where access to the general public is not allowed.


     CONTACT CONGREGATION
  2. The branch oﬃce will assign one or more congregations to serve
     as contact congregations to take the lead in following up initial


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        interest and in caring for the long-term spiritual needs of pris-
        oners who study the Bible and become Jehovah’s Witnesses.

     3. The Congregation Service Committee of the contact congrega-
        tion selects qualiﬁed, baptized, adult publishers to participate in
        this feature of the ministry. (Matt. 10:16) The service overseer
        takes the lead in coordinating their work. If needed, qualiﬁed pub-
        lishers from nearby congregations may be included if approved
        by their service committees. Appropriate portions of this chap-
        ter should be shared orally with publishers approved to partic-
        ipate in this aspect of the ministry.

     4. If a congregation is unable to continue to serve as the contact
        congregation, the service committee should send a letter to the
        Service Department providing the reason. If the brothers know
        of another congregation that is willing to serve in their place, the
        letter should be approved by both service committees. The branch
        oﬃce will indicate in writing whether or not the recommendation
        is approved.


        CORRESPONDENCE WITH
        THE BRANCH OFFICE
     5. The congregation secretary is responsible for sending correspon-
        dence to the Preaching Needs Desk in the Service Department
        regarding the work at the facility. The complete name and ad-
        dress of the prison should always be included in the correspon-
        dence. If there is a need to communicate about the spiritual needs
        of a speciﬁc prisoner, include his name and identiﬁcation num-
        ber, if known.

     6. The Prison Information (S-68) form is used to submit updated
        information to the Service Department regarding facilities. If sev-
        eral diﬀerent yards or units are in the facility, a separate form for
        each unit should be submitted.


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  7. For direction regarding an inmate who has been accused of child
     abuse and who is now associating with a congregation, see Chap-
     ter 14, paragraphs 9 and 27.


     COMMUNICATION WITH PRISON OFFICIALS
  8. A pleasant, persistent approach is often successful. Elders should
     keep appointments with inmates and oﬃcials and adhere to the
     regulations of the institution. When proof of ordination as a min-
     ister is required, the elders should write an oﬃcial letter using
     the congregation’s letterhead. The letter should clearly identify
     the individual as an ordained minister of the congregation, state
     the date of his or her ordination (baptism), and be signed by the
     Congregation Service Committee. If the letter is not accepted by
     a facility, the elders may write to the Service Department for fur-
     ther direction, including a copy of the letter that was rejected.


     REFERRALS AND CONTACT
     WITH PRISONERS
  9. When the contact congregation receives a referral from the
     branch oﬃce, the service overseer should follow up promptly. He
     may be able to provide literature and assign qualiﬁed publishers
     to visit regularly and, if possible, conduct one-on-one or group
     studies at the facility. If personal contact is not possible, perhaps
     a qualiﬁed publisher approved by the Congregation Service Com-
     mittee could be assigned to correspond with a prisoner. Sisters
     should correspond only with female prisoners and brothers should
     correspond with male prisoners. The return address of the King-
     dom Hall or another appropriate address may be used instead of
     the publisher’s home address in order to protect the privacy of
     the publisher. However, the return address of the branch oﬃce
     should not be used.


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        MINISTRY
    10. Literature: It is preferred that a prisoner initiate requests for vis-
        its or literature through publishers approved to visit the facility
        or by making a request directly to the branch oﬃce. This allows
        the individual to give evidence of his genuine interest and may
        assist publishers in being granted access to the facility. If need-
        ed, the secretary of the contact congregation may contact the
        Preaching Needs Desk in the Service Department on behalf of
        the inmate. For example, some facilities do not allow visitors to
        bring literature to inmates but do permit the branch oﬃce to
        mail literature to the person. Disfellowshipped inmates may ob-
        tain literature (including special-request items) upon request. Ba-
        sic publications may also be provided for the library at such fa-
        cilities.
    11. When a facility permits publishers to deliver literature to inmates,
        the congregation should request it as part of the regular congre-
        gation literature request.
    12. Only literature from the Teaching Toolbox and publications need-
        ed for congregation meetings should be provided, depending on
        the needs of Bible students. Special-request items should gen-
        erally be provided only for baptized publishers, unbaptized pub-
        lishers, and those who are progressing well in their studies. (See
        28:10.) In such cases, the elders of the contact congregation will
        request these items. Special consideration can be given to those
        who suﬀer from impaired vision or when there are other exten-
        uating circumstances.
    13. Reporting Activity: Placements, video showings, and Bible stud-
        ies conducted in a prison should be reported by publishers in the
        usual manner. Even if many attend a Bible study being held in a
        prison, one study is counted for the month and one return visit
        is counted each time the study is conducted. While ﬁeld service
        time is not counted for conducting or participating in congrega-
        tion meetings held in prison, pioneers may report hour credit for


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     such activity. (See 9:11-13.) Non-pioneers should be shown extra
     consideration for their participation in this form of service.—See
     23:25-26.
 14. Unbaptized or baptized publishers who are inmates should be
     counted as publishers in the contact congregation, and their ﬁeld
     service reports should be included in the congregation report.
 15. Reporting Baptisms: The contact congregation should inform the
     circuit overseer of baptisms performed in a prison.
 16. Publishers Who Transfer to Another Facility: When an inmate
     is transferred to another facility, the Congregation’s Publisher Re-
     cord (S-21) and a letter of introduction should be sent to the con-
     tact congregation caring for that facility.


     CONDUCTING MEETINGS
 17. Extensions of regular congregation meetings can be established
     when at least one baptized or unbaptized publisher will attend
     regularly. The attendance should be included with the contact
     congregation’s meeting attendance. The manner in which meet-
     ings are conducted in prisons must, as closely as possible, mir-
     ror the manner in which meetings are conducted at the Kingdom
     Hall. Disfellowshipped individuals should be treated the same as
     they would be at the meetings at the Kingdom Hall.
 18. Only qualiﬁed elders and ministerial servants should conduct
     meetings in prison. These brothers could be selected from the
     contact congregation or from a neighboring congregation. (See
     28:21.) If appointed brothers are not available, the inmates could
     meet as a group to view a recording of the meeting or to con-
     sider the material together. If an inmate who has been accused
     of child abuse attends meetings in prison or otherwise associates
     with a congregation, see Chapter 14, paragraphs 9 and 27.
 19. Memorial: Every eﬀort should be made to arrange for a qualiﬁed
     elder or a ministerial servant to conduct the Memorial. If this is


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        not possible, the inmates may be able to view a recording of the
        talk or they could discuss the Bible account at Matthew 26:17-
        30; Luke 22:7-23, 28-30; and 1 Corinthians 11:20-31. (w93 2/1
        p. 31) Memorial attendance ﬁgures should be added to the total
        congregation count.
    20. Extended Meetings: Some facilities allow for an annual or semi-
        annual meeting at which the inmates are able to meet together
        for a longer period of time than is usual. This could be a ﬁne op-
        portunity for baptisms, reviews of assembly and convention pro-
        grams, and so forth. Such extended meetings should not include
        arrangements in which congregation publishers, especially mem-
        bers of the opposite sex, are able to mingle freely with the pris-
        oners. It may be that inmates are allowed to invite family mem-
        bers to attend an event. However, experience has shown that it
        is best for those of the opposite sex, even though related to
        prisoners, not to be invited to such meetings. Rather, invitations
        should be extended only to those who will share in the program;
        volunteers who participate regularly in witnessing at the prison;
        and possibly a few responsible, experienced ones who would be
        able to encourage and shepherd the inmates so that an excel-
        lent witness is given. Elders in the circuit or from nearby congre-
        gations who have presented assembly or convention parts could
        be invited to present this information along with the parts pre-
        sented by the local elders. The invitation process should be close-
        ly monitored by the elders responsible for caring for the prison
        witnessing.


        INMATES SERVING
        IN AN APPOINTED CAPACITY
    21. While inmates who make spiritual progress may qualify to be bap-
        tized, they do not qualify to serve as ministerial servants or el-
        ders while in prison. (1 Tim. 3:2, 7, 10; Titus 1:6, 7) They also do
        not qualify to serve as auxiliary or regular pioneers. Of course, if


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     an appointed person in the congregation is imprisoned for main-
     taining his Christian integrity, the body of elders may determine
     that he can continue serving in an appointed capacity even while
     imprisoned.


     CONDUCTING JUDICIAL HEARINGS
     WITH INMATES
 22. When a judicial committee endeavors to meet with an incarcer-
     ated accused wrongdoer, the secular authorities may not allow
     all three members to meet with him at the same time. If so, a
     judicial committee should not handle the case over the telephone
     by means of a conference call or a videoconference. The elders
     should endeavor to arrange for two members of the committee
     to meet with him in person in a conﬁdential setting. Others should
     not be present when the accused person is interviewed. After-
     ward, the two brothers would discuss the case with the third
     member of the committee, and the judicial committee may then
     render a decision. Two members of the judicial committee should
     inform him of the decision. If he is disfellowshipped, the elders
     should inform him of his option to appeal, and so forth. If the
     authorities allow only one elder at a time to speak with him, the
     judicial committee should decide in advance what questions to
     ask. Then two on the judicial committee should talk with him sep-
     arately and ask the same questions. Thereafter, the judicial com-
     mittee should convene to make a decision. In unusual cases, con-
     tact the Service Department.




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  1. In harmony with Matthew 22:21, 37, Romans 13:1-7, Philippians
     1:7, and 1 Timothy 2:1-2, the congregation respects the relative
     authority of secular governments. To ensure compliance with ap-
     plicable laws, two elders, if possible, should call the Legal De-
     partment immediately in the following situations:
          (1)        The elders receive a request or an order to disclose
                     conﬁdential information, such as a request from an
                     individual, the authorities, an attorney, or the media.
          (2)        The elders learn of an accusation of child abuse,
                     abuse of the elderly, or abuse of the disabled.—See
                     Chapter 14.
         (3)         The elders learn of threatened or actual legal action
                     against the organization, the local congregation, or an
                     elder in connection with a congregation matter.
         (4)         A manager insists that no further visits be made by
                     Jehovah’s Witnesses to a subdivision or an apartment


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                complex, a government oﬃcial seeks to impose some
                restriction on our ministry, or violent opposition to our
                ministry arises.—See 23:22-24.

          (5)   A publisher while in the ministry or in any
                other theocratic activity was involved in an incident
                resulting in serious bodily injury or death. (See 21:30.)
                If an elder is contacted by anyone who requests a
                statement, he should not discuss the incident or
                publishers involved, nor should he answer any
                questions. Rather, the caller’s name, telephone number,
                title, and the oﬃce he represents should be obtained,
                and he should be told that the elders will contact an
                attorney before responding to any questions.


        PERSONAL LEGAL ADVICE
     2. As spiritual shepherds, elders do not involve themselves in the
        legal matters of individual Christians. (Gal. 6:5) In their role as
        elders, they should not oﬀer legal advice or encourage publish-
        ers to contact the Legal Department for legal advice on person-
        al legal questions. For example, if a publisher asks about a re-
        straining order or an order of protection, the elders should politely
        tell him that this is a personal legal matter that does not involve
        the congregation. Elders should not try to enforce such orders
        between private parties.


        UNDOCUMENTED ALIENS
     3. Elders take a keen interest in the spiritual, emotional, and phys-
        ical needs of fellow believers who are “foreign residents.” (Ps.
        146:9; 1 John 3:17, 18; w17.05 pp. 3-7) An individual who asks
        about meeting the legal requirements for residency should be en-
        couraged to consult Scriptural references such as Romans 13:1-7,


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     Titus 3:1, and 1 Peter 2:13-17 and to do research in our publica-
     tions.
  4. A foreigner may wish to obtain qualiﬁed legal assistance for such
     personal legal matters. It is not the responsibility of congrega-
     tion elders to research and enforce secular laws involving undo-
     cumented aliens.—Philem. 8-22; w77 pp. 191-192.
  5. All Christians are obligated to obey the laws of the land in which
     they live and thus give “the superior authorities” their relative
     subjection. (Rom. 13:1) For this reason, an undocumented alien
     would not qualify for appointment as an elder, a ministerial ser-
     vant, or a regular or auxiliary pioneer until he has obtained legal
     residency or taken genuine steps to procure such. (1 Tim. 3:7,
     10) He may not be assigned to oversee any congregation respon-
     sibility. Additionally, although he may assist with the cleaning and
     construction of his own Kingdom Hall and with the cleaning of
     his own Assembly Hall, he may not work with construction or
     maintenance on other Kingdom Halls or Assembly Halls. However,
     he may comment at congregation meetings and present student
     parts in the midweek meeting. If he is exemplary in every other
     way, he may be granted certain additional privileges, just as Paul
     used Onesimus to a certain extent. (Col. 4:7-9; Philem. 13) For
     example, he may be allowed to pass microphones and help with
     literature. He may also be granted use of the Kingdom Hall for a
     wedding if he meets the Scriptural and civil marriage require-
     ments.—See 27:6.
  6. When an undocumented alien requests in good faith or obtains
     permission from the proper governmental authority to reside in
     the country, his situation changes because he is thereby demon-
     strating more fully his subjection to “the superior authorities.”
     (Rom. 13:1) Once the publisher has sought permission to be in
     the country, he is no longer viewed as a fugitive and thereafter
     may enjoy privileges of service even if Caesar takes an extended
     period of time to process the application. Thus, if he is otherwise


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        spiritually qualiﬁed and, if employed, is working without resort-
        ing to fraudulent means, he may serve as an elder, a ministerial
        servant, or a regular or auxiliary pioneer. When recommendations
        are submitted for such ones to be appointed to serve as elders
        or ministerial servants, their situation should be fully explained
        to the circuit overseer.—See Addendum to “Shepherd the Flock
        of God”—1 Peter 5:2 for any additional direction that may apply
        locally.
     7. If a publisher makes a request for residency but is later denied
        and remains in the country illegally, he would no longer qualify
        to serve as an elder, a ministerial servant, or a regular or auxil-
        iary pioneer. It is also not honest for a publisher to use falsiﬁed
        documents of any kind or to submit what he knows to be inac-
        curate information when applying to a government agency for a
        certain status or privilege. If the government becomes aware of
        this, the individual may face some sort of sanction on a charge
        of fraud and the congregation could come into disrepute. In such
        cases, further action on the part of the congregation may be nec-
        essary. Before proceeding, elders should send a letter to the Ser-
        vice Department for direction. However, if one applied for or ob-
        tained legal status through such means before coming to an
        accurate knowledge of Scriptural principles, the elders would not
        make this an issue.—1 Cor. 6:11.


        SOCIAL EVENTS
     8. The congregation does not organize or sponsor social events. In-
        dividuals who host social events bear personal responsibility for
        what occurs at the event. Such individuals should not state or
        imply that they are acting on behalf of the congregation. They
        should not use terms such as “congregation picnic” or “congre-
        gation gathering.” (od chap. 13 par. 19) Thus, invitations should
        not be posted on the information board, nor should announce-
        ments regarding social events be made from the platform.


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     CHILD CUSTODY
  9. If publishers become involved in a lawsuit over child custody and
     visitation matters, two elders should contact the Legal Depart-
     ment if the answers to all of the following questions are yes:
       (1)   Is it evident that the publisher’s religious beliefs will be
             at issue?
       (2)   Has someone been served with papers to appear in
             court?
       (3)   Is the litigation between two biological parents?
       (4)   Is the other party to the litigation not one of Jehovah’s
             Witnesses?
       (5)   Is the publisher in good standing in the congregation?
             —See 2:4.


     CHARITABLE DONATION PROGRAMS
 10. Some charitable donation programs may be acceptable to a
     Christian. The following are brief descriptions and comments
     about their use:
       (1)   Matching Donation Programs: In these programs, a
             company agrees to increase or match an individual’s
             donation to a charitable organization. The company is
             simply making an additional voluntary contribution.
             Since the donation does not require the congregation’s
             active participation, designating a charitable
             organization in a matching donation program is a
             personal decision. Publishers should not initiate such
             an arrangement with the company but may take
             advantage of an established program.
       (2)   Volunteer Service Donation Programs: In these
             programs, a donor agrees to make a donation to a


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                charitable organization for which an individual
                performs a required amount of volunteer service.
                Publishers should not designate the branch oﬃce or a
                congregation to receive donations as a charitable
                organization for which they do “volunteer service,” and
                congregations should not participate in such programs.
                All publishers perform their ministry motivated by their
                dedication to Jehovah and their personal obedience to
                Jesus Christ’s command, not in behalf of the
                congregation or any other organization. This is the case
                whether the publisher expends time working on
                construction projects, in relief work, or any other
                activity that advances Kingdom interests.
          (3)   Fund-Raising Programs: In these programs a donor
                oﬀers to donate to a designated charitable
                organization based upon an individual’s commercial
                activity with the donor. For example, a grocery store
                may agree to donate a percentage of an individual’s
                purchases from that store. Frequently, these programs
                require the designated charitable organization to
                participate actively, such as by encouraging individuals
                to do business with the donor. The congregation,
                however, should not promote any type of commercial
                activity or solicit funds. Thus, publishers should not
                designate the branch oﬃce or a congregation to
                receive donations from a fund-raising program, and
                congregations should not participate in this type of
                program.




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                Work Performed at Kingdom Halls
     (For additional direction on work performed at Kingdom Halls, see Chapter 21.)

                                                                          Should the
                                                                         congregation
                                                                                          Who provides       Who
Type of Work                         Deﬁnition                            contact the
                                                                                          the funding?   coordinates
                                                                            LDC for
                                                                                                          the work?
                                                                           approval?

                Work that includes such tasks as performing
                scheduled inspections; adjusting, servicing, or
                cleaning existing building elements and/or equip-
                ment; checking proper operation of equipment or
                ﬁxtures; or replacing consumable parts at regular
 Scheduled      intervals.                                                    No          Congregation   Congregation
Maintenance
                Examples: Replacing air conditioning ﬁlters, clean-
                ing ventilation grilles, replacing light bulbs, check-
                ing plumbing ﬁxtures, checking and adjusting door
                hardware, checking exit lights, changing engine oil
                on lawn mower, touch-up painting.

                Work that is required to restore an existing build-
                ing element or piece of equipment to an acceptable         Only if the
                condition. This may involve replacement of various       work will cost
                components, but it is not a complete replacement           more than
                of a system, unless it is a simple replacement of        three months’
   Repair       small items that have reached their end of life.            worth of      Congregation   Congregation
                                                                            average
                Examples: Repairing or replacing light ﬁxtures or        Kingdom Hall
                similar elements; repairing leaking toilet cisterns,       operating
                roof leaks, water heater element failures, or loose        expenses
                ﬂoor tiles.

                Work that involves making any alterations to the
                design of the building, performing end-of-life re-
    Minor       placement of a building element or of building ﬁn-
Renovations,    ishes, or installing new minor equipment.                                                   LDC or
 Upgrades,                                                                    Yes         Congregation
                Examples: Replacing or installing carpeting, roof-                                       Congregation
  and New
Installations   ing (shingles, tiles, membrane), chairs/benches,
                air conditioning systems, building ﬁnishes, fences,
                parking lot surfaces, video systems.

                Work that is required to convert a facility that is
                not currently considered suitable into one that is
    Major       suitable. It may include end-of-life replacements
Renovations,    for multiple building elements and any work that in-
 Upgrades,      volves changing, expanding, or modifying the pur-             Yes         Branch Oﬃce        LDC
  and New       pose, use, or design intent of the facility.
Installations   Examples: Replacement of all or most of the build-
                ing’s ﬁnishes or the entire roof structure (trusses)
                or moving interior or exterior walls.

   New          Work that involves construction of a new facility
                                                                              Yes         Branch Oﬃce        LDC
Construction    or signiﬁcant expansion of an existing building.
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